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       Attachment 2
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                                           DEPARTMENT OF COMMERCE                                  24166) (referred to henceforth as the                  Government to make better use of its
                                                                                                   ‘‘Commerce May 24 rule’’) in                           export control resources.
                                           Bureau of Industry and Security                         conjunction with a Department of State                    Certain software and technology
                                                                                                   proposed rule to revise Categories I, II,              capable of producing firearms when
                                           15 CFR Parts 732, 734, 736, 740, 742,                   and III of the USML (referred to                       posted on the internet under specified
                                           743, 744, 746, 748, 758, 762, 772, and                  henceforth as the ‘‘State May 24 rule’’).              circumstances is being controlled under
                                           774                                                     The Department of Commerce is issuing                  this final rule in order to protect
                                                                                                   this final rule that describes how                     important U.S. national security and
                                           [Docket No. 191107–0079]
                                                                                                   articles the President determines no                   foreign policy interests; however,
                                           RIN 0694–AF47                                           longer warrant control under USML                      communication of ideas regarding such
                                                                                                   Category I—Firearms, Close Assault                     software or technology is freely
                                           Control of Firearms, Guns,                              Weapons and Combat Shotguns;                           permitted. Moreover, nothing in this
                                           Ammunition and Related Articles the                     Category II—Guns and Armament; and                     final rule prohibits U.S. persons within
                                           President Determines No Longer                          Category III—Ammunition/Ordnance                       the United States from acquiring
                                           Warrant Control Under the United                        will be controlled on the CCL of the                   firearms of any type—there are other
                                           States Munitions List (USML)                            Export Administration Regulations                      laws and regulations that control the
                                                                                                   (EAR) and is being published in                        acquisition of firearms in the U.S.
                                           AGENCY:  Bureau of Industry and
                                                                                                   conjunction with a final rule on                       Structure of 600 Series
                                           Security, Department of Commerce.                       Categories I, II, and III from the
                                           ACTION: Final rule.                                     Department of State, Directorate of                       BIS has created Export Control
                                                                                                   Defense Trade Controls (DDTC),                         Classification Numbers (ECCNs),
                                           SUMMARY:    On May 24, 2018, the                                                                               referred to as the ‘‘600 series,’’ to control
                                                                                                   completing the initial review of the
                                           Department of Commerce published a                                                                             items that will be removed from the
                                                                                                   USML that began in 2011 and making
                                           proposed rule in conjunction with a                                                                            USML and controlled under the CCL, or
                                                                                                   conforming changes to the EAR to
                                           Department of State proposed rule to                                                                           items from the Wassenaar Arrangement
                                                                                                   control these items on the Commerce
                                           revise Categories I (firearms, close                                                                           on Export Controls for Conventional
                                                                                                   Control List (CCL).
                                           assault weapons and combat shotguns),                      The changes described in this final                 Arms and Dual Use Goods and
                                           II (guns and armaments), and III                        rule and in the State Department’s                     Technologies Munitions List (Wassenaar
                                           (ammunition/ordnance) of the USML                       companion final rule on Categories I, II,              Arrangement Munitions List or WAML)
                                           and transfer items that no longer                       and III of the USML are based on a                     that are already controlled elsewhere on
                                           warrant control on the USML to the                      thorough interagency review of those                   the CCL.
                                           Commerce Control List (CCL). This final                 categories, after which the Department                    These ECCNs are referred to as the
                                           rule responds to and adopts changes                     of State concluded that the items added                ‘‘600 series’’ because the third character
                                           based on the comments received on the                   to the CCL in this final rule do not                   in each of the new ECCNs is ‘‘6.’’ The
                                           Commerce proposed rule and is being                     provide a critical military or intelligence            first two characters of the ‘‘600 series’’
                                           published simultaneously with a final                   advantage to the United States and, in                 ECCNs serve the same function as any
                                           rule by the Department of State that will               the case of firearms, do not have an                   other ECCN as described in § 738.2 of
                                           revise Categories I, II, and III of the                 inherently military function. The                      the EAR. The first character is a digit in
                                           USML to describe more precisely the                     Departments of Defense, State, and                     the range 0 through 9 that identifies the
                                           articles warranting continued control on                Commerce have, therefore, determined                   Category on the CCL in which the ECCN
                                           that list. These revisions complete the                 that the EAR is the appropriate source                 is located. The second character is a
                                           initial review of the USML that the                     of authority to control these firearms,                letter in the range A through E that
                                           Department of State began in 2011 and                   ammunition, and other articles                         identifies the product group within a
                                           the conforming changes made to the                      previously controlled under Categories                 CCL Category. With few exceptions, the
                                           EAR to control these items not                          I–III of the USML. There is a significant              final two characters identify the WAML
                                           warranting control under the                            worldwide market for items in                          category that covers items that are the
                                           International Traffic in Arms                           connection with civil and recreational                 same or similar to items in a particular
                                           Regulations (ITAR).                                     activities such as hunting,                            ‘‘600 series’’ ECCN. Category II of the
                                           DATES: This rule is effective March 9,                  marksmanship, competitive shooting,                    USML and category ML2 of the WAML
                                           2020.                                                   and other non-military activities.                     cover large caliber guns and other
                                                                                                      This final rule does not deregulate the             military weapons such as: Howitzers,
                                           FOR FURTHER INFORMATION CONTACT:
                                                                                                   transferred items. BIS will require                    cannon, mortars, anti-tank weapons,
                                           Steven Clagett, Office of                               authorization to export or reexport to                 projectile launchers, military flame
                                           Nonproliferation Controls and Treaty                    any country a firearm or other weapon                  throwers, and recoilless rifles.
                                           Compliance, Nuclear and Missile                         that is being moved from the USML to                      Items that are currently controlled in
                                           Technology Controls Division, tel. (202)                the CCL by this final rule, including                  Category II of the USML will be
                                           482–1641 or email steven.clagett@                       releases of related technology and                     controlled on the CCL under four new
                                           bis.doc.gov.                                            software to foreign persons in the                     ‘‘600 series’’ ECCNs. Placement of the
                                           SUPPLEMENTARY INFORMATION:                              United States. Rather than decontrolling               items currently in USML Category II
                                                                                                   firearms and other items, in publishing                into the CCL’s 600 series is consistent
                                           Background
                                                                                                   this final rule, BIS, working with the                 with existing BIS practice of using 600
                                              On May 24, 2018, the Department of                   Departments of Defense and State, is                   series ECCNs to control items of a
                                           Commerce (referred to henceforth as                     continuing to ensure that appropriate                  military nature.
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                                           ‘‘the Department’’) published the                       regulatory oversight will be exercised                    Items currently controlled in
                                           proposed rule, Control of Firearms,                     over exports, reexports, and transfers                 Categories I and III of the USML will be
                                           Guns, Ammunition and Related Articles                   (in- country) of these items while                     controlled in new ECCNs in which the
                                           the President Determines No Longer                      reducing the procedural burdens and                    third character is a ‘‘5.’’ These items are
                                           Warrant Control Under the United                        costs of export compliance on the U.S.                 not appropriate for 600 series control
                                           States Munitions List (USML) (83 FR                     firearms industry and allowing the U.S.                because, for the most part, they have


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                                           civil, recreational, law enforcement, or                provisions included in the Commerce                    now controlled on the USML that are
                                           other non-military applications. As with                May 24 rule. Finally, this final rule                  either (i) inherently military and
                                           600 series ECCNs, the first character                   describes the changes being adopted                    otherwise warrant control on the USML
                                           represents the CCL category, the second                 from the proposed rule and revisions                   or (ii) if of a type common to non-
                                           character represents the product group,                 being made to what was proposed in the                 military firearms applications, possess
                                           and the final two characters represent                  Commerce May 24 rule. As this final                    parameters or characteristics that
                                           the WAML category that covers items                     rule is being published in conjunction                 provide a critical military or intelligence
                                           that are the same or similar to items in                with the companion Department of State                 advantage to the United States. If a
                                           the ECCN.                                               rule, the preamble may also reference                  defense article satisfies one or both of
                                                                                                   the State Department’s analysis related                those criteria, it remained on the USML.
                                           Relation to USMIL
                                                                                                   to these changes.                                      For example, while the U.S. military
                                              Pursuant to section 38(a)(1) of the                                                                         supplies some of its service members
                                           Arms Export Control Act (AECA), all                     Comments of General Applicability                      with sidearms for military use, a
                                           defense articles controlled for export or               USML Review Criteria                                   sidearm also has many uses outside of
                                           import, or that are subject to brokering                                                                       the military, such that its function is not
                                           controls, are part of the USML under the                   Comment 1: Multiple commenters
                                                                                                                                                          inherently military and therefore a
                                           AECA. All references to the USML in                     took issue with the proposed transfer
                                                                                                                                                          sidearm does not warrant control on the
                                           this final rule are to the list of defense              from the USML to the CCL of weapons
                                                                                                                                                          USML. Alternatively, squad automatic
                                           articles that are controlled for purposes               that the Department of State
                                                                                                                                                          weapons do not generally have such
                                           of export, temporary import, or                         determined, in conjunction with its
                                                                                                                                                          non-military uses and will remain
                                           brokering pursuant to the ITAR, 22 CFR                  interagency partners (including BIS), are
                                                                                                                                                          controlled on the USML. Any single
                                           parts 120 through 130, and not to the                   not inherently for military end use,
                                                                                                                                                          non-military use, however, does not
                                           list of AECA defense articles on the                    citing the fact that military and law                  negate such a weapon’s inherently
                                           United States Munitions Import List                     enforcement personnel regularly use                    military function.
                                           (USMIL) that are controlled by the                      them. Many commenters asserted that                       BIS notes that the scope of items
                                           Bureau of Alcohol, Tobacco, Firearms                    being commercially available is not a                  ‘‘subject to the EAR,’’ includes basic
                                           and Explosives (ATF) for purposes of                    good indicator of whether these                        commercial items, dual-use items, and
                                           permanent import under its regulations                  weapons merit the oversight of the                     military items not warranting ITAR
                                           at 27 CFR part 447. All defense articles                Department of State. In addition, several              control. The EAR control structure is
                                           described in the USMIL or the USML                      commenters disputed that the U.S.                      well-suited to control this range of
                                           are subject to the brokering controls                   market should be the basis for assessing               items, and BIS has particular historical
                                           administered by the U.S. Department of                  the commercial availability of firearms,               expertise in controlling dual-use items.
                                           State in part 129 of the ITAR. The                      as this is not the market to which the                 The Departments of State and
                                           transfer of defense articles from the                   proposed rule would be directed. Many                  Commerce also recognize that there are
                                           ITAR’s USML to the EAR’s CCL for                        commenters also asserted that semi-                    variations in commercial availability of
                                           purposes of export controls does not                    automatic weapons should not be seen                   firearms, but these variations do not
                                           affect the list of defense articles                     as just another product to be promoted,                overcome the Department of State’s
                                           controlled on the USMIL under section                   bought, and sold like washing machines                 assessment that the subject firearms do
                                           38 of the AECA, 22 U.S.C. 2778, for                     or any other consumer product.                         not provide a critical military or
                                           purposes of permanent import or                         Commenters supportive of the rule,                     intelligence advantage such that they
                                           brokering controls.                                     however, agreed that export controls of                warrant control under the ITAR. In
                                                                                                   commercial firearms and ammunition                     addition, all exports of firearms are
                                           Overview                                                which are not inherently military, have                subject to the laws of the importing
                                             For the Commerce May 24 rule, BIS                     no critical military or intelligence                   country, and the U.S. Government does
                                           received nearly 3,000 comments and                      advantage, and have predominant                        not issue licenses for exporters to ship
                                           posted 1,540 unique comments and 135                    commercial applications correctly                      firearms to countries where the end use
                                           bulk comments, which were                               belong under the EAR.                                  is illegal.
                                           representative of issues raised by 1,256                   BIS response: The fact that a military                 Comment 2: Many commenters
                                           commenters. BIS appreciates the                         uses a specific piece of hardware is not               asserted that many semi-automatic rifles
                                           constructive comments it received to                    a dispositive factor when determining                  are easily converted to fully automatic
                                           improve the Commerce May 24 rule and                    whether it has an inherently military                  firearms and for this reason semi-
                                           incorporated changes where                              function. Given that the majority of the               automatic firearms and the parts and
                                           appropriate. BIS also received many                     items referenced in these comments that                components needed to do this should be
                                           comments that were outside the scope                    will transfer to the CCL through this                  retained on the USML.
                                           of the Commerce May 24 rule and thus                    final rule are widely available in retail                 BIS response: BIS agrees that certain
                                           that are not addressed here. The                        outlets in the United States and abroad,               components may be used to convert a
                                           Commerce May 24 rule and this final                     and widely utilized by the general                     semi-automatic firearm into a fully
                                           rule address U.S. export controls. BIS                  public in the United States, it is                     automatic firearm. A fully automatic
                                           does not regulate the domestic sale or                  reasonable for the Department of State                 weapon is subject to the ITAR. The
                                           use of firearms in the United States, or                to determine that they do not serve an                 component(s) needed to turn a semi-
                                           the transfer of firearms or related                     inherently military function, absent                   automatic into a fully automatic are also
                                           software or technology between U.S.                     specific characteristics that provide                  retained on the USML. Therefore, the
                                           persons within the United States.                       military users with significantly                      export of the component needed to turn
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                                             BIS reviews the comments it received                  enhanced utility, such as automatic                    the semi-automatic into a fully
                                           in the preamble to this final rule in                   weapons, sound suppressors, and high                   automatic would require an ITAR
                                           three parts. First, BIS describes the                   capacity magazines.                                    license or other approval. In addition, if
                                           comments of general applicability.                         With respect to revisions of Categories             the ITAR component was incorporated
                                           Then, it describes the comments                         I–III, the review was focused on                       into the semi-automatic firearm, the
                                           received on specific proposed                           identifying the defense articles that are              now automatic weapon would be


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                                           regulated by the ITAR as an automatic                   specified in Executive Order 12981 and                 easily covered by existing ECOs. BIS
                                           weapon and because of the inclusion of                  in part 750 of the EAR. The well-                      also works with certain foreign
                                           the ITAR component within the firearm.                  established and transparent interagency                governments on enforcement as well as
                                           To address exports of semi-automatic                    review process (including specifying the               transshipment issues. In conducting
                                           firearms intended to be made automatic                  timelines for each step of the review                  pre-license checks or post shipment
                                           with a foreign-origin component that                    process) ensures that a variety of                     verifications, BIS also uses the resources
                                           was not subject to the ITAR, BIS as a                   perspectives and expertise from these                  the Department has with various
                                           result of this comment has revised                      U.S. Government agencies are able to                   Foreign Commercial Service (FCS)
                                           § 740.2 in this final rule to restrict the              inform the Commerce license review                     officers that are located at embassies
                                           use of EAR license exceptions involving                 process to ensure only those exports                   and consulates around the world. Upon
                                           these components or parts, as described                 that are consistent with U.S. export                   BIS’s request, Department of State
                                           below in the regulatory changes made in                 control interests will be approved. BIS                Foreign Service Officers at embassies
                                           this final rule.                                        also emphasizes that it has flexibility in             and consulates often assist BIS with pre-
                                                                                                   how it approves licenses and can                       license checks when the FCS is not
                                           Commerce’s Mission and the Regulation
                                                                                                   include additional safeguards as may be                present.
                                           of Firearms                                                                                                       BIS has resources it and the other
                                                                                                   warranted. The interagency review
                                              Comment 3: Many commenters                           process also helps to inform how                       agencies use to identify parties of
                                           expressed concerns about the role and                   licenses are approved.                                 concern to transactions, not all of which
                                           function of BIS regarding the items that                   BIS has decades of experience                       are public. The information BIS and
                                           are transferred from the USML to the                    licensing firearms and related items that              other agencies use to vet licenses and
                                           CCL. Some commenters expressed                          has prepared it well for licensing these               transactions is not static and is being
                                           concerns that BIS has neither the                       additional firearms and related items                  continuously improved to better target
                                           appropriate resources nor the                           that this final rule moves to the CCL.                 and exclude entities or individuals that
                                           appropriate expertise or mission to                     BIS is also prepared because of its                    should not be receiving items subject to
                                           process associated applications for                     experiences with licensing other items                 the EAR.
                                           exports of firearms. Several commenters                 that have moved from the USML to the                      BIS also notes that this final rule
                                           asserted BIS is not set up for the proper               CCL, including such sensitive items as                 imposes a requirement to file Electronic
                                           vetting of those parties in export                      components ‘‘specially designed’’ for                  Export Information (EEI) in Automated
                                           transactions to ensure that they are not                use in military aircraft, and certain                  Export System (AES) for nearly all
                                           acting as middlemen for terrorists or                   ‘‘spacecraft,’’ including satellites, and              exports of firearms being moved to the
                                           other subversive entities that will use                 space vehicles. In addition, BIS                       CCL. The EAR includes robust
                                           them against our troops or our allies or,               estimates that existing staff will be able             recordkeeping requirements that have
                                           even worse, civilian populations.                       to manage the anticipated increased                    been enhanced further for the firearms
                                           Several other commenters asserted that                  workload of approximately 6,000                        being moved to the CCL. BIS can and
                                           BIS’s enforcement office, with no staff                 additional license applications.                       does on a regular basis contact parties
                                           in Latin America, Africa, or many other                    In addition to its experience in the                to a transaction to request all records
                                           parts of the world, is not equipped to                  licensing arena, BIS has substantial law               related to a particular export or reexport
                                           take the same level of preventive                       enforcement experience. BIS’s Export                   or series of exports or reexports. These
                                           measures for end-use controls. Many                     Enforcement (EE) is a dedicated law                    record requests may also involve in-
                                           commenters asserted that the transfer of                enforcement organization recognized for                person visits from representatives of EE.
                                           these firearms to Commerce control is                   its expertise, professionalism, integrity,                BIS does not agree that the controls
                                           inconsistent with the statutory                         and accomplishments. EE accomplishes                   will be inconsistent with the statutory
                                           framework enacted by Congress to                        its mission through preventive and                     framework enacted by Congress to
                                           regulate the export of arms.                            investigative enforcement activities and               regulate the export of firearms. The
                                              BIS response: The mission of BIS is to               then, pursuing appropriate criminal and                firearms that warrant ITAR control will
                                           advance U.S. national security, foreign                 administrative sanctions against export                continue to be subject to the AECA and
                                           policy, and economic objectives by                      violators. EE works with the Department                its requirements as applicable. The
                                           ensuring an effective export control and                of Justice to impose criminal sanctions                firearms not warranting ITAR control
                                           treaty compliance system and                            for violations, including incarceration                that this final rule will control under the
                                           promoting continued U.S. strategic                      and fines, and with the Office of Chief                EAR will be subject to the Export
                                           technology leadership. BIS controls                     Counsel for Industry and Security to                   Control Reform Act of 2018 (ECRA) (50
                                           many items on the CCL that implement                    impose civil fines and denials of export               U.S.C. 4801–4852). For example, BIS
                                           U.S. commitments to the Wassenaar                       privileges. EE also works closely with                 has regulated long barrel shotguns (a
                                           Arrangement and other multilateral                      other federal law enforcement agencies,                type of firearm) under the statutory
                                           regimes related to national security.                   including the Federal Bureau of                        framework enacted by Congress in the
                                           These controls are supplemented by                      Investigation and the Department of                    earlier Export Administration Act (EAA)
                                           U.S. controls on additional items as well               Homeland Security, when conducting                     and now under ECRA. The same will be
                                           as broad catch-all controls targeting end               investigations or preventative actions.                true for the firearms that this final rule
                                           uses and end users of concern.                             EE has Export Control Officers (ECOs)               adds to the CCL. Congress stated that
                                              BIS licenses are subject to an                       in offices that cover different regions of             one of the purposes of ECRA is ‘‘[t]o
                                           interagency review process that                         the world and are not limited to the                   control the release of items for use in—
                                           includes review by the Departments of                   specific country in which the EE                       (i) the proliferation of . . . conventional
                                           State, Defense, and Energy, which                       personnel are located. The ECOs are                    weapons; (ii) the acquisition of
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                                           allows BIS to supplement its technical                  supplemented by other personnel who                    destabilizing numbers or types of
                                           expertise with that of its interagency                  engage in enforcement-related activities.              conventional weapons; (iii) acts of
                                           partners on matters of national security,               For example, BIS regularly sends BIS                   terrorism . . .’’ 50 U.S.C. 4811(2)(A).
                                           foreign policy, regional stability, and                 enforcement agents on temporary duty                      Comment 4: One commenter asserted
                                           national defense. The interagency                       assignments overseas under the Sentinel                that BIS does not have resources to
                                           review process for Commerce licenses is                 Program where they go to areas not                     enforce export controls, even before the


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                                           addition of 30,000 firearms export                      Exception STA will only be available for               require a U.S. Government
                                           licenses as a result of this rule predicted             the .x parts and components under                      authorization. Therefore, the reference
                                           by the Commerce May 24 rule.                            0A501, but this is another example of                  to 6,000 being authorized under licenses
                                              BIS response: BIS clarifies here that                the more flexible EAR control structure.               and 4,000 under license exceptions and
                                           the reference to 30,000 licenses in the                 In other words, greater flexibility under              a small subset as NLR, is not a dramatic
                                           Commerce May 24 rule represented the                    the EAR does not mean decontrol.                       change. When BIS imposes a license
                                           increase as a result of the total USML to                  Further, having the ITAR control                    requirement under the EAR, this means
                                           CCL review process, not solely the                      items that are in commercial use and do                the exporter will need to meet all of the
                                           USML Categories I–III items. The                        not have an inherent military function                 applicable requirements of a license
                                           estimate of 10,000 licenses is the                      does not help promote U.S. national                    exception, or obtain a license from BIS
                                           number of anticipated State licenses                    security, because it takes time and                    to proceed with the export. The license
                                           that will be impacted by the transfer to                resources away from the Department of                  exceptions or portions of license
                                           Commerce in the Commerce May 24                         State that could be better used to focus               exceptions that will be available for
                                           rule. The larger 30,000 number was                      on items that do warrant ITAR control.                 these items moved to the CCL, including
                                           included for context for the overall                    BIS has decades of experience in                       some of the new requirements and
                                           USML to CCL review process and its                      regulating dual-use items, including                   limitations added, will be sufficient to
                                           implementation. As noted in the                         long barreled shotguns controlled under                protect U.S. export control interests.
                                           response to Comment 3 above, BIS                        0A984 and certain chemicals and toxins
                                           estimates the transfer resulting in                     that have commercial applications, but                 3D Printing of Firearms
                                           approximately 6,000 license                             are controlled for chemical and                           Comment 7: Three-dimensional (3D)
                                           applications. BIS has invested                          biological weapons reasons, e.g., ricin                printing is a type of additive
                                           considerable effort in assessing the                    and sarin gas. See, e.g., 50 U.S.C.                    manufacturing based on the principle of
                                           increased licensing and enforcement                     4811(2)(A)(i) (stating that one of the                 combining numerous, extremely thin
                                           responsibilities that will be incurred                  policies of ECRA is to control the                     layers of a physical material (including
                                           following publication of this final rule                proliferation of weapons of mass                       plastics, metals, and even living cells) in
                                           and has determined that it is within its                destruction). BIS also has a proven track              a controlled build process and joining
                                           means and resources to effectively                      record for licensing and enforcing the                 them to gradually build up a physical,
                                           administer the subject export controls.                 controls for other items that have moved               three-dimensional object. Computer
                                                                                                   from USML to the CCL.                                  controlled manufacturing may be either
                                           The Effect of the Shift in Regulatory                      BIS further clarifies that the AK–47                subtractive or additive. Subtractive
                                           Jurisdiction of Certain Firearms                        automatic firearm and any other                        manufacturing includes traditional
                                              Comment 5: Several commenters                        automatic firearm are retained on the                  manufacturing methods such as turning,
                                           asserted that reducing regulations on                   USML. The semi-automatic firearms this                 grinding or milling, where metal or
                                           firearms and ammunition is dangerous.                   rule adds to the CCL will require a U.S.               other material is removed from the base
                                           One commenter asserted that moving                      Government authorization for export.                   shape to form the final product. For
                                           firearms to the CCL where they would                       Comment 6: One commenter noted                      example, you take a steel block and
                                           be subject to loosened controls seems                   that according to the State May 24 rule,               remove material until it becomes the
                                           inconsistent with enhancing national                    ‘‘The Department of Commerce                           final item. In additive manufacturing,
                                           security. Another commenter asserted                    estimates that 4,000 of the 10,000                     which is often referred to as 3D printing,
                                           that as even the National Rifle                         licenses that were required by the                     material such as metal or plastic is laid
                                           Association (NRA) has acknowledged,                     [State] Department will be eligible for                down in very thin layers one upon the
                                           ‘‘items on the USML controlled under                    license exceptions or otherwise not                    other fusing together until the final net
                                           ITAR are generally treated more strictly,               require a separate license under the                   shape is achieved. In both instances, the
                                           whereas regulation under the CCL is                     EAR.’’ The commenter noted that the                    adding or removing of the material is
                                           more flexible.’’ Many commenters                        Commerce May 24 rule clarifies, ‘‘The                  controlled by a computer without
                                           asserted that the proposal weakens                      other 4,000 applicants may use license                 human intervention. 3D printers utilize
                                           controls over semi-automatic assault                    exceptions under the EAR or the ‘‘no                   electronic digital files to process the
                                           weapons including AR–15s and AK–                        license required’’ designation, so these               materials into a physical object, and
                                           47s, 50 caliber sniper rifles, and high-                applicants would not be required to                    these files can be distributed over the
                                           capacity ammunition magazines.                          submit license applications under the                  internet. A 3D printer or computer
                                              BIS response: The EAR control                        EAR.’’ The commenter asserted that                     numerically-controlled (CNC)
                                           structure is more flexible and will                     ‘‘while it recognizes that other forms of              equipment uses Computer Aided
                                           reduce the burden on the regulated, but                 oversight may be available, this                       Manufacturing (CAM) files in G-code or
                                           the items will still be controlled. For                 dramatic difference in the number of                   AMF format as executable code to
                                           example, the EAR is a more flexible                     licenses raises our concern.’’                         produce certain items. There are
                                           control structure because it does not                      BIS response: This comment on the                   currently technological limitations for
                                           require a purchase order for a license.                 meaning of the 4,000 Department of                     the effectiveness of 3D printing of
                                           This is more efficient and flexible than                State licenses that will not require a                 firearms, but the concept has been
                                           the ITAR but does not undermine U.S.                    license under the EAR creates a good                   demonstrated and the ability to
                                           national security. The applicant still                  opportunity for BIS to clarify how the                 manufacture commercially viable
                                           needs to specify the parties to the                     EAR controls are structured. Under the                 firearms is inevitable given the
                                           license, end use, and items to be                       EAR, an exporter does not have a right                 increasing improvements of 3D printing
                                           authorized, but not having to present a                 to export. If the EAR does not impose                  equipment and 3D printing materials.
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                                           purchase order allows a more flexible                   a license requirement or some other                    Congress directed that the export
                                           licensing arrangement. The ability                      prohibition, the exporter may proceed                  control system under ECRA is intended
                                           under the EAR to create country-based                   under the No License Required (NLR)                    to have ‘‘the flexibility to be adapted to
                                           license exceptions, e.g., License                       designation. The NLR designation may                   address new threats in the future,’’ and
                                           Exception Strategic Trade Authorization                 be available for certain 0x5zz.y exports,              this final rule implements that
                                           (STA), is another example. License                      but otherwise all other exports will                   instruction. 50 U.S.C. 4811(8).


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                                              Technology and software are required                 number of commenters that supported                    technology becomes more widely
                                           for 3D printing of firearms and are                     the part 734 criteria. The commenters                  available, the likelihood that it may be
                                           critical for the 3D printing                            critical of the part 734 criteria provided             used to construct operable firearms that
                                           manufacturing process. Publicly posting                 the following input:                                   are exempt from serialization
                                           such technology and software online                        (1) Part 734 criteria should be                     requirements would increase.
                                           without restriction creates the risk that               changed to regulate 3D printing, even if                  (4) The transfer of control of these
                                           foreign persons and countries, including                the information would otherwise be                     items to the CCL would undermine
                                           countries of concern, will be able to                   publicly available. These commenters                   longstanding U.S. efforts to counter
                                           obtain technology and software for 3D                   were concerned that the application of                 proliferation of small arms in the world.
                                           printing of firearms. In the absence of                 the part 734 criteria appears to give rise             Commenters in this area noted that they
                                           controls on the export, reexport, or in-                to the possibility of widespread and                   couldn’t understand how allowing
                                           country transfer of such technology and                 openly sanctioned circulation of open                  untraceable 3D printing of firearms
                                           software, such items could be easily                    source, non-proprietary instructions for               would serve U.S.-recognized goals to
                                           used in the proliferation of conventional               using computer-aided design (CAD) files                combat illicit trafficking of firearms.
                                           weapons, the acquisition of                             to produce operable firearms via 3D-                   Commenters in this area also noted that
                                           destabilizing numbers of such weapons,                  printing technology, or text files to                  the United States is the world’s largest
                                           or for acts of terrorism. As noted earlier,             produce such firearms via CNC milling                  donor, as the commenter understands it,
                                           Congress expressly directed that ECRA                   of the firearms. Commenters requested                  to helping countries build their ability
                                           should be used to address these risks. 50               BIS to weigh the fact that the part 734                to trace weapons, secure weapons
                                           U.S.C. 4811(2)(A).                                      criteria would make posting on the                     stockpiles, and to destroy those stocks
                                              Like 3D printing, CNC milling or                     internet of ECCN 0E501 technology (e.g.,               when warranted. However, according to
                                           machining is an automated                               3D printer specs) for the production of                the commenter, this transfer of authority
                                           manufacturing process controlled by                     an ECCN 0A501 firearm publicly                         to Commerce appears to open the door
                                           technology and software. CNC milling/                   available information that is no longer                to unfettered 3D printing of firearms,
                                           turning/grinding are all subtractive                    subject to the EAR.                                    which threatens to undermine nearly all
                                           manufacturing processes in which the                       (2) Allowing 3D-printed gun                         those efforts.
                                           computerized equipment removes layers                   technology and software to be posted                      One commenter asserted that the
                                           of material from a base—known as the                    freely online for use with 3D printers                 proposed changes may result in
                                           workpiece or the blank—to produce a                     will make it easier to obtain firearms in              increased circulation of plans for non-
                                           manufactured part or item. As with 3D                   the U.S. and abroad. These commenters                  automatic weapons produced by 3D
                                           printing, the posting online of CNC                     were concerned that the combination of                 printing technology, and this may be at
                                           technology and software needed to                       internet dissemination and do-it-                      odds with the Wassenaar Arrangement.
                                           create working firearms creates export                  yourself 3D production is problematic                     A small number of commenters
                                           control concerns.                                       because the government would have no                   supported the application of the criteria
                                              Under the ITAR, the unrestricted                     oversight of the producer, the end use                 in part 734 and emphasized that the
                                           public dissemination of technical data                  or the end user of the firearm. Other                  information is so widely available in
                                           (as defined in section 120.10 of the                    commenters in this area were greatly                   various formats that trying to control it
                                           ITAR) in a manner that allows access by                 concerned about the perceived loss of                  would not be practical or warranted.
                                           foreign persons—including through the                   controls on 3D gun-printing plans,                     One commenter noted that America
                                           internet—is an export requiring                         which these commenters asserted has                    boasts hundreds of millions of privately-
                                           appropriate authorization. For purposes                 increasingly assisted bad actors in                    owned firearms and has produced
                                           of the CCL, Commerce has historically                   enhancing their capabilities to inflict                countless books, magazine articles,
                                           taken the approach (with limited                        atrocities around the world. Several                   videos, websites, and online forums that
                                           exceptions) that material is not subject                commenters cited Defense Distributed v.                exhaustively detail firearm technology
                                           to export control if it has been                        Department of State, a lawsuit filed in                and use. Thus, this commenter asserted
                                           ‘‘published’’ within the meaning of 15                  the U.S. District Court for the Western                it is difficult to imagine any information
                                           CFR 734.7, including through posting                    District of Texas and appealed to the                  about the design, development,
                                           on the internet. The proposed rules                     U.S. Court of Appeals for the Fifth                    production, manufacturing, and use of
                                           published by the Departments of State                   Circuit,, in support of the State                      firearms that is not already within the
                                           and Commerce took these differences in                  Department’s decision to restrict the 3D               public domain and this same
                                           the ITAR and EAR control structures                     printing of firearms under the ITAR (i.e.,             information is commonly available
                                           into account, and the Commerce                          requiring appropriate authorization                    overseas. Other commenters that
                                           proposed rule acknowledged these                        under the ITAR prior to allowing                       supported the part 734 criteria asserted
                                           differences to ensure commenters had                    unrestricted posting on the internet).                 that they had concerns generally over
                                           an opportunity to fully take these                         (3) Unregulated 3D printing would                   their First Amendment rights being
                                           differences into account when                           undermine U.S. efforts, as well as                     possibly violated unless the criteria in
                                           submitting their comments on the                        governments overseas, to vet parties                   part 734 applied equally to information
                                           Commerce rule. See page 24167 of the                    obtaining firearms, and to track 3D                    posted online. These commenters
                                           Commerce May 24 rule and 15 CFR                         printed firearms. These commenters                     requested an end to any harassing or
                                           734.7.                                                  noted that with access to 3D printing                  censorship of firearm instructors within
                                              Comments on the Commerce                             machines and plans on how to build a                   the U.S., as well as bloggers, writers,
                                           proposed rule reflected the commenters’                 gun, anyone could circumvent U.S. laws                 and those posting online guides or
                                           understanding of these differences                      that seek to prevent known criminals                   tutorials discussing technology about
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                                           between the ITAR and EAR control                        from obtaining U.S. firearms. Other                    defense items because these activities
                                           structures. BIS received many                           commenters in this area were                           seem to be a clear violation of the First
                                           comments expressing concerns about 3D                   particularly concerned that these                      Amendment right to free speech. Given
                                           printing of firearms and whether                        changes would result in an increase in                 the foreign policy and national security
                                           appropriate controls would be in place                  the number of untraceable firearms in                  interests at stake, Commerce believes
                                           under the EAR. It also received a small                 circulation because as 3D printing                     that the restrictions imposed by this rule


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                                           are appropriately tailored. Commerce is                 not undermined by foreign persons’                     not adopt the approach that they
                                           also aware of, and has taken into                       access to firearms production                          advocated. Given concerns regarding
                                           account, the constitutional and statutory               technology. Although the Department of                 First Amendment restrictions the
                                           concerns raised by the plaintiffs in the                State determined that such technology                  control is appropriately tailored to only
                                           Defense Distributed case and by the                     and software do not warrant continued                  impact technology and software in an
                                           plaintiffs in Washington v. Dep’t of                    control under the USML, maintaining                    electronic format, such as AMF or G-
                                           State, No. 2:18–cv–01115–RSL (W.D.                      controls over such exports under the                   code, that is ready for direct insertion
                                           Wash.). Commerce also notes that it has                 EAR remains in the national security                   into a computer numerically controlled
                                           received correspondence from members                    and foreign policy interests of the                    machine tool, additive manufacturing
                                           of Congress concerning the issues raised                United States, as described below. As                  equipment to produce the firearm frame
                                           in Defense Distributed.                                 noted in other places in the Commerce                  or receiver or complete firearm. This
                                              BIS response: The Commerce May 24                    final rule, the movement of items from                 technology and software are functional
                                           proposed rule addressed the application                 the USML is not a decontrol, and                       in nature, having the capability to cause
                                           of part 734, including § 734.7, for items               appropriate controls must be in place to               a machine to use physical materials to
                                           (specifically for certain information and               protect U.S. national security and                     produce a firearm frame or receiver or
                                           software) proposed for transfer from                    foreign policy interests, such as by                   complete firearm. Limitations on the
                                           USML Categories I–III (see 83 FR                        maintaining Commerce licensing                         dissemination of such functional
                                           24167). These criteria support the free                 authority over certain technology and                  technology and software do not violate
                                           exchange of public information and, as                  software capable of producing firearms                 the right to free expression under the
                                           a general matter, do not warrant being                  subject to the EAR when posted on the                  First Amendment. Nor does the final
                                           changed. However, the concerns                          internet under specified circumstances                 rule violate the right to keep and bear
                                           commenters raised about the specific                    as described in this final rule. And                   arms under the Second Amendment.
                                           application of part 734 criteria to 3D                  although the domestic transfer of                      The rule does not prohibit U.S. persons
                                           printing of firearms suggests that                      commodities is outside the purview of                  within the United States from acquiring
                                           modification to the proposed controls is                BIS jurisdiction, the concerns related to              firearms of any type; indeed, nothing in
                                           warranted.                                              the unrestricted posting of CAD files on               this rule prohibits persons within the
                                              With the transfer of certain firearms                the internet, more accurately described                United States from developing,
                                           from the USML to the CCL, rifles,                       in this final rule as CAM files, have                  discussing, or transferring by hand or
                                           pistols, revolvers and related parts and                been addressed in this final rule and                  mail (e.g., by the U.S. Postal Service or
                                           components will fall within ECCN                        nothing in this final rule affects existing            a common carrier) CAM files related to
                                           0A501, and BIS will be responsible for                  federal or state laws that pertain to the              3D-printing technology and software.
                                           their licensing. This transfer adds to                  manufacture, possession, use, or                       The domestic transfer of commodities is
                                           Commerce’s existing licensing                           commercial sale of firearms.                           outside of the scope of BIS jurisdiction
                                           jurisdiction over most shotguns and                        BIS provides more information about                 and would be within the purview of
                                           shotgun shells as well as optical                       the specific changes below under the                   domestic law. The release of controlled
                                           sighting devices. The items that remain                 Description of Regulatory Changes                      technology in the United States would
                                           on the ITAR include fully automatic and                 under the heading Revision of                          only be regulated to the extent it would
                                           selective fire weapons, weapons for                     ‘‘Published.’’                                         constitute a deemed export (i.e., release
                                           caseless ammunitions, silencers and                        BIS does not agree with the
                                                                                                                                                          to a foreign person). This means
                                           certain high capacity (50 rounds or                     commenter that stated that the part 734
                                                                                                                                                          transfers between U.S. persons within
                                           greater) magazines, and certain military-               criteria are at odds with the Wassenaar
                                                                                                                                                          the United States are not regulated
                                           specific ammunition such as tracers.                    Arrangement. As described both in the
                                              BIS recognizes that several                          proposed rule and this final rule, part                under the EAR so long as there is no
                                           commenters, including a large number                    734 remains consistent with the                        release to a foreign national. The ITAR
                                           of private citizens, expressed concern                  Wassenaar Arrangement. BIS’s changes                   takes a similar approach. BIS’s approach
                                           over global access to 3D printing                       in this final rule, however, ultimately                in using targeted changes is not
                                           technology and software with the                        addressed this commenter’s concern.                    intended to otherwise change the other
                                           transfer of certain firearms to the CCL.                   In response to commenters who                       criteria in part 734 that these
                                           BIS also recognizes that several                        favored the part 734 criteria as outlined              commenters assert they strongly
                                           commenters and plaintiffs in                            in the proposed rule, BIS notes that                   support.
                                           Washington v. Dep’t of State raised                     information regarding firearms,                           In response to the comments received
                                           concerns about risks to public safety                   including information for production of                on the proposed rule, BIS has reflected
                                           related to domestic access to 3D printing               firearms, is often widely available, and               on the need to take into account various
                                           technology and software. BIS shares the                 nothing described below would restrict                 interests in regulating technology and
                                           concerns raised over the possibility of                 persons from publishing books or                       software for the 3D printing of firearms.
                                           widespread and unchecked availability                   magazines, such as those that could be                 At the time of the proposed rule, BIS
                                           of the software and technology                          found in a local public library, and that              believed that its existing framework
                                           internationally, the lack of government                 the changes made to part 734 described                 struck the appropriate approach in
                                           visibility into production and use, and                 below are limited to addressing a                      providing for national security and
                                           the potential damage to U.S. counter                    specific fact pattern (posting on the                  foreign policy control of firearms that
                                           proliferation efforts. In this final rule,              internet of certain types of files) that               would transfer to the CCL. Since that
                                           BIS addresses the concerns raised about                 warrants U.S. Government oversight to                  time, BIS has had considerable time to
                                           3D printing of firearms by making                       ensure unrestricted releases are not                   review the comments related to 3D
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                                           certain technology and software capable                 being made to persons of concern                       printing of firearms. Although the
                                           of producing firearms subject to the EAR                outside the United States or to foreign                military usefulness of 3D printed
                                           when posted on the internet under                       persons in the United States. BIS also                 firearms is not significant, there are
                                           specified circumstances. This control                   took into account these commenters’                    other U.S. national security and foreign
                                           will help ensure that U.S. national                     support for the part 734 criteria and                  policy interests, as described by
                                           security and foreign policy interests are               their First Amendment concerns but did                 commenters, in regulating the unlimited


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                                           access to certain files for the 3D printing             within the United States may already                   includes a summary of export
                                           of firearms that the framework of BIS                   carry books or other materials related to              enforcement actions, including of
                                           regulations as described in the proposed                firearms manufacturing, BIS does not                   actions taken to implement end-use
                                           rule did not adequately address. As the                 seek to regulate this existing landscape               monitoring of dual-use, military, and
                                           State Department noted in the Defense                   of activity for the items transferred from             other items subject to the EAR. BIS
                                           Distributed litigation, unrestricted                    the USML to CCL, consistent with its                   already has practices in place to
                                           export of such files abroad could have                  treatment of firearms it controlled on                 continuously evaluate its end-use
                                           a potential detrimental effect on aspects               the CCL prior to this final rule. Instead,             monitoring program and to improve it as
                                           of U.S national security and foreign                    since the harm identified with                         opportunities to do so are identified.
                                           policy, including by undercutting efforts               unrestricted dissemination has been tied               BIS intends to continue those efforts for
                                           to combat the illicit trafficking of                    to the easy and untraceable distribution               the firearms that are moved to the CCL
                                           firearms or possession of firearms by                   in electronic format that the internet                 with this final rule.
                                           hostile parties or dangerous                            provides, BIS has crafted its rule to
                                                                                                                                                          Registration Requirement for Screening
                                           organizations, as well as other efforts to              regulate dissemination in this space as
                                           assist other countries in protecting                    it poses a significant risk to U.S.                       Comment 9: Several commenters
                                           domestic and international security. BIS                national security and foreign policy.                  expressed concerns that BIS will not
                                           believes this potential detrimental effect                 As a result, Commerce has reached                   have access to the same databases and
                                           on U.S. national security and foreign                   the conclusion that U.S. national                      background information that the
                                           policy warrants the control of the export               security and foreign policy necessitate                Department of State uses to evaluate
                                           of certain files for the 3D printing of                 that BIS maintain controls over the 3D                 license applications since the EAR does
                                           firearms set forth in this rule.                        printing of firearms when such software                not require registration. These
                                              At the same time, BIS recognizes that                and technology is posted on the                        commenters asserted that not including
                                           there is a longstanding tradition to                    internet. The potential for the ease of                a registration requirement will deprive
                                           encourage the free exchange of ideas as                 access to the software and technology,                 regulators of an important source of
                                           already acknowledged in BIS                             undetectable means of production, and                  information and decrease transparency
                                           regulations, such as in 15 CFR 734.7.                   potential to inflict harm on U.S. persons              and reporting regarding gun exports.
                                           The agency takes seriously its                          and allies abroad present a grave                      Some commenters recommended
                                           responsibility to regulate judiciously,                 concern for the United States. Without                 removing or limiting the registration fee
                                           seeking to assert jurisdiction only as                  regulatory oversight, U.S. foreign                     for manufacturers but keeping the
                                           needed and consistent with its statutory                relations and national security interests              requirement for registration. Another
                                           authority. As set forth in the Export                   could be seriously compromised. For                    commenter suggested waiving the fee
                                           Control Reform Act of 2018, 50 U.S.C.                   these reasons, this final rule provides                for manufacturers who do not, in reality,
                                           4801–4852, Commerce’s policy is to use                  that technology and software ready for                 export these items.
                                           export control only to the extent                       insertion into an automated                               BIS response: BIS, along with the
                                           necessary to restrict the export of items               manufacturing tool that makes use of                   Department of State, considered these
                                           that would make a ‘‘significant                         the software or technology to produce a                concerns and determined that the
                                           contribution to the military potential of               firearm frame, receiver, or complete                   interagency license review process
                                           another country . . . which would                       firearm is subject to the EAR, consistent              maintains appropriate oversight of the
                                           prove detrimental to the national                       with the regulation of such software and               items at issue. BIS’s export licensing
                                           security of the United States’’ or                      technology when previously controlled                  requirements and process are calibrated
                                           ‘‘further significantly the foreign policy              under the USML.                                        both to the sensitivity of the item and
                                           of the United States or to fulfill its                                                                         the proposed destination. Additionally,
                                                                                                   Vetting Transaction Parties and                        all requests for export licenses for
                                           declared international obligations.’’ 50
                                                                                                   Monitoring Exports                                     firearms remain subject to interagency
                                           U.S.C. 4811(1)(A)–(B). Further,
                                           Commerce must ensure that its controls                    Comment 8: Many commenters were                      review, including by the Department of
                                           are ‘‘tailored to focus on those core                   concerned about a possible reduction in                State.
                                           technologies and other items that are                   the monitoring of the end users of                        BIS does not need the information
                                           capable of being used to pose a serious                 exported firearms and publicly available               included in the ITAR registration
                                           national security threat to the United                  information about this monitoring.                     requirement to regulate those items
                                           States.’’ 50 U.S.C. 4811(2)(G).                         These commenters asserted that public                  under the EAR. To apply for a license
                                              Because of the national security and                 reporting of Blue Lantern information is               under the EAR, the applicant is required
                                           foreign policy risks associated with the                mandatory and there are readily                        to create a free account in BIS’s online
                                           unlimited access and unrestricted                       available statistics about the results.                submission system called SNAP–R. The
                                           production of 3D printed firearms, BIS                  Some commenters requested that if the                  SNAP–R account includes basic
                                           is offering a tailored approach,                        proposed rules move forward, the BIS                   information about the exporter. In
                                           consistent with its statutory obligations,              program be strengthened to address the                 addition, each party identified on the
                                           that places restriction on the posting on               need to monitor the end users of                       license application is reviewed. The
                                           the internet of files for the printing of               exported firearms.                                     requirements to file EEI in AES is
                                           certain firearms and their critical                       BIS response: BIS does not publish                   another important way that BIS obtains
                                           elements. As set forth in § 734.7(c) in                 end-user monitoring information in the                 information needed to effectively track
                                           this final rule, only technology or                     same format as the Department of State,                exports.
                                           software for the complete firearm, its                  but the same type of information is                       BIS agrees that if there were a
                                           frame, or its receiver are subject to BIS               available publicly from BIS. The new                   registration requirement, removing or
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                                           licensing requirements, aligning BIS                    ECRA maintains an annual reporting                     limiting the fee for registration would
                                           controls with existing statutory concepts               requirement to Congress that provides                  ease the burden on small businesses and
                                           set forth in the definition of ‘‘firearm’’              an additional layer of transparency.                   individuals. However, as noted above,
                                           under the Gun Control Act (GCA), 18                     Specifically, under Section 1765(a)(6) of              BIS does not believe that the
                                           U.S.C. 921(a)(3). Recognizing that                      ECRA, the Secretary of Commerce shall                  information included in the registration
                                           libraries and academic institutions                     submit a report to Congress that                       requirements is necessary for BIS to


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                                           effectively license and enforce the EAR.                examples of sales from 2017 to Turkey                  organizations, narcotics traffickers, and
                                           Therefore, registration requirements,                   and the Philippines that they asserted                 gun traffickers, and making it easier for
                                           even if they are free, would impose an                  were blocked by Congress); (3)                         them to get firearms will make their
                                           unnecessary burden on individuals,                      congressional notifications are a                      activities worse and further fuel armed
                                           small companies, and manufacturers.                     valuable tool for the public to be able to             conflict abroad.
                                                                                                   see when large firearms sales are being                   BIS response: This final rule does not
                                           Brokering                                                                                                      deregulate the export of firearms. All
                                                                                                   proposed; and (4) certain members of
                                              Comment 10: Many commenters                          Congress have asserted their concern                   firearms and major components being
                                           asserted that the proposed changes to                   that not including a congressional                     transferred to the CCL will continue to
                                           USML Categories I–III would mean that                   notification requirement under the EAR                 require a U.S. Government
                                           brokers of semi-automatic weapons and                   would be counter to congressional                      authorization. Further, BIS has both a
                                           related ammunition will be exempt from                  intent.                                                robust EUM program and a law
                                           registration and licensing that is                         BIS response: The Department of State               enforcement division sufficiently
                                           currently triggered by their inclusion as               in its companion rule also                             capable of monitoring foreign recipients’
                                           defense articles on the USML. Other                     acknowledges those concerns and notes                  compliance with their obligations
                                           commenters correctly understood that                    that those firearms that the U.S.                      regarding the transfer, use, and
                                           State would continue to impose                          Government deemed through the                          protection of items on the CCL.
                                           brokering controls for items which                      interagency review process to warrant                  Additionally, the Federal Bureau of
                                           moved to the CCL that are also listed on                continued control under the ITAR as                    Investigation and the Department of
                                           the USMIL. One of these commenters                      defense articles will remain subject to                Homeland Security will continue to
                                           asserted that they are pleased to see that              congressional notification requirements                investigate and enforce civil and
                                           the State May 24 rule attempts to                       in conformity with section 36 of the                   criminal violations of the export control
                                           maintain effective oversight of arms                    AECA and Executive Order 13637. In                     laws as appropriate.
                                           brokers by ensuring that brokers must                   this response, BIS also puts the                          BIS does not agree that moving these
                                           register with the Department of State                   congressional notification issue into                  firearms to the CCL will mean less
                                           and seek a license. This commenter                      context under the EAR and the statutes                 oversight to prevent gun trafficking.
                                           asserted that these provisions are                      that the regulations implement for items               Exporting these firearms will require a
                                           critical in helping mitigate illegal arms               ‘‘subject to the EAR.’’                                U.S. Government authorization. The
                                           trafficking to major conflict zones and                    BIS notes that at the time of                       EAR also includes a robust set of end-
                                           transnational criminal organizations.                   publication of the Commerce May 24                     use and end-user controls that will
                                              BIS response: BIS clarifies that the                 rule, the Export Administration Act                    supplement the CCL based license
                                           Department of State in its May 24 rule                  (EAA) did not include a congressional                  requirements. Similar to the ITAR, BIS
                                           and its final rule retains brokering                    notification requirement for firearms,                 will impose appropriate conditions as
                                           controls for items which are now listed                 nor did any other statute that the EAR                 needed on authorizations or not approve
                                           on the CCL that are also listed on                      implements for firearms. Therefore, BIS                certain transactions if there is a concern
                                           USMIL. BIS directs the public to review                 did not include a congressional                        over risk of diversion. BIS also will
                                           the State final rule for information on                 notification requirement because it did                maintain a robust end-use verification
                                           the brokering controls under the ITAR.                  not want to prejudge congressional                     program for the firearms and other items
                                           The Department of State in its                          intent in this area. On August 13, 2018,               moved to the CCL from USML
                                           companion rule noted it does not intend                 the President signed the National                      Categories I–III. In addition, most
                                           to impose a double licensing                            Defense Authorization Act for Fiscal                   firearms will require submission of a
                                           requirement for individuals undertaking                 Year 2018, which included ECRA.                        license, and the license review policies
                                           activities on behalf of another to                      Congress did not include in ECRA any                   would lead to a denial for exports to
                                           facilitate a transaction that will require              requirements for congressional                         terrorists. The EAR also includes
                                           licensing by the Department of                          notification for firearms and related                  sections in part 744, e.g., § 744.14 for
                                           Commerce. In practical terms, this                      items exports. Therefore, BIS is not                   Foreign Terrorist Organizations (FTO),
                                           means the vast majority of exporters                    including a congressional notification                 that impose additional restrictive
                                           who only export firearms on the CCL                     requirement in the final rule.                         license requirements and license review
                                           directly from the U.S. or reexport U.S.-                                                                       policies for terrorists identified under
                                                                                                   Overseas Trafficking, Proliferation, and
                                           origin firearms on the CCL are not                                                                             certain designations on the Department
                                                                                                   Diversion of Firearms
                                           ‘‘brokers’’ and will not have to register                                                                      of Treasury’s Specially Designated
                                           with DDTC.                                                 Comment 12: Multiple commenters                     Nationals (SDN) list. This is significant
                                                                                                   expressed a general concern that the                   because it excludes the use of any EAR
                                           Congressional Oversight                                 transfer to the CCL increases the risk of              license exceptions; imposes a license
                                             Comment 11: Multiple commenters                       overseas trafficking, proliferation, or                requirement for all items subject to the
                                           expressed concerns that this final rule                 diversion. Multiple commenters also                    EAR, including the firearms being
                                           would reduce congressional oversight of                 expressed concerns about the BIS end-                  moved to the CCL; and acts as an
                                           arms transfers because BIS does not                     use monitoring (EUM) capabilities and                  additional safeguard for transactions
                                           have to notify Congress of firearms sales               the impact the companion Department                    involving EAR items located outside the
                                           in excess of $1 million, as the                         of State rule has on the Department of                 U.S. that the Department of Treasury
                                           Department of State does. These                         State’s EUM programs. Many                             controls are not able to reach.
                                           commenters asserted that: (1) Congress                  commenters asserted that the decision                     BIS included provisions in the
                                           needs to be able to review these types                  to relax controls on the export of                     Commerce May 24 rule and in this final
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                                           of firearms sales to ensure large risky                 firearms will make it easier for terrorists            rule to address this issue by including
                                           exports do not proceed; (2) Congress has                to obtain the same dangerous firearms                  a presumption of denial license review
                                           played an important role in stopping                    that have been used in mass shootings                  policy under the regional stability
                                           several risky firearms sales because of                 in the United States. Many commenters                  reason for control for these types of end
                                           the congressional notification                          also asserted that these firearms are                  users. Specifically, in this final rule, the
                                           requirement (commenters provided                        weapons of choice for criminal                         license review policy in § 742.6(b)(1)(ii)


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                                           is a policy of denial when there is                     the importing country. This support                    licenses, to help prevent human rights
                                           reason to believe the transaction                       document requirement applies to other                  abuses.
                                           involves criminal organizations, rebel                  countries that also impose a                              BIS does not anticipate authorizing
                                           groups, street gangs, or other similar                  requirement for an import certificate                  exports of firearms to regions involved
                                           groups or individuals, that may be                      prior to allowing an import of a firearm,              in active conflicts because of the
                                           disruptive to regional stability,                       permitting these other countries to                    presumption of denial license review
                                           including within individual countries.                  better control the flow of firearms                    policy for regional stability. Commerce
                                              Comment 13: One commenter, a                         coming into their countries. In addition,              on its licenses as well as in its license
                                           human rights organization, asserted that                U.S. law enforcement agencies,                         exceptions includes certain
                                           ‘‘it has for many years called attention                including BIS’s Office of Export                       requirements and conditions to ensure
                                           to the risks associated with                            Enforcement, also coordinate with law                  subsequent disposition or use of the
                                           untrammeled export of small arms and                    enforcement agencies outside the U.S.,                 item will continue to be in accordance
                                           light weapons around the world.’’ This                  as was referenced above in the BIS                     with U.S. export control interests. These
                                           commenter asserted that ‘‘these arms                    response to Comment 3. The area of                     requirements are enhanced by the EAR
                                           have been associated with the                           preventing illegal transshipments is a                 end-use controls in part 744, which in
                                           deployment of child soldiers and the                    good example of where various                          many cases apply to transfers (in-
                                           rise of insurgent groups.’’ This                        countries have worked together,                        country). Ultimately, the issue raised by
                                           commenter also asserted that ‘‘these                    including law enforcement agencies,                    this commenter is one of the reasons
                                           firearms are easier to divert than larger               regulators, and policy makers, to come                 why the license review process is done
                                           weapons and often end up in the illicit                 up with standards and protocols to                     in a careful and deliberative way to
                                           market.’’                                               reduce illegal transshipments, and this                ensure as much as possible that the
                                              BIS response: BIS does not agree that                work will continue.                                    items authorized for export will not
                                           there is anything in the EAR that will                                                                         subsequently be used in ways not in
                                           make the possibility of diversion any                   Human Rights Issues                                    accordance with the regulations, as well
                                           greater than it was under the ITAR.                        Comment 15: A number of                             as larger U.S. national security and
                                           These concerns of diversion are taken                   commenters suggested the proposed                      foreign policy interests.
                                           into consideration by the export control                rule, if made final, may have a negative
                                           system and underlie the basis for some                  impact on human rights in foreign                      Effect on Other Countries
                                           of the agency’s controls. BIS also notes                countries. BIS also received many                         Comment 16: Some commenters
                                           that the U.S. Government continuously                   comments asserting ‘‘it is now                         asserted moving these firearms to the
                                           monitors the export control system to                   recognized that rape and sexual assault                CCL would increase the likelihood for
                                           determine where the most likely points                  are systematically used as weapons of                  greater destabilization and conflict
                                           of diversion are and takes actions to                   war in conflicts around the world.’’ One               worldwide as well as for these weapons
                                           prevent potential diversion points by                   of these commenters asserted that ‘‘in                 to be trafficked back into the U.S. for
                                           using existing license review policies,                 interviews with women and girls who                    nefarious uses here. Some commenters
                                           rescinding or revoking prior                            have survived sexual violence during                   asserted that ‘‘military-style semi-
                                           authorizations, or imposing new license                 conflict, a very high number of their                  automatic rifles and their ammunition,
                                           requirements or other prohibitions.                     stories include descriptions of the                    are weapons of choice for criminal
                                                                                                   torture they endured at the point of a                 organizations in Mexico and other Latin
                                           Impact on Foreign Law Enforcement                       gun. Although the particular models of                 American countries that are responsible
                                              Comment 14: One commenter                            firearms involved are seldom identified,               for most of the increasing and record
                                           expressed concern that foreign law                      there is no doubt that a military-style                levels of homicides in those countries.’’
                                           enforcement personnel in particular are                 weapon contributed to gross violations                 These commenters asserted that this
                                           at risk of having the firearms and                      of their human rights.’’ Many                          will only send more asylum seekers
                                           ammunition that would be transferred                    commenters asserted that even after a                  fleeing to U.S. borders.
                                           to the CCL used against them. Another                   conflict has officially ended, the                        BIS response: BIS does not agree that
                                           commenter asserted that moving these                    weapons left behind are used all too                   the transfer of items to the CCL would
                                           firearms to the CCL will make it hard for               often by perpetrators of domestic                      increase the likelihood of greater
                                           foreign law enforcement to counter gun                  violence.                                              destabilization and conflict worldwide,
                                           trafficking.                                               BIS response: BIS will use its                      or specifically in Mexico or other Latin
                                              BIS response: These assertions are                   resources and expertise in this area to                American countries. As described
                                           mitigated by the fact that, as stated                   vet parties involved in transactions                   above, each foreign government decides
                                           previously: (1) These articles remain                   subject to the EAR for human rights                    what firearms may be imported into its
                                           subject to BIS’s EUM programs that vet                  concerns. Similarly, as part of the                    country. In addition, as noted above,
                                           potential end users of concern, and (2)                 aforementioned continuing interagency                  these items will be controlled for
                                           applications for firearms and                           review of export licenses for firearms,                regional stability, so each license
                                           ammunition licenses will be approved                    the Departments of State and Defense                   application will be reviewed to evaluate
                                           only if the end use is permitted under                  will remain active in the interagency                  whether the export of these firearms
                                           the laws and supervision of the                         review process of determining how an                   may contribute to destabilizing that
                                           importing country.                                      item is controlled and will review                     foreign country or other regional
                                              BIS notes that this final rule is                    export license applications on a case-by-              stability concerns.
                                           consistent with U.S. multilateral                       case basis for national security and
                                           commitments, e.g., to the Wassenaar                     foreign policy reasons, including the                  U.S. Nationals and Interests Overseas
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                                           Arrangement and the United Nations for                  prevention of human rights abuses. As                     Comment 17: Some commenters
                                           conventional arms reporting. The                        stated previously in this final rule and               asserted that this change in licensing
                                           support documentation requirements                      in the companion rule published by the                 jurisdiction could lead to an unfortunate
                                           are consistent with Organization of                     Department of State, the Department of                 future situation where our own combat
                                           American States (OAS) requirements to                   State will continue vetting potential end              troops face troublemakers armed with
                                           require an import certificate issued by                 users when reviewing Commerce                          American-made weaponry.


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                                             BIS response: The U.S. export control                 reporting requirements outlined in 22                  the short-term need to adjust internal
                                           system, whether that is the export                      CFR part 130. This commenter asserted                  compliance programs and practices.’’
                                           controls implemented under the EAR or                   that part 130 requires exporters to report             One firearms industry trade association
                                           the ITAR, is focused on protecting U.S.                 payment of certain political                           commenter noted that most of ‘‘its
                                           national security and foreign policy                    contributions, fees, and commissions                   members, particularly the small- and
                                           interests. Effective controls are in place              related to the sale of defense articles and            medium-sized companies, believe that
                                           under the EAR to ensure as much as                      services to the armed forces of a foreign              the changes will be economically
                                           possible that items subject to EAR do                   country or international organization to               beneficial for them because the eventual
                                           not endanger U.S. troops, U.S. nationals,               the DDTC and because the EAR does not                  regulatory simplification and cost
                                           or other U.S. interests is one of the key               have the same type of reporting                        reductions will allow them to consider
                                           objectives of EAR controls. This final                  requirement, this may result in                        exporting when they might not have
                                           rule is intended to ensure that items                   increased corruption in arms sales. The                otherwise.’’ Additionally, many small
                                           being moved to the EAR will not                         same commenter asserted that ‘‘in many                 independent gunsmiths commented
                                           endanger U.S. interests. BIS, as well as                countries around the world, corruption                 about the disproportionate negative
                                           the Department of State, works to ensure                is rampant within their arms                           impact the costs of ITAR compliance
                                           that diversions do not occur, but it is a               procurement systems, as foreign                        had on their businesses. Several
                                           concern not unique to firearms moved                    officials seek to steal funds from their               commenters asserted that by moving
                                           to the CCL, and something the U.S.                      national budgets for their personal                    such items to the EAR, many domestic
                                           export control system is designed to                    gain,’’ so not including a reporting                   manufacturers who do not export would
                                           counter.                                                requirement in the EAR may make the                    be relieved of the significant financial
                                                                                                   corruption worse. The same commenter                   burden of registering under the ITAR.
                                           Consistency With U.S. Multilateral
                                                                                                   asserted that under the Commerce May                   One trade association commenter
                                           Commitments
                                                                                                   24 rule, BIS would limit its ability to                asserted that the costs for their members
                                              Comment 18: Other commenters                         obtain useful information on U.S.                      would be reduced because under the
                                           suggested that this rule contravenes                    defense companies and prosecute                        Commerce system, there are no fees to
                                           international commitments the United                    bribery.                                               apply for licenses. This commenter also
                                           States has made through mechanisms                         BIS response: BIS does not agree with               asserted that their burdens would be
                                           such as the Wassenaar Arrangement.                      these assertions. The Foreign Corrupt                  reduced because the Commerce license
                                           One commenter asserted that the U.S.                    Practices Act (FCPA) already prohibits                 application forms are vastly simpler
                                           has already alienated many of our allies,               this type of corruption activity and                   compared to the Department of State
                                           and this rule change will further                       provides a robust regulatory scheme.                   license application forms.
                                           aggravate relations by pushing more                     FCPA applies to all items subject to the                  One commenter asserted that ‘‘one of
                                           firearms into their countries.                          EAR, including items that will be                      the benefits under the EAR will be that
                                              BIS response: The transfer of the                    moved from the USML to the CCL.                        controls on less sensitive and widely
                                           concerned items to the CCL does not                     Therefore, imposing a separate reporting               available basic parts, components, and
                                           contravene U.S. international                           requirement is not needed under the                    technology are more tailored and allow
                                           commitments, as the U.S. Government                     EAR to prevent this type of illegal                    for less burdensome trade with close
                                           will continue to apply a high level of                  activity. BIS highlights here in the                   allies through license exceptions.’’ This
                                           control to these items and require U.S.                 preamble of this final rule that any party             same commenter also asserted that
                                           Government authorization for all                        involved in a transaction ‘‘subject to the             ‘‘sales with regular customers can be
                                           exports of firearms and major                           EAR’’ must also follow any other                       combined in to fewer license
                                           components. Further, the controls being                 applicable U.S. laws, including the                    applications, thus reducing overall
                                           implemented under the EAR with this                     FCPA. Questions on the FCPA should                     paperwork to achieve the same policy
                                           final rule are consistent with U.S.                     be directed to the Department of Justice               objectives.’’
                                           multilateral commitments, e.g., to the                  and the U.S. Securities and Exchange                      One trade association commenter
                                           Wassenaar Arrangement, the United                       Commission (SEC).                                      asserted that these changes ‘‘will lead to
                                           Nations, and the OAS. BIS notes that                                                                           growth for U.S. companies, more jobs in
                                           foreign governments decide what items                   Commenters Asserting Burdens Will Be                   the United States, and related economic
                                                                                                   Reduced (for Purposes of E.O. 13771)                   benefits for the cities and states where
                                           may be imported into their countries
                                           and how such items will be regulated                       Comment 20: A firearms trade                        the members reside while
                                           within that country. Regardless of the                  association commenter asserted that ‘‘it               accomplishing the same national
                                           U.S. export control system, an exporter                 has reviewed the proposed rule                         security and foreign policy objectives
                                           must still meet the requirements of an                  thoroughly with its membership . . .                   they have always had.’’ One commenter
                                           importing country and if the importing                  and most members have told it that the                 asserted that the items being moved to
                                           country does not allow the importation                  final versions of the rules would                      the CCL are manufactured in many parts
                                           of these items or requires certain                      eventually be beneficial because they                  of the world and that by engaging more
                                           requirements to be met, those foreign                   would significantly reduce the overall                 with the world, U.S. firearms
                                           regulatory or other legal parameters set                burden and cost of complying with                      manufacturers will improve their
                                           the parameters and scope for what may                   controls on the export of commercial                   knowledge and capability. One
                                           be imported, who may use such items,                    firearms and ammunition.’’ This trade                  commenter that identified himself as a
                                           and for what end uses.                                  association noted that ‘‘[a]ll who                     U.K. citizen, who often travels to the
                                                                                                   responded told us that there would be                  U.S. and visits sporting goods stores,
                                           Reporting Requirement for Political                     an initial short-term increase in burden               asserted that the price of certain items,
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                                           Contributions and Fees to the EAR To                    and cost because of the need to re-                    e.g., cartridge cases and bullets, are less
                                           Prevent Corruption in the Arms Trade                    classify thousands of commodity,                       than half the price charged in the U.K.
                                             Comment 19: One commenter                             software, and technology line items and                The commenter asserted, ‘‘fix this and
                                           asserted that the transfer of certain                   SKUs affected by the new rules, but that               U.S. manufacturers will see a significant
                                           Categories I–III items from ITAR to EAR                 the long-term regulatory burden                        increase in demand from U.K. based
                                           control will mean the loss of the                       reduction would significantly outweigh                 firearms owners.’’


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                                              BIS response: BIS agrees that the                    Commenters Asserting Burdens Will Not                  effort is not intended to make the ITAR
                                           Commerce May 24 rule would reduce                       Be Reduced (for Purposes of E.O. 13771)                the same as the EAR; this would not be
                                           the overall regulatory burden of                           Comment 21: One anonymous                           warranted because the more restrictive
                                           complying with U.S. export controls,                    commenter asserted that moving these                   ITAR controls are needed to regulate
                                           including through regulatory                            items to the CCL would create a small                  items such as fighter aircraft,
                                           simplification and cost reductions that                 cost-savings for its company in                        submarines, and intercontinental
                                           may allow certain persons, e.g., small                  registration and licensing fees, but the               ballistic missiles. BIS agrees that the
                                           independent gunsmiths, to consider                      commenter did not see a demonstrated                   more focused EAR technology controls
                                           exporting when they might not have                      equivalent in terms of paperwork                       will ease burdens, but still appropriately
                                           otherwise because of the economic                       reduction or real time savings. This                   control technology for these items.
                                           burden of complying with the ITAR.                                                                                BIS does not agree with the assertion
                                                                                                   commenter asserted that the issue for
                                           One of the strengths of the EAR control                                                                        that the way the cost savings were
                                                                                                   small companies having to pay the
                                           structure is its focused approach on                                                                           calculated in the Commerce May 24 rule
                                                                                                   registration fees due to their
                                           exports without unduly burdening                                                                               provided no meaningful data to
                                                                                                   manufacturing activities is better
                                           persons that are not a party to an export                                                                      extrapolate total process savings. Many
                                                                                                   resolved by changing the definition of
                                           transaction. Not requiring domestic                                                                            commenters asserted that they believed
                                                                                                   manufacturer to add a minimum size
                                           manufacturers to register with BIS is a                                                                        their burden would be reduced by
                                                                                                   requirement. The same commenter
                                           good example of the more focused EAR                                                                           moving these items to the CCL. This
                                                                                                   asserted that the EAR does not include
                                           controls. The fact that BIS does not                                                                           commenter is correct that other
                                                                                                   a concept of defense services and the
                                           charge a registration fee to be able to                                                                        commenters expressed concerns about
                                                                                                   technology controls are more narrowly                  individuals being required to file EEI in
                                           apply for a Commerce license is another                 focused and apply in limited contexts as
                                           financial benefit.                                                                                             AES for exports under License
                                                                                                   compared to the ITAR, and this change                  Exception BAG of their personally
                                              The EAR is a more tailored control                   represents an improvement in terms of
                                           structure, and this more flexible control                                                                      owned firearms, and concerns about
                                                                                                   the commenter’s ability to share                       including the serial number, make,
                                           structure will reduce burdens and create                information needed for marketing
                                           more opportunities to export. One of the                                                                       model number, and caliber of firearms
                                                                                                   firearms and for repairing them                        in the EEI in AES. However, this final
                                           key benefits of the more flexible                       internationally. However, this
                                           Commerce licensing processes is the                                                                            rule significantly reduces these burdens.
                                                                                                   commenter asserted that the same result                For example, this final rule requires the
                                           ability for applicants to combine                       could be achieved via amendment to the
                                           multiple transactions on license                                                                               U.S. Customs and Border Protection
                                                                                                   ITAR. The same commenter asserted                      (CBP) Certification of Registration Form
                                           applications for sales to regular                       that ‘‘the improvements and savings are                4457, a form already being used by
                                           customers. Because BIS does not require                 quantified using the 43.8 minutes for                  exporters. Therefore, there will be no
                                           a purchase order, the overall number of                 BIS application vs. the 60 minutes for                 additional burden because BIS will be
                                           licenses an exporter may need to submit                 DDTC application and that this metric                  requiring information already submitted
                                           is reduced.                                             provides no meaningful data from                       by exporters to CBP for other reasons.
                                              The changes included in this final                   which to extrapolate total process                     For licensed exports, BIS also
                                           rule may lead to increased sales                        savings or if any is really generated.’’               eliminated the requirement to file those
                                           opportunities for U.S. exporters and                    This commenter also asserted that other                additional data elements, except for
                                           related economic benefits for the United                additional burdens proposed in the                     temporary exports or when the
                                           States, while also accomplishing the                    Commerce May 24 rule also need to be                   Commerce license includes a condition
                                           same national security and foreign                      accounted for, e.g., increasing the                    requiring it, similar to the approach
                                           policy objectives of the U.S. export                    quantity and type of data elements                     Department of State takes with provisos
                                           control system. Because of the more                     which will be required for AES filing.                 on its licenses.
                                           flexible EAR control structure, parties                 The same commenter asserted that there                    BIS acknowledges that there will be
                                           outside the U.S. may want to purchase                   will be burdens and expenses of                        some short-term adjustment costs. BIS
                                           more items, such as ECCN 0A501.x                        transition related to reclassification of              also acknowledges that the EAR is a
                                           parts or components that were                           all products, re-training of all                       more complex control structure because
                                           previously avoided because of no de                     employees, and advanced training                       with greater flexibility there is a need
                                           minimis eligibility under the ITAR. This                needed for compliance personnel. The                   for additional nuances in the control
                                           rule might also lead to increased export                commenter acknowledged that it                         structure. BIS disagrees that the
                                           activity because parties outside the U.S.               understands this burden is considered                  rationale for the transition was not
                                           may import more U.S. origin firearms                    short term; however, the commenter                     clearly demonstrated in the Commerce
                                           because of the more flexible Commerce                   asserted that the benefits of moving                   May 24 rule.
                                           licenses that do not require a purchase                 these items to the CCL still has not been                 BIS appreciates this same commenter
                                           order. Importantly, any additional                      adequately explained to justify these                  highlighting a key point of
                                           exports that may occur are the same                     short-term burdens. This same                          commonality. The commenter is correct
                                           types of exports that would have been                   commenter asserted that other than                     that the Commerce license applications
                                           otherwise approved under the ITAR.                      utilizing a different application form                 will continue to be reviewed by the
                                              As asserted by some of the                           and the change in the agency receiving                 Departments of State and Defense. This
                                           commenters, the changes made by this                    applications, it has not been                          well-established interagency review
                                           final rule may help to foster innovation                demonstrated exactly what, if any,                     process specified in both Executive
                                           in the United States by encouraging                     process improvement this represents.                   Order 12981 and in the EAR helps to
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                                           collaboration with companies outside                       BIS response: While this commenter                  protect U.S. export control interests and
                                           the United States, and this may lead to                 did not anticipate significant cost or                 ensures that a diversity of interests and
                                           better U.S. products. They may also                     burden reduction from the transition to                agency expertise is being used to review
                                           encourage more people to be interested                  the EAR, most other commenters                         license applications. BIS disagrees that
                                           in purchasing items from the United                     addressing these issues anticipated                    the only difference is a different
                                           States.                                                 more significant benefits. The reform                  application. For example, the fact that


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                                           an applicant does not require a purchase                   BIS response: This final rule corrects                 BIS response: BIS notes that the intent
                                           order under the EAR to apply for a                      the EAR text to make it clear that                     of this final rule is to transfer those
                                           license allows for more companies to                    magazines with a ‘‘capacity of greater                 items previously controlled under
                                           compete for business opportunities.                     than 50 rounds’’ are subject to the ITAR.              Categories I–III that no longer warrant
                                                                                                      Comment 25: One commenter                           ITAR control, to the respective ECCNs
                                           Licensing Costs
                                                                                                   asserted there had been past issues of                 as created under this rule to the CCL by
                                              Comment 22: Many commenters                          interpretation under the ITAR for what                 using long-accepted industry standards
                                           asserted that the Commerce May 24 rule                  was meant by ‘‘complete breech                         of ‘‘caliber’’ as the defining delineation
                                           would transfer the cost of reviewing                    mechanism’’ and therefore the                          between ammunition types. BIS made
                                           applications and processing licenses                    commenter recommended defining the                     changes in this final rule to use the
                                           from gun manufacturers to taxpayers.                    term under the EAR.                                    appropriate text in this final rule to be
                                           Many commenters also asserted that                         BIS response: BIS accepts the change                consistent with the text used in the
                                           with respect to firearms exports,                       to include a definition of ‘‘complete                  USML, so that .50 caliber ammunition
                                           taxpayers and the public at large should                breech mechanisms.’’ This final rule                   and .50 caliber firearms will transition
                                           be concerned about pressures to cut                     will add a definition for ‘‘complete                   into their proper 0x5zz ECCNs. For
                                           corners that could result in                            breech mechanisms’’ to part 772 and                    example ECCN 0A501, includes all non-
                                           authorization of irresponsible transfers                will add double quotation marks around                 automatic and semi-automatic ‘‘.50
                                           of firearms, because BIS will not be                    the term where it is used in ECCNs                     caliber (12.7mm) and less’’ firearms
                                           charging fees for licensing.                            0A501 and 0A502.                                       under ‘‘items’’ paragraph .a.
                                              BIS response: By statute, Congress                                                                             Comment 29: One commenter was
                                                                                                      Comment 26: One commenter took
                                           prohibits BIS from imposing fees for any                                                                       concerned that with the proposed
                                                                                                   issue with the use of the term ‘‘assault
                                           license application, authorization or                                                                          description of caliber in inches in ECCN
                                                                                                   weapons’’ or ‘‘close assault weapons.’’
                                           other requests. This prohibition applies                                                                       0A501, ammunition for .50 caliber
                                           for submissions in connections with all                 This commenter asserted that the terms
                                                                                                   should be defined, or not used. This                   Browning Machine Guns (‘‘50 BMG’’)
                                           items subject the EAR and is not                                                                               would be controlled under both 0A505
                                           specific to the firearms industry. BIS has              commenter requested the term ‘‘semi-
                                                                                                   automatic’’ rifles, pistols, or other                  and USML Category III creating
                                           effectively licensed items for several                                                                         overlapping controls.
                                           decades based on the fee free license                   firearm be used instead.
                                                                                                                                                             BIS response: BIS clarifies in this final
                                           construct that was included in the                         BIS response: BIS agrees and has
                                                                                                                                                          rule that ECCN 0A501 includes all non-
                                           Commerce May 24 rule and in this final                  removed the term ‘‘assault weapons’’ in                automatic and semi-automatic ‘‘equal to
                                           rule.                                                   this final rule and instead uses the term              .50 caliber (12.7mm) and less’’ firearms
                                                                                                   ‘‘semi-automatic,’’ which better aligns                under ‘‘items’’ paragraph .a. Therefore,
                                           Comments Specific to the Regulatory                     with the terms used in the control
                                           Text                                                                                                           this final rule also would not control the
                                                                                                   parameters.                                            50 BMG under ECCN 0A501.a.
                                           Inclusion in the ‘‘600 Series’’                            Comment 27: One commenter                           However, the corresponding
                                                                                                   recommended BIS define ‘‘firearm’’ in                  ammunition which is used in a number
                                              Comment 23: One commenter                            harmonization with the USML.
                                           requested BIS include semi-automatic                                                                           of non-automatic and semi-automatic
                                                                                                      BIS response: BIS does not agree the                firearms will be controlled under
                                           firearms and related items in the ‘‘600
                                                                                                   term ‘‘firearm’’ needs to be defined in                0A505.a, when not linked or belted.
                                           series’’ instead of in 0x5zz ECCNs.
                                              BIS response: BIS does not agree. As                 the EAR. The term ‘‘firearms’’ is used in                 Comment 30: Some commenters
                                           was stated in the Commerce May 24 rule                  this final rule with additional technical              requested BIS revise Note 3 to 0A501 so
                                           and discussed above in response to the                  parameters or ECCN identifiers, e.g.,                  that the definition of antique firearms is
                                           comments, the semi-automatic firearms                   0A501.a, that will enable identification               aligned with the Wassenaar
                                           this final rule adds to ECCN 0A501.a                    of these firearms. BIS does not believe                Arrangement controls or alternatively
                                           have a significant worldwide market in                  the use of the term ‘‘firearms’’ will                  that the date threshold in the definition
                                           connection with civil and recreational                  create confusion with the USML or the                  of antique firearm in Note 3 be changed
                                           activities such as hunting,                             USMIL.                                                 from 1890 to 1898 to align with the
                                           marksmanship, competitive shooting,                        Comment 28: One commenter noted                     ITAR’s exemption.
                                           and other non-military activities. For                  an inconsistency in the way calibers are                  BIS response: BIS does not agree.
                                           these reasons, the movement of firearms                 described in the control lists under the               Because this rule focuses on the export
                                           and ammunition from USML Category I                     Commerce May 24 rule. In USML                          of firearms, it uses the year 1890 so that
                                           and III, similar to the civilian spacecraft             Categories I and II, firearms and guns                 the United States remains consistent
                                           and related items moved from the                        are described as ‘‘caliber .50 inclusive               with its international export control
                                           USML and controlled on the CCL under                    (12.7 mm)’’ and ‘‘greater than .50 caliber             commitments under the Wassenaar
                                           0x515 ECCNs, do not warrant being                       (12.7 mm),’’ respectively. In new ECCN                 Arrangement, which uses 1890 as the
                                           controlled under the ‘‘600 series.’’                    0A501, firearms are described in                       cutoff year to identify many firearms
                                                                                                   ‘‘items’’ paragraph .a and .b as ‘‘of                  and armaments that are not on the
                                           New ECCN 0A501: Firearms and                            caliber less than or equal to .50 inches               control list.
                                           Related Commodities                                     (12.7 mm)’’ and ‘‘with a caliber greater                  Comment 31: One commenter
                                              Comment 24: One commenter                            than .50 inches (12.7 mm) but less than                requested that BIS clarify where
                                           identified an inconsistency between the                 or equal to .72 inches (18.0 mm),’’                    combination firearms would be
                                           Commerce May 24 rule in the ‘‘Related                   respectively. This commenter asserted                  controlled, noting that neither ECCN
                                           Controls’’ paragraph that stated                        that the caliber terms not being aligned               0A501 (firearms) nor ECCN 0A502
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                                           magazines with a ‘‘capacity of 50 rounds                between the control lists could cause                  (shotguns) refer to firearms that are a
                                           or greater’’ are ‘‘subject to the ITAR.’’               confusion and misinterpretation of the                 combination of shotgun and rifle, i.e.,
                                           However, the proposed USML Category                     controls between the USML and CCL,                     that have two barrels.
                                           I(h)(1) referenced only magazines and                   particularly in regard to the ammunition                  BIS response: BIS agrees, and in this
                                           drums with a ‘‘capacity greater than 50                 controls which follow the respective                   final rule adds a note to clarify that
                                           rounds.’’                                               firearm controls.                                      combination firearms are controlled


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                                           under ECCN 0A501.a. This final rule                     ‘‘iron sights’’ as listed in .y.3, but may             America. One commenter requested
                                           also adds a note under ECCN 0A502 to                    be a ‘‘specially designed’’ ‘‘attachment.’’            reducing the LVS eligibility under
                                           specify that all shotguns and ‘‘shot-                      BIS response: BIS agrees that the                   ECCN 0A501 from $500 to $100, and
                                           pistols’’ are controlled identically.                   introductory text of ECCN 0A501.y                      reducing further the commodities that
                                              Comment 32: One commenter sought                     needs to be revised to clarify that the                would be eligible.
                                           clarification on the classification of                  ‘‘parts,’’ ‘‘components,’’ ‘‘accessories,’’               BIS response: BIS agrees that License
                                           detachable magazines for ECCN 0A501                     and ‘‘attachments’’ ‘‘specially designed’’             Exception LVS will be particularly
                                           firearms with a capacity of less than or                therefor for the .y items are also                     useful for the firearms industry for low
                                           equal to 16 rounds. The commenter                       controlled in the .y paragraphs. This                  value shipments and believes that the
                                           asserted that ECCN 0A501.d explicitly                   final rule makes this change. BIS had                  license exception is properly scoped in
                                           lists magazines with a capacity of                      previously made this same correction to                the dollar value used and the scope of
                                           greater than 16 rounds, but it was not                  the other .y paragraphs on the CCL to                  availability for the reasons outlined in
                                           clear whether magazines with a lesser                   ensure, for example, that ‘‘specially                  the Commerce May 24 rule. BIS
                                           capacity are designated as EAR99 or                     designed’’ parts used in ‘‘specially                   emphasizes as specified in the name of
                                           controlled under 0A501.x.                               designed’’ galleys classified under                    the license exception itself, this license
                                              BIS response: BIS agrees, and this                   ECCN 9A610.y for military aircraft,                    exception is limited to low value
                                           final rule adds a new note to paragraph                 would not be controlled in 9A610.x.                    shipments. This includes the total
                                           .d to clarify that magazines with a                        Comment 36: One commenter                           quantity for consolidated shipments,
                                           capacity of 16 rounds or less are                       asserted that ECCN 0A501.y contains                    even if a shipper was consolidating
                                           classified under ECCN 0A501.x.                          three types of commodities that have                   several shipments. BIS also notes that
                                              Comment 33: One commenter                            been officially determined to be EAR99                 an exporter is limited to twelve orders
                                           asserted that as currently proposed,                    for many years: (i) .y.2—scope mounts                  per year to the same consignee. The
                                                                                                   and accessory rails; (ii) .y.3—iron sights;            terms of License Exception LVS also
                                           paragraph .x would apply to parts and
                                                                                                   and (iii) .y.4—sling swivels. This                     strictly prohibit the splitting of orders to
                                           components specially designed for a
                                                                                                   commenter requested that the parts in .y               try to evade the applicable LVS dollar
                                           commodity classified anywhere on the
                                                                                                   paragraphs .y.2, .y.3, and .y.4 be                     value. In addition, if there are questions
                                           USML. This commenter recommended
                                                                                                   removed from ECCN 0A501 and a note                     whether an exporter has stayed within
                                           revising as follows: ‘‘Parts’’ and
                                                                                                   be added to confirm that they remain                   the required scope of LVS, EE can
                                           ‘‘components’’ that are ‘‘specially
                                                                                                   EAR99 items.                                           require exporters to hand over all the
                                           designed’’ for a commodity classified                      BIS response: BIS does not accept this              required recordkeeping documents
                                           under paragraphs .a through .c of this                  change because it only works if the past               related to a transaction under License
                                           entry or USML Category I and not                        CJs covered those items and all variants.              Exception LVS to identify whether there
                                           elsewhere specified on the USML or                      Paragraph (b)(1) of ‘‘specially designed’’             has been a violation of the EAR. LVS is
                                           CCL.                                                    and General Order No. 5 would not be                   not currently linked to inflation, but the
                                              BIS response: BIS does not agree that                applicable to those items not included                 public may at any time make
                                           a change is needed. Because some of the                 within the scope of a CJ—meaning an                    recommendations for changes to the
                                           parts and components controlled under                   item may get pulled up into .x.                        regulations, including suggestions for
                                           ECCN 0A501.x may be for firearms                        Therefore, to address this issue                       revising the LVS dollar values in an
                                           incorporated into a fully automatic                     definitively this final rule keeps these               ECCN.
                                           firearm that is incorporated into a                     items as .y items.                                        BIS notes that only countries
                                           military vehicle (a USML Category VII                                                                          identified in Country Group B are
                                           commodity), the broader reference to                    License Exception LVS
                                                                                                                                                          eligible to receive commodities under
                                           the USML is more appropriate. The                          Comment 37: BIS received a number                   License Exception LVS. These are
                                           USML Order of Review and CCL Order                      of comments on License Exception LVS                   countries that the U.S. Government does
                                           of Review will ensure that only those                   eligibility. Some commenters supported                 not have export control concerns with
                                           parts and components intended to be                     its availability, though one commenter                 for purposes of the commodities that are
                                           classified under ECCN 0A501.x will be                   suggested that wholesale value rather                  eligible to be authorized under License
                                           classified under this ‘‘items’’ paragraph.              than actual value should be used while                 Exception LVS. More sensitive
                                              Comment 34: One commenter                            another commenter requested higher                     commodities, such as firearms and some
                                           requested revising paragraph 0A501.y                    value shipments should be authorized                   key components, are excluded from
                                           by replacing the period at the end of the               to Canada. One commenter                               License Exception LVS. As noted in the
                                           paragraph with the phrase ‘‘including’’                 recommended pegging the LVS dollar                     Commerce May 24 rule, the ITAR has a
                                           or ‘‘as follows:’’ In order to clarify                  value to inflation to allow for                        similar type of exemption. Relatedly,
                                           whether .y is limited to the enumerated                 incremental increases to match price                   BIS does not believe Canada-specific
                                           .y paragraphs, or itself is a control                   increases over time. One commenter                     provisions are necessary in the License
                                           paragraph in which items can be                         requested that Canada should have all of               Exception LVS paragraph of ECCN
                                           controlled.                                             its LVS eligibility specified in its own               0A501 to specify all LVS eligibility for
                                              BIS response: BIS clarifies that the .y              LVS paragraph in the ECCN,                             Canada in one stand-alone paragraph.
                                           listings are exhaustive, and to be                      distinguishing Canada’s eligibility from               First, it would deviate from how LVS is
                                           classified in a .y paragraph, the item                  other Country Group B countries. Some                  described in other ECCNs. Second, there
                                           needs to meet the identified description                commenters raised concerns related to                  is the potential that an exporter may get
                                           and the definition of ‘‘specially                       License Exception LVS availability,                    confused and believe LVS is available
                                           designed.’’                                             asserting that it would not curb risky                 for other Country Group B countries
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                                              Comment 35: One commenter                            exports of pistol grips and magazine                   because the same commodities were
                                           requested clarification of whether the .y               clips valued at $500, that it is possible              identified in more than one LVS
                                           paragraph itself serves as a catch-all for              for companies or individuals to export                 paragraph.
                                           ‘‘parts,’’ ‘‘components,’’ ‘‘accessories,’’             many low-value items in one shipment                      Finally, it is important to note that the
                                           and ‘‘attachments.’’ For example, a set                 without a U.S. license, and that it could              importing country will also have its
                                           of fiber-optic sights for a pistol are not              fuel gun violence in Mexico and Central                own requirements for imports and


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                                           domestic sale and use, including for                       Comment 42: One commenter                           devices that provide a reference for
                                           commodities such as pistol grips. While                 requested that the description in the                  aligning the firearms sights. This
                                           someone like a jeweler or other                         ‘‘Related Controls’’ paragraph of ECCN                 includes any laser boresighting device,
                                           craftsman in the U.S. (e.g., a hobbyist                 0A502 be made consistent with how                      regardless of how it attaches to the
                                           who enjoys engraving pistol grips with                  such shotguns are referred to in the                   firearm (e.g., boresights that fit over the
                                           western cowboy motifs) could use                        revised USML Category I.                               muzzle of the barrel), which performs
                                           License Exception LVS, it would not be                     BIS response: BIS agrees, and this                  the same function.’’
                                           available for larger transactions, such as              final rule removes the phrase ‘‘combat                    BIS response: BIS does not agree.
                                           someone wanting to export to a retail                   shotguns’’ wherever it appears in ECCN                 Revising Note 1 to 0A504.f would make
                                           store in a foreign country.                             0A502, including in the ‘‘Related                      it difficult to distinguish between what
                                                                                                   Controls’’ paragraph. BIS in this final                the commenter is proposing and a laser
                                           New ECCN 0A502: Shotguns and                            rule also removes references to ‘‘combat
                                           Certain Related Commodities                                                                                    pointer. The note included in this final
                                                                                                   shotguns’’ in ECCN 0A505.                              rule makes it clear that those
                                              Comment 38: One commenter                               Comment 43: One commenter                           commodities that are placed inside a
                                           requested revising the heading of ECCN                  requested in order to have consistent                  bore or chamber would preclude its
                                           0A502 to specify the parts and                          controls and exceptions for similar                    subsequent use as or with a firearm.
                                           components enumerated in the heading                    commodities, that BIS allow the use of                    Comment 46: One commenter
                                           are shotgun parts and components.                       License Exception LVS for ECCN 0A502                   requested License Exception LVS
                                              BIS response: BIS agrees, and this                   parts and components to the same                       should be made available for ECCN
                                           final rule revises the heading to specify               extent proposed for 0A501, e.g., for                   0A504.g commodities that are similarly
                                           that parts and components enumerated                    shotgun trigger mechanisms, magazines,                 insignificant as those commodities
                                           in the heading of ECCN 0A502 are                        and magazine extensions.                               eligible in ECCN 0A501.
                                           shotgun ‘‘parts’’ and ‘‘components.’’ BIS                  BIS response: BIS agrees, and in this
                                                                                                   final rule revises the LVS paragraph in                   BIS response: BIS agrees, and this
                                           also makes one other change to address                                                                         final rule includes License Exception
                                           the issue of clarity raised by this                     the License Exceptions section of ECCN
                                                                                                   0A502 to add LVS eligibility of $500 for               LVS eligibility for ‘‘parts’’ and
                                           commenter. This final rule adds a note                                                                         ‘‘components’’ classified under ECCN
                                           to ECCN 0A501 to specify that ‘‘shot-                   the same types of parts and components
                                                                                                   for ECCN 0A502 shotguns that are                       0A504.g.
                                           pistols’’ will be controlled as shotguns.
                                              Comment 39: One commenter                            available for LVS under 0A501.                         New ECCN 0A505: Ammunition and
                                           requested that rather than having the                   Complete shotguns will continue to be                  Certain Related Commodities
                                           items controlled contained in the ECCN                  excluded.
                                                                                                      Comment 44: One commenter                              Comment 47: One commenter
                                           heading, BIS should enumerate the                                                                              recommended revising ECCN 0A505.a
                                           shotguns in separate ‘‘items’’ paragraphs               asserted that to facilitate the use of
                                                                                                   License Exception LVS, the ECCN                        to include ammunition for firearms
                                           that track with the different reasons for                                                                      controlled in USML Category I that may
                                           control for the different size shotguns in              0A502 heading should be changed to
                                                                                                   ‘‘Shotguns and related commodities                     not otherwise be captured by adding the
                                           the ‘‘items’’ paragraph to ease the                                                                            phrase ‘‘or USML Category I’’ to clarify
                                           compliance burden for exporting these                   (See List of Items controlled) . . .’’ and
                                                                                                   then under the ‘‘List of Items                         that ammunition for these type of
                                           shotguns.                                                                                                      firearms is also controlled under ECCN
                                              BIS response: BIS does not agree. The                Controlled’’ parts and components
                                                                                                   should be enumerated to include                        0A505.a.
                                           license requirement section in this final
                                           rule is already consistent with the                     ‘‘complete trigger mechanisms,’’                          BIS response: BIS agrees, and this
                                           current control text, applying CC                       ‘‘magazines,’’ and ‘‘magazine extension                final rule incorporates the suggested text
                                           Column 2 and CC Column 3 as                             tubes.’’                                               to clarify that ammunition for firearms
                                           appropriate depending on the                               BIS response: BIS does not agree. BIS               in both ECCN 0A501 and USML
                                           destination. BIS already uses this                      in this final rule continues to enumerate              Category I will be controlled under
                                           structure for long barreled shotguns,                   ‘‘parts’’ and ‘‘components’’ in the                    0A505.a, provided it is not enumerated
                                           which this final rule moves to ECCN                     heading, but in the interest of clarity it             elsewhere in 0A505 or in USML
                                           0A502.                                                  also includes the specific eligible                    Category III.
                                              Comment 40: One commenter                            commodities in the LVS paragraph.                         Comment 48: One commenter
                                           requested that the final rule define                                                                           requested BIS revise ECCN 0A505 to
                                                                                                   New ECCN 0A504: Optical Sighting                       include a note similar to the Note to
                                           antique shotguns in ECCN 0A502 to                       Devices and Certain Related
                                           capture those guns made ‘‘in or before                                                                         0A018.b to specify that dummy
                                                                                                   Commodities                                            ammunition is designated EAR99.
                                           1898,’’ consistent with the definition of
                                           antique rifles and handguns in the Gun                     Comment 45: One commenter                              BIS response: BIS agrees, and this
                                           Control Act of 1968.                                    asserted that the proposed Note 1 to                   final rule adds a Note 4 to 0A505 to
                                              BIS response: BIS agrees, and this                   0A504.f states that ‘‘0A504.f does not                 specify that all dummy and blank
                                           final rule adds a new Note 1 to 0A502                   control laser boresighting devices that                (unless linked or belted) ammunition,
                                           specifying that shotguns made in or                     must be placed in the bore or chamber                  not incorporating a lethal or non-lethal
                                           before 1898 are considered antique                      to provide a reference for aligning the                projectile(s) is designated EAR99.
                                           shotguns and designated as EAR99.                       firearms sights.’’ This commenter                         Comment 49: One commenter
                                              Comment 41: One commenter                            asserted there are a variety of                        asserted that there are several magazine
                                           requested BIS clarify the control status                boresighting devices that are placed                   manufacturers in the U.S. producing
                                           of accessories of optics, e.g., sunshades               over the muzzle of the barrel instead of               magazines of greater than 50 rounds that
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                                           or other anti-glare devices.                            inside the bore or chamber and perform                 would benefit from also having their
                                              BIS response: BIS clarifies that                     the same function as those described in                magazine moved to the CCL. This
                                           sunshades or other anti-glare devices if                the note. For these reasons, the                       commenter asserted that limiting this
                                           not enumerated or otherwise described                   commenter requested that this Note be                  magazine capacity to 50 rounds or less
                                           in ECCN 0A502 or any other ECCN are                     revised to read as follows: ‘‘0A504.f                  does not protect any special U.S. or
                                           designated as EAR99.                                    does not control laser boresighting                    allied military advantage, but magazines


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                                           of greater than 50 rounds are commonly                  ‘‘Production’’ means all production                       BIS response: BIS clarifies that the
                                           found and manufactured worldwide.                       stages, such as: Product engineering,                  definition of ‘‘technology’’ in part 772
                                              BIS response: BIS does not agree.                    manufacture, integration, assembly                     applies to ECCN 0E501 and any other
                                           Magazines with a capacity of 50 rounds                  (mounting), inspection, testing, and                   Product Group E ECCNs on the CCL,
                                           or less are appropriate on the CCL, and                 quality assurance. Part 772 also includes              including the other Product Group E
                                           magazines greater than 50 rounds                        a definition of ‘‘production equipment’’               ECCNs this final rule adds, e.g., 0E505.
                                           warrant ITAR control.                                   that includes tooling, templates, jigs,                In addition, BIS clarifies that shooting
                                              Comment 50: One trade association                    mandrels, moulds, dies, fixtures,                      chronographs or empty brass cartridge
                                           commenter noted that proposed ECCN                      alignment mechanisms, test equipment,                  annealing machines are end items and
                                           0A505 included an allowance for                         other machinery and components                         generally designated EAR99. Therefore,
                                           License Exception LVS of $100 for                       therefor, limited to those specially                   the examples given fall outside the
                                           0A505.x ‘‘parts’’ and ‘‘components,’’ but               designed or modified for                               Commerce definition of ‘‘technology.’’
                                           that firearm parts and components                       ‘‘development’’ or for one or more                        Comment 56: BIS received a number
                                           under 0A501 have an LVS allowance of                    phases of ‘‘production.’’ The definition               of comments on the concept of ‘‘defense
                                           $500. This commenter asserted that its                  of ‘‘production equipment’’ in part 772                services,’’ including concerns about the
                                           members feel this is an inconsistency in                applies only in the Missile Technology                 lack of defense services controls under
                                           the treatment of related commodities.                   Control Regime context, but for                        the EAR, the potential loss of U.S.
                                           The commenter asserted that in recent                   purposes of this comment, the                          Government oversight on many types of
                                           years, costs related to ammunition                      definition of ‘‘production’’ and the                   defense services, and concerns about
                                           components have been increasing, with                   definition of ‘‘production equipment’’                 firearms training being provided to
                                           the largest increases affecting larger                  provides the needed guidance. BIS also                 foreign security forces without U.S.
                                           caliber cartridges. This commenter                      emphasizes that the person using the                   Government approval. There were also
                                           asserted that the ‘‘$100 limit on LVS                   production equipment does not change                   concerns raised about the ability of U.S.
                                           will be quickly met with small amounts                  the classification of the production                   companies to provide a wide range of
                                           of components, making this exception                    equipment. Importantly, domestic use—                  assistance and training to foreign
                                           not as useful as intended.’’ Another                    that is use of production equipment in                 persons without sufficient U.S.
                                           commenter asserted that the ITAR                        the United States—does not implicate                   oversight and a suggestion that the
                                           allows for $500 per shipment, so $100                   export controls.                                       definition of ‘‘technology’’ be expanded
                                           net under EAR would be more                                Comment 53: One commenter                           to capture these defense-service type
                                           restrictive than ITAR exemption.                        requested BIS ensure there were no gaps                activities, such as private security
                                              BIS response: While the ITAR does                    for the production equipment controls                  contractor training of foreign police
                                           not have an exemption for exports of                    on the CCL for USML Category I items                   with firearms. One commenter asserted
                                           ammunition parts and components, BIS                    as well as Category III items.                         that ‘‘the proposed rule could also
                                           agrees, and this final rule raises the LVS                 BIS response: BIS agrees. To ensure                 create an unfortunate scenario where
                                           dollar value from $100 to $500 for ECCN                 there are no gaps in production                        U.S. private security contractors are able
                                           0A505.                                                  equipment for USML Category I, this                    to provide services to foreign security
                                                                                                   final rule expands ECCN 0B501.e to                     units or militias that are otherwise
                                           New ECCN 0A602: Guns and Armament                       include all production equipment                       prohibited from receiving training
                                             Comment 51: One commenter                             ‘‘specially designed’’ for USML Category               through U.S. foreign security aid.’’
                                           suggested revising ECCN 0A606 to                        I items. It also expands ECCN 0B505.a                     BIS response: BIS clarifies that
                                           clearly identify engines for self-                      to include all production equipment                    defense services is specific to the ITAR,
                                           propelled guns and howitzers as                         ‘‘specially designed’’ for USML Category               but the EAR maintains controls related
                                           controlled therein rather than in 0A602.                III items.                                             to exports, reexports, and in-country
                                             BIS response: BIS notes that the                                                                             transfers of commodities, software, and
                                           USML Order of Review and CCL Order                      New ECCN 0B602: Test, Inspection and                   technology in a number of ways. For
                                           of Review would likely already address                  Production Equipment for Certain Guns                  example, a U.S. person is prohibited
                                           this. However, this final rule adds a                   and Armament                                           from engaging in exports, reexports, or
                                           Related Controls paragraph (3) and a                       Comment 54: One commenter                           in-country transfers related to certain
                                           new note to ECCN 0A602.x to clarify the                 requested adding examples of specific                  end uses (as specified in § 744.6) or a
                                           appropriate classification, but it does                 tooling that would be controlled under                 ‘‘knowing’’ violation (as specified in
                                           not add such a note to ECCN 0A606.                      ECCN 0B602, such as a note including                   §§ 764.2(e) and 736.2(b)(10)). In
                                                                                                   ECCN 0B602 boresights and units made                   addition, as part of providing a service,
                                           New ECCN 0B501: Test, Inspection and                                                                           a person must determine whether there
                                                                                                   specifically for testing purposes.
                                           Production Equipment for Firearms                          BIS response: BIS does not agree to                 will be an export, reexport, or in-
                                              Comment 52: One commenter                            this addition. As described above, part                country transfer of any commodities,
                                           requested guidance on what is the                       772 defines ‘‘production’’ and                         software, or technology requiring an
                                           definition of production equipment                      ‘‘production equipment,’’ so these                     EAR authorization. Accordingly,
                                           under ECCN 0B501.e. This commenter                      existing definitions already address this              although the EAR generally does not
                                           asserted that it has ‘‘many hobbyist                    comment.                                               control services directly, the EAR is still
                                           customers who would not qualify as a                                                                           highly effective at protecting U.S. export
                                           gunsmith let alone as a manufacturer                    New ECCN 0E501: Technology for                         control interests implicated by the
                                           and tools and equipment designed for                    Firearms and Certain Related Items                     supply of services in connection with
                                           hobbyists are quite different than                         Comment 55: One commenter                           exports, reexports, or in-country
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                                           manufacturing equipment . . . yet we                    requested BIS clarify how ‘‘technology’’               transfers. The effectiveness comes by
                                           have a concern these tools will be                      is defined for 0E501 and whether                       controlling the technology—e.g.,
                                           included in 0B501.e because even the                    shooting chronographs or empty brass                   ‘‘technology’’ for how to produce a
                                           hobbyist is ‘producing’ a firearms part.’’              cartridge annealing machines are                       firearm. The release of technology is the
                                              BIS response: The term ‘‘production’’                included in the definition of                          key nexus where providing a service
                                           is a defined term in part 772.                          ‘‘technology.’’                                        crosses over into a transaction that is


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                                           subject to the EAR and that merits                      Commerce export licenses as warranted                  EAR99 status of such items is
                                           control. In most cases, the analysis will               if additional conditions may be needed                 maintained.
                                           focus on whether any technology that is                 in furtherance of a direct commercial                     BIS response: BIS agrees with these
                                           subject to the EAR will be released as                  sale as part of U.S. foreign security aid.             requested changes. This final rule
                                           part of providing the service. The                         Comment 57: One commenter                           removes the items controlled under
                                           release of technology moved from                        asserted that because of the narrowness                ECCN 0A018 and adds these
                                           USML Categories I–III will require a                    of the definition of ‘‘required,’’ it                  commodities to 0A505 but retains the
                                           U.S. Government authorization, except                   ‘‘means companies may be able to                       heading of ECCN 0A018 and adds a
                                           for 0E602 technology being exported to                  provide a wide range of training                       cross reference to ECCN 0A505. This
                                           Canada which may be exported No                         activities, design and development                     final rule removes the commodities
                                           Licensed Required (‘‘NLR’’).                            assistance, testing, and production                    controlled under ECCN 0A018, because
                                              For example, providing design and                    assistance on firearms and ammunition                  this final rule controls these
                                           development assistance, testing, and                    to foreign persons without sufficient                  commodities under 0A505.d or .x. As
                                           production assistance on firearms and                   scrutiny and oversight.’’                              conforming changes, this final rule
                                           ammunition to foreign persons would                        BIS response: BIS does not agree. The               removes ECCN 0E018, because 0E505 is
                                           be a release of ‘‘technology’’ subject to               term ‘‘required’’ is an EAR defined term               broad enough to control this technology
                                           the EAR and require an EAR                              and is a well understood concept used                  and revises the heading of ECCN 0A988
                                           authorization, unless the information                   on the control lists of the multilateral               to remove an outdated reference to
                                           being released fully met the criteria in                export control regimes. The EAR has                    ECCN 0A018.d.1. ECCN 0A018.d
                                           part 734 for exclusion from the EAR.                    effectively controlled ‘‘technology’’ for              paragraph is reserved in 0A018, so this
                                           The EAR requirements would apply if                     various other sensitive and sometimes                  reference in 0A988 should have been
                                           the technology was being exported. The                  lethal items using the existing definition             updated in an earlier rule.
                                           EAR requirements would also apply if                    and concept of ‘‘required.’’                              BIS clarifies that the control
                                           the technology was being released in the                                                                       parameters of ECCN 0A505.x in this
                                                                                                      Comment 58: One commenter
                                           United States to a foreign national as a                                                                       final rule are broad enough to control
                                                                                                   asserted that ‘‘in 2016, U.S. registration
                                           deemed export, including technology                                                                            commodities classified in ECCN
                                                                                                   for firearms manufacturing activities
                                           released through training.                                                                                     0A018.b for ‘‘specially designed’’
                                              BIS cautions against assuming that no                was deemed so important that DDTC
                                                                                                   issued specific guidance providing that                components controlled under 0A505.x.
                                           U.S. Government authorization is                                                                               without further revisions. This final rule
                                           required to provide training to foreign                 a broad range of activities (e.g., use of
                                                                                                   any special tooling or equipment                       adds a Note 4 to ECCN 0A505 to address
                                           security forces. Providing military                                                                            the commenters’ request related to the
                                           training of foreign units and forces                    upgrading in order to improve the
                                                                                                   capability of assembled or repaired                    decontrol note in 0A018.
                                           would still be a defense service
                                           regulated by the ITAR. Questions on                     firearms, and rechambering firearms                    Conforming Change to General Order
                                           whether a specific service may be a                     through machining, cutting, or drilling)               No. 5
                                           defense service should be directed to                   constitute ‘‘manufacturing’’ and                          Comment 60: One commenter
                                           the Department of State. For purposes of                required registration.’’ This commenter                requested that licenses already granted
                                           the EAR, as described above, the                        asserted it was concerned because this                 under the ITAR should be grandfathered
                                           question centers on whether any items                   2016 guidance will not apply to                        for all outstanding transactions.
                                           that are subject to the EAR are provided                Category I–III items moving to the CCL.                   BIS response: BIS clarifies here that
                                           as part of that service, and if such items                 BIS response: BIS clarifies that                    this was already addressed with the
                                           are related to firearms, then U.S.                      individuals have been able to lawfully                 revisions proposed in the Commerce
                                           Government authorization will be                        make their own firearms in the United                  May 24 rule for General Order No. 5,
                                           required.                                               States, but not for reselling. ATF                     which adds 0x5zz ECCNs to General
                                              BIS notes that if an item, such as the               licenses domestic manufacturers. The                   Order No. 5 and will be adopted in this
                                           firearms moved to the CCL in this final                 types of gunsmithing services described                final rule. The current General Order
                                           rule, is being exported under the                       by this commenter are not considered                   No. 5 includes grandfathering
                                           Foreign Military Sales (FMS) program,                   ‘‘production’’ under the EAR.                          provisions and allows for applying for
                                           those items are not ‘‘subject to the                    Revision to ECCN 0A018                                 Commerce licenses once a final rule is
                                           EAR’’—meaning the EAR would not                                                                                published, but not yet effective.
                                           apply and for purposes of the AECA                         Comment 59: Some commenters
                                           those items being exported under an                     requested removing ECCN 0A018 and                      Revisions to Regional Stability Licensing
                                           FMS letter of offer and acceptance are                  transferring those commodities to                      Policy for Firearms and Ammunition
                                           defense articles subject to State                       0A505, so all commercial firearms,                        Comment 61: Several commenters
                                           Department controls under 22 U.S.C.                     ammunition, and related items could be                 raised concerns that laws against the
                                           2794(3) for the specific transaction. BIS               in one of the series of new 0x5zz ECCNs                provision of arms where certain human
                                           also notes that for non-FMS U.S. foreign                and not be left behind in legacy xY018                 rights abuses are of concern may not
                                           security aid, the granting U.S.                         entries. The commenter suggested that                  apply to the 0x5zz ECCNs and that the
                                           organization can include provisos as                    once the items in the proposed ECCN                    role of the Bureau of Democracy,
                                           needed as part of the aid agreement that                0A018.b are moved to 0A505, and                        Human Rights, and Labor (DRL) at the
                                           imposes any necessary restrictions the                  controlled in the same manner, then                    Department of State would be
                                           aid granting U.S. agency believes is                    0A018 could be removed. Another                        diminished. One commenter asserted
                                           warranted. In addition, BIS through the                 commenter requested the commodities                    that the Department of State would no
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                                           licensing process can impose conditions                 classified in ECCN 0A018.b for                         longer have a statutory basis for vetoing
                                           as warranted on licenses to ensure                      ‘‘specially designed’’ components                      a proposed sale on human rights
                                           consistency with other requirements as                  should be controlled under 0A505.x.                    grounds for firearms, guns, ammunition,
                                           needed. As noted above, the Department                  The commenter also requested that the                  and related parts that move to the CCL.
                                           of State is a licensing review agency for               decontrol note in ECCNs 0A018.b be                        BIS response: As described above, BIS
                                           Commerce licenses and can advise on                     transferred to 0A505 so that the current               disagrees with the assertion that there


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                                           will be less focus on protecting human                  than 5,000 Joules should be barred from                expectations and practices. Another
                                           rights under the EAR. This final rule                   export to non-government end-users.’’                  commenter asserted that larger film
                                           will control these items for Regional                      BIS response: BIS notes that the NS 1               productions such as war movies, will
                                           Stability and the license review policy                 and FC 1 license requirement included                  oftentimes require well beyond 75
                                           specifies that human rights concerns are                in this final rule for ECCN 0A501.a, as                firearms.
                                           considered as part of the license review                well as ECCN 0A501.b, will ensure U.S.                    BIS response: BIS does not agree with
                                           process. As referenced above, the                       multilateral commitments are met. In                   expanding § 740.9(a)(5) of TMP to allow
                                           Department of State is a license review                 addition, the RS 1 license requirement                 for 100 firearms per shipment or to
                                           agency for Commerce licenses, and the                   and license review policies is revised in              address a particular type of export. The
                                           existing E.O. 12981 and EAR provide                     this final rule to further address the                 exhibition and demonstration
                                           that other license review agencies have                 types of human rights concerns, as well                authorization under paragraph (a)(5) of
                                           30 days for review of Commerce license                  as imposing a presumption of denial                    License Exception TMP is intended to
                                           applications. E.O. 12981 does not                       license review policies for certain types              provide for a sufficient quantity of
                                           specify what parts of those other                       of end users of concern, such as                       firearms, and if an exporter needs a
                                           agencies must review a Commerce                         narcotics traffickers, will ensure U.S.                larger quantity, e.g., 100 or even 1,000
                                           license application, but the Department                 export control interests are protected                 firearms for exhibition or
                                           of State has discretion to ensure that                  and that exports are not approved that                 demonstration, that the exporter may
                                           DRL receives and reviews Commerce                       would otherwise not be consistent with                 apply for a license to authorize the
                                           licenses.                                               the Foreign Assistance Act. As was                     export. BIS maintains the status quo for
                                              This final rule includes a license                   discussed above, the U.S. Government                   how large temporary shipments of
                                           review policy for regional stability to                 agency granting aid to a foreign country               firearms are handled under the ITAR,
                                           indicate license applications will also                 will also have the ability to impose                   which is through a licensing process
                                           take into consideration human rights                    certain provisos as part of that foreign               that allows BIS to include any
                                           concerns, which can be a basis for                      assistance agreement, and all exports                  additional conditions to ensure the
                                           denial. BIS also notes that there is a                  made under the FMS programs are                        export will not be diverted.
                                           presumption of denial policy for license                authorized by the Department of State.                    Comment 64: BIS received comments
                                           applications involving narcotics                        As warranted, there is nothing that will               requesting modifications to License
                                           traffickers, criminal organizations, and                preclude BIS from consulting with other                Exception TMP, including to allow for
                                           terrorists because of their frequent                    agencies of the U.S. Government                        the use of License Exception TMP
                                           involvement in human rights abuses, as                  regarding a particular license                         (§ 740.9) under paragraph (a)(10) to
                                           well as other regional stability concerns.              application.                                           transfer firearms to affiliates, such as a
                                                                                                      BIS agrees that getting regular input               foreign parent or subsidiary; to allow
                                           Crime Control and Detection License                     from the police profession and those                   TMP paragraph (b)(1) to be used to
                                           Review Policy                                           with expertise from the private sector                 authorize temporary import and
                                              The Commerce May 24 rule did not                     will be beneficial but notes that this can             subsequent export of items moving in
                                           propose changes to the crime control                    be accomplished through BIS’s existing                 transit through the United States; and to
                                           and detection license review policy in                  TACs rather than through the creation of               allow for temporary importation for a
                                           part 742, but commenters made                           a new TAC. BIS notes that agency rules                 period of one year. BIS also received a
                                           recommendations in this area that are                   are regularly reviewed by BIS’s EE as                  comment requesting extensions of
                                           described and responded to below.                       well as other agencies with law                        temporary imports imported under
                                              Comment 62: One commenter                            enforcement components.                                paragraph (b)(5) to not be more
                                           recommended that ‘‘in order to bring the                   BIS does not agree that an outright                 restrictive than the ITAR.
                                           proposed regulations into alignment                     prohibition is needed to protect U.S.                     BIS response: BIS does not accept
                                           with provisions of the Foreign                          national security and foreign policy                   these changes. Under this final rule, an
                                           Assistance Act [22 U.S.C. 2304(a)(2),                   interests under the EAR. Imposing such                 exporter may apply for a license to
                                           which makes explicit reference to crime                 a worldwide prohibition would be more                  authorize these same types of exports of
                                           control equipment under the aegis of the                restrictive than how these firearms were               firearms to affiliates. In addition, BIS
                                           (expired) Export Administration Act],                   regulated under the ITAR and would                     notes that License Exception STA is
                                           ECCN 0A501.a should be controlled for                   impose significant burdens on the U.S.                 available for parts and components, e.g.,
                                           crime control.’’                                        firearms industry that may result in                   those that this rule will control under
                                              One commenter requested that BIS                     significant U.S. job losses in the                     ECCN 0A501.x, when the export,
                                           provide the police profession a greater,                firearms and related industries. BIS                   reexport, or transfer (in-country) is to a
                                           better-defined role in the evaluation of                appreciates the time and thought that                  Country Group A:5 country, including
                                           firearm export license applications and                 went into the detailed suggested change,               affiliates. License Exception STA is
                                           possibly form a technical advisory                      but an outright prohibition was not                    more restrictive than paragraph (a)(10)
                                           committee (TAC). Another commenter                      contemplated in the Commerce May 24                    of License Exception TMP, but because
                                           requested that licensing officials should               rule, would arbitrarily single out one                 of the sensitivity of the items involved
                                           consider the effect of proposed exports                 industry for more restrictive control and              it is not appropriate to allow for the
                                           on local communities, public safety,                    is not needed to protect U.S. export                   paragraph (a)(10) authorization to be
                                           peace officer safety, crime control, and                control interests, as those interests can              available. As for firearms transshipped
                                           control of civil disturbances to assure                 be served through the regulatory regime                through the United States, § 740.9 (b)(3),
                                           that the rule of law is not impaired by                 set forth in the EAR.                                  (4), and (5) will be available to authorize
                                           firearm exports.                                                                                               the export and will be sufficient to
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                                              One commenter asserted that highly                   License Exception TMP                                  address concerns about such
                                           destructive weapons should not be                          Comment 63: One commenter                           authorizations.
                                           exported to civilians. This commenter                   requested increasing the number of                        BIS does not accept the suggested
                                           recommended ‘‘a maximum limit on                        items allowed for temporary export                     change to the time limitation in
                                           firepower exported to civilians.                        under § 740.9(a)(5) to 100 per shipment                § 740.9(b)(5) to lengthen it from one year
                                           Firearms with a muzzle energy higher                    to more closely align with commercial                  (as included in the Commerce May 24


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                                           rule) to four years because one year will               exports. As noted above, Commerce                      but could be improved by harmonizing
                                           be sufficient for these types of                        licenses are flexible enough to authorize              CBP procedures for Form 4457 between
                                           temporary end uses in the U.S. For the                  temporary exports that are not otherwise               different CBP offices to ensure the forms
                                           same reason, BIS also does not accept                   eligible for License Exception TMP. The                are being issued consistently. Some
                                           the suggestion to allow for extensions of               importation into the United States after               commenters asserted that they would
                                           temporary imports made under                            temporary export will not require a                    support a simplified system that would
                                           paragraph (b)(5) as suggested by one                    separate EAR authorization. BIS agrees                 be based on U.S. passports, possibly
                                           commenter.                                              providing guidance for the import of                   linked to an electronic version of the
                                              Comment 65: One commenter noted                      items temporarily exported will be                     CBP Form 4457.
                                           that the proposed additions to § 740.9                  helpful and clarifies that the import of                  BIS response: BIS was aware of these
                                           included an instruction directing                       items temporarily exported does not                    types of concerns, including the recent
                                           temporary importers and exporters to                    require an EAR authorization for import.               history of this issue under the ITAR.
                                           contact CBP at the port of temporary                                                                           The Commerce May 24 rule stated that
                                           import or export, or at the CBP website,                License Exception GOV                                  whether and how BIS includes this
                                           for the proper procedures to provide any                  Comment 68: One commenter                            requirement in a final rule would be
                                           data or documentation required by BIS.                  asserted that the phrase ‘‘or other                    based on whether CBP is able to update
                                           The commenter suggested that BIS and                    sensitive end-users’’ is unclear and                   its processes, and other agencies as
                                           CBP coordinate to create standardized                   recommended deleting the phrase or                     needed, to allow for individuals to
                                           instructions for all ports that can be                  enumerating the specific types of                      easily file EEI in AES by the time a final
                                           made available online, so that each                     ineligible entities.                                   rule is published. The Commerce May
                                           shipment does not have to be specially                    BIS response: BIS includes a                         24 rule also noted that if CBP is not able
                                           coordinated.                                            parenthetical phrase in the final rule                 to do so, then the final rule may direct
                                              BIS response: BIS agrees and will take               under the new Note 2 to paragraph                      exporters to continue to use CBP’s
                                           steps, in coordination with CBP, to                     (b)(2) to include illustrative examples of             existing process, which is the use of the
                                           create standardized instructions for all                other sensitive end-users. This final rule             CBP Form 4457, until a workable
                                           ports that can be posted online prior to                adds the parenthetical phrase ‘‘(e.g.,                 solution is developed or CBP suggests
                                           the effective date of this final rule.                  contractors or other governmental                      an alternative simplified solution for
                                              Comment 66: One trade association                    parties performing functions on behalf                 gathering such information for
                                           commenter asserted that ‘‘new                           of military, police, or intelligence                   temporary exports of personally-owned
                                           paragraph (b)(5) in License Exception                   entities)’’ after the phrase ‘‘or other                firearms and ammunition.
                                           TMP and the related provisions in                       sensitive end-users’’ to provide greater                  At this time, BIS notes that CBP and
                                           § 758.10 that detail the process for                    clarity on the other end-users that are                the U.S. Census Bureau have not made
                                           temporary import and subsequent                         excluded.                                              changes to the AES system on the
                                           export of these items is fair and                                                                              Automated Commercial Environment
                                                                                                   License Exception BAG
                                           reasonable.’’ This commenter asserted                                                                          (ACE) that would address the concerns
                                           ‘‘it is common practice to cite the                        Comment 69: Several commenters                      expressed. Therefore, taking that into
                                           regulatory exception for the temporarily                expressed opposition to the requirement                account and the comments received on
                                           imported commodities at the time of                     for individuals to have to file in AES for             the Commerce May 24 rule, this final
                                           import, then reference the import                       personally owned firearms and                          rule does not adopt the requirement for
                                           documents at time of return export of                   ammunition exported under License                      individuals exporting their personally
                                           the goods’’ and does not believe the                    Exception BAG, that was included in                    owned firearms and ammunition under
                                           process in the Commerce May 24 rule                     the Commerce May 24 rule. The                          License Exception BAG to file in AES.
                                           will cause any additional burden to                     commenters expressed concerns that                     Instead, this final rule incorporates the
                                           exporters.                                              requiring individuals to file in AES is                requirement for individuals to file the
                                              BIS response: BIS agrees and adopts                  problematic and unduly burdensome;                     CBP Form 4457. BIS notes that if CBP
                                           these provisions in this final rule as                  that there is not a genuine need for this              and the U.S. Census Bureau later adopt
                                           proposed.                                               information and would violate the spirit               changes that would address the
                                              Comment 67: One commenter                            of congressional prohibitions against                  underlying issues, or if CBP adopts
                                           requests License Exception TMP be                       Federal firearm registries; and that                   changes to the process for submitting
                                           expanded beyond paragraphs (a)(5) and                   Department of State and CBP already                    the CBP Form 4457, then BIS would
                                           (6) to also allow for use in film                       tried requiring AES filing for                         make conforming changes to the EAR.
                                           production for subsequent permanent                     individuals under the ITAR and it was                     Comment 70: BIS also received
                                           return to the United States.                            not workable. Commenters identified a                  comments expressing concern over the
                                           Alternatively, one commenter requests                   number of issues with the AES filing                   availability of License Exception BAG
                                           that BIS should consider a procedure or                 system for individuals, including the                  for firearms. One commenter requested
                                           license, similar to a DSP–73, to allow for              cost to create accounts, the                           that the provision authorizing license-
                                           the temporary export and re-importation                 compatibility of the hardware and                      free exports of semi-automatic rifles by
                                           of firearms. Another commenter                          software, concerns that IRS and Census                 citizens and legal permanent residents
                                           asserted that BIS should provide                        requirements are in conflict, and the                  should be removed, because a sufficient
                                           additional guidance on the return of                    mismatch of required information for                   justification was not provided in the
                                           temporary exports under the new                         individuals with the fields that are                   Commerce May 24 rule. Another
                                           paragraph (b)(5) under License                          currently in AES that are oriented to                  commenter asserted that if a firearm is
                                           Exception TMP.                                          commercial exports.                                    stolen or lost that is exported under
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                                              BIS response: BIS confirms that                         For these reasons described above,                  License Exception BAG, there will be
                                           License Exception TMP under                             several commenters requested use of                    little that can be done to recover the
                                           paragraphs (a)(5) and (6) will not be                   CBP Form 4457 as the permanent                         weapon. The commenter also asserted it
                                           available in that type of a fact pattern,               solution. Some commenters asserted                     will be easier for smugglers to take
                                           but a Commerce license could be                         that CBP Form 4457 serves an important                 advantage of License Exception BAG to
                                           applied for to authorize these types of                 purpose for some foreign governments,                  facilitate trafficking. One commenter


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                                           expressed concern that foreigners                       ammunition controlled under Category                   commenter and provide greater
                                           temporarily in U.S. will abuse License                  I(a) of the USML (both non-automatic                   flexibility for industry, BIS clarifies that
                                           Exception BAG. One commenter                            and semi-automatic) that they lawfully                 for the reporting required in this final
                                           asserted that the May 24 rule would not                 brought into the United States. The                    rule can be accomplished in one of two
                                           stop non-resident aliens leaving the                    export of ‘‘accessories,’’ ‘‘attachments,’’            ways. First, the exporter can follow the
                                           United States via commercial airlines                   ‘‘components,’’ and ‘‘parts’’ is not                   process outlined in part 743 by sending
                                           from taking firearms ‘‘accessories,’’                   eligible for License Exception BAG and                 in reports to BIS with the required
                                           ‘‘attachments,’’ ‘‘components,’’ ‘‘parts,’’             would require a separate U.S.                          information. However, because of the
                                           and ammunition with them.                               Government authorization.                              EEI filing requirements in
                                              BIS response: BIS acknowledges these                    Comment 71: One commenter noted                     § 758.1(g)(4)(ii) for the firearms that
                                           concerns but disagrees that additional                  that § 740.14(c)(1) ‘‘Limits on                        require conventional arms reporting, all
                                           changes to this final rule are warranted.               eligibility’’ currently states that the                conventional arms reporting
                                           The availability of License Exception                   items must be ‘‘owned by’’ the                         requirements for firearms should be able
                                           BAG will be made to be consistent with                  individuals rather than ITAR                           to be met by using the alternative
                                           22 CFR 123.17(c), which authorizes U.S.                 § 123.17(c)(3)’s focus on the person’s                 submission method described below in
                                           persons to take up to three non-                        ‘‘exclusive use’’ and recommended                      the regulatory changes. Under the
                                           automatic firearms and up to 1,000                      conforming the EAR with the ITAR’s                     alternative method, the U.S.
                                           cartridges therefor abroad for personal                 scope.                                                 Government will rely on the EEI record
                                                                                                      BIS response: BIS does not agree. The               in AES for firearms classified under
                                           use. As far as the potential for items to
                                                                                                   requirements in § 740.14(c)(1) apply to                0A501.a and 0A501.b, by the exporter
                                           be lost or stolen, License Exception BAG
                                                                                                   all items that subject to the EAR that are             being required to always include as the
                                           requires the exporter to maintain control               eligible, so these requirements are
                                           of their personal belongings and to                                                                            first text in the Commodity Description
                                                                                                   intended to be broader than the                        field in AES the first six characters of
                                           return with those items unless                          exclusive use limitation in paragraph (e)
                                           destroyed overseas and the                                                                                     the ECCN number, i.e., ‘‘0A501.a’’ or
                                                                                                   (Special provisions for firearms and                   ‘‘0A501.b.’’
                                           requirements are more straightforward                   ammunition).
                                           than a commercial transaction in which                                                                            Comment 73: One commenter raised
                                           there are multiple parties. BIS notes that              Reporting Requirements                                 questions whether the requirements of
                                           related to loss or theft the concern                      Comment 72: BIS received a number                    the Paperwork Reduction Act (PRA)
                                           applies equally if a firearm was                        of comments related to reporting                       were met for imposing a new
                                           exported under a Commerce license.                      requirements. One commenter asserted                   requirement and whether this
                                           Further, the U.S. Government maintains                  that it appears that requiring                         information would be needed by BIS.
                                           oversight through the requirement in                    conventional arms reporting for firearms                  BIS response: BIS had created this
                                           this final rule for the CBP Form 4457 to                to be controlled under ECCN 0A501.a                    reporting requirement in the April 16,
                                           be filed, along with the export                         and .b would add welcomed specificity                  2013, initial implementation rule,
                                           requirements to present the firearm to                  to reports required by the United                      including providing estimates for the
                                           CBP prior to export under License                       Nations and the Wassenaar                              anticipated burden at that time in
                                           Exception BAG. In addition, this final                  Arrangement while another commenter                    anticipation of the full completion of
                                           rule requires the serial number, make,                  was concerned that firearms are being                  the USML to CCL review process and
                                           model, and caliber of the firearm to be                 singled out for conventional arms                      these end item firearms being moved to
                                           included on the CBP Form 4457. When                     reporting. One commenter asserted that                 the CCL. BIS makes this clearer in this
                                           the U.S. citizen or permanent resident                  exporters should not have to submit                    final rule, as well as describing the
                                           alien returns, the U.S. Government                      reports under the conventional arms                    alternative method that will eliminate
                                           expects and requires that the same                      reporting for the Wassenaar                            the need for any type of additional
                                           firearm to be returned as included on                   Arrangement and the United Nations                     reporting and instead use the data that
                                           the CBP Form 4457. Failure to comply                    because BIS already has ways to obtain                 will be reported in the EEI filing in AES.
                                           with these requirements could subject a                 this information from other U.S.                          Comment 74: One commenter
                                           U.S. citizen or permanent resident alien                Government sources.                                    asserted that BIS reporting provides
                                           to administrative and/or criminal                         BIS response: BIS agrees that the                    even less data than the Department of
                                           penalties depending on the specifics of                 conventional arms reporting                            State 665 report and requested that BIS
                                           the potential violation. BIS notes that                 requirements will improve transparency                 improve its reporting.
                                           License Exception BAG for non-resident                  and meet U.S. Government multilateral                     BIS response: In the past, BIS has
                                           aliens will be limited to allowing                      commitments to the Wassenaar                           provided similar data that is included in
                                           nonresident aliens leaving the United                   Arrangement and the United Nations.                    the Department of State 655 report in
                                           States to take firearms, and ammunition                 BIS notes that other USML Categories                   the BIS annual foreign policy report and
                                           controlled by ECCN 0A501 or 0A505                       that were revised that moved items to                  in reports on the BIS website detailing
                                           that they lawfully brought into the                     the CCL under ‘‘600 series’’ and 9x515                 exports by country and largest quantity
                                           United States, under the provisions of                  ECCNs were not identified under the                    of ECCNs being exported to the
                                           Department of Justice regulations at 27                 Wassenaar Arrangement or United                        respective countries. Going forward
                                           CFR part 478. This is an important                      Nations List for requiring reporting for               under ECRA, BIS will be required to
                                           safeguard to ensure that the items being                conventional arms. Some of the USML                    submit an annual report to Congress that
                                           exported under License Exception BAG                    Category I items being moved to the CCL                will include the information specified
                                           are limited to those that were lawfully                 are identified under the Wassenaar                     in Section 1765 of ECRA, including
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                                           brought into the U.S. The availability of               Arrangement or United Nations List for                 implementation of end-use monitoring
                                           License Exception BAG for these non-                    requiring conventional arms reporting                  of military items on the EAR. BIS notes
                                           resident aliens will also be consistent                 and thus were included to meet U.S.                    because this final rule will require EEI
                                           with 22 CFR 123.17(d), which                            Government commitments.                                filing in AES for the firearms moved to
                                           authorizes foreign persons leaving the                    To ease reporting requirements on                    the CCL and CBP Form 4457 for License
                                           United States to take firearms and                      exporters as suggested by one                          Exception BAG, BIS will have data


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                                           available on exports of firearms moved                  information unless the records are                        Comment 76: Two commenters
                                           from USML Category I to the CCL.                        required to be kept under the EAR. If                  asserted that the only place where the
                                                                                                   different regulations require the same                 reporting requirement of serial numbers,
                                           Serial Numbers, Make, Model, and
                                                                                                   information, then there should be no                   make, model, and caliber may be
                                           Caliber in AES (§ 758.1(g)(4))
                                                                                                   additional burden on exporters or other                warranted was for License Exception
                                              Comment 75: Several commenters                       relevant parties for maintaining this                  TMP. One of these commenters noted
                                           asserted they were opposed to the                       information to meet their various                      that ‘‘such a requirement of mandatory
                                           expanded data elements (i.e., serial                    regulatory requirements. Typically, the                serial number reporting in AES might
                                           numbers, make, model, and caliber)                      EAR is flexible in how specific records                make sense only for temporary exports
                                           required as part of the EEI filing to AES               are maintained since it regulates a                    and imports under TMP in particular, to
                                           for firearms that would be transferred                  variety of industries with different                   allow re-import procedures to be
                                           from the USML to the CCL, suggesting                    norms.                                                 followed and verified.’’ However, the
                                           that the expanded data elements would                      For items that are exported under a                 requirements proposed in new
                                           exacerbate the problems for private                     U.S. Government authorization for                      §§ 758.10(b)(1)(ii) and 740.9(b)(5)(iv)(B)
                                           travelers forced to use the system and                  temporary export, it is still warranted to             already cover this by requiring serial
                                           violate the spirit of congressional                     require that information to be filed as                numbers as part of a complete list to be
                                           prohibitions against Federal firearm                    EEI in AES. This final rule adopts a                   submitted to CBP at the time of import
                                           registries. BIS also received comments                  revised requirement in § 758.1(g)(4) to                and/or export.
                                           asserting that filing in AES poses an                   limit it to temporary exports from the                    BIS response: BIS clarifies that the
                                           undue burden on exporters to file                       United States or when the license or                   reference in License Exception TMP in
                                           information that is otherwise available                 other approval contains a condition                    new §§ 758.10(b)(1)(ii) and
                                           to U.S. Government, such as through the                 requiring all or some of this information              740.9(b)(5)(iv)(B) are for information to
                                           Gun Control Act and ATF regulations,                    to be filed as EEI in AES. This final rule             be provided at the time of temporary
                                           and that it may violate the PRA because                 clarifies that a temporary export for                  import and export of firearms
                                           the burden is redundant. Another                        purposes of § 758.1(g)(4) is any export                temporarily in the United States. The
                                           commenter asserted that because of AES                  whereby the EAR authorization requires                 proposed requirements in
                                           character limitations it may be difficult               subsequent return to the United States                 § 758.10(b)(1)(ii) in the phrase ‘‘or other
                                           or impossible to include the serial                     (e.g., License Exception TMP or a                      appropriate import documentation (or
                                           number, make, model, and caliber                        license authorizing a temporary export).               electronic equivalents)’’ and the
                                           information. In addition, one                           BIS notes that this revised approach                   reference to ‘‘or electronic equivalents’’
                                           commenter asserted that the                             scales back the reporting requirement                  was referring to the possibility that such
                                           manufacturer, model number, and                         significantly, focuses it on exports of the            information could be provided to CBP
                                           caliber does not assist law enforcement                 primary concern for ensuring the U.S.                  in person or electronically by using the
                                           verify the export because the Foreign                   Government can confirm what was                        ACE portal at the time of temporary
                                           Trade Regulations (FTR) and EAR                         temporarily exported is what will be                   import and subsequent export, so BIS
                                           already require that the item description               returned, and importantly still retains                does not see an inconsistency with the
                                           entered in the EEI filing in AES conform                the ability of BIS to impose this                      proposed requirement and therefore will
                                           to that shown on the license. One                       condition when warranted on a case-by-                 include the requirement in this final
                                           commenter asserted it generally                         case for any particular license where                  rule as originally proposed. BIS agrees
                                           supports strong oversight measures for                  BIS and the other license review                       with the commenter’s assertion that for
                                           arms transfers and from that                            agencies believe requiring the filing of               firearms temporarily exported under
                                           perspective, it welcomes detailed digital               this information as EEI in AES is                      License Exception TMP under
                                           record-keeping requirements. Another                    warranted. BIS is aware that the                       paragraph (a)(6), there is a possibility
                                           commenter recommended using the                         Department of State sometimes includes                 that in certain cases the returned firearm
                                           term ‘‘model’’ or ‘‘model designation’’                 such a requirement as a proviso on some                may not be the same. This final rule
                                           rather than ‘‘model number,’’ consistent                of its licenses or approvals for firearms,             includes a Note 3 to paragraph (g)(4) in
                                           with ATF regulations.                                   so the requirement that is included in                 § 758.1 to provide guidance on that
                                              BIS response: BIS has included filing                this final rule that retains the ability of            issue.
                                           requirements only when necessary to                     BIS to impose such a condition on
                                           ensure that export control concerns will                                                                       Entry Clearance Requirements for
                                                                                                   Commerce licenses is consistent with
                                           be protected, including export                                                                                 Temporary Imports
                                                                                                   licensing practices under the ITAR.
                                           enforcement and transparency concerns.                     BIS has confirmed with CBP and the                     Comment 77: BIS received comments
                                           As noted above, BIS in this final rule                  U.S. Census Bureau that AES on the                     asserting that foreign visitors exporting
                                           addresses the concerns about exports                    ACE platform can accommodate EEI                       personal firearms after temporary
                                           under License Exception BAG by not                      filers to submit the serial number, make,              import should not have to file in AES
                                           requiring an EEI filing in AES for such                 model, and caliber information. Under                  for many of the same reasons why filing
                                           exports, though CBP Form 4457 will                      the current ITAR licensing practices,                  in AES for exports authorized under
                                           require information on the serial                       sometimes provisos are included on a                   License Exception BAG is not
                                           numbers, make, model, and caliber for                   State license or other approval that                   appropriate. Another commenter
                                           the firearms being exported. This much                  requires this information to be entered                asserted that such AES declaration
                                           more focused requirement will also be                   as EEI in AES, and BIS is not aware of                 requirement would discourage foreign
                                           responsive to assertions that the                       the current system not permitting the                  participants from coming to the U.S. for
                                           information proposed to be collected                    proper filing of this information as EEI               hunting and competitive shooting.
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                                           was an undue paperwork burden on                        in AES.                                                   BIS response: BIS does not agree with
                                           exporters.                                                 BIS generally supports strong                       these assertions. As noted above, one of
                                              While other Federal regulations may                  oversight. It also accepts the                         the permissible identifiers in filing in
                                           require similar information, BIS would                  recommendation to adopt the term                       AES is a foreign passport, so the most
                                           not have the legal authority to subpoena                ‘‘model’’ instead of the proposed                      substantive concern for individuals
                                           or otherwise request the same                           ‘‘model number.’’                                      filing in AES does not apply for these


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                                           filings. In addition, those using License               be done in accordance with License                     Relationship Between EAR and ATF
                                           Exception TMP will generally be                         Exception BAG, or some other U.S.                      Regulations
                                           companies, so the concerns expressed                    Government authorization if License                       Comment 83: One commenter
                                           about AES being more oriented to                        Exception BAG was not available.                       requested the ATF Ruling 2004–2 be
                                           companies compared to individuals also                     Comment 81: One commenter                           amended to account for this USML to
                                           does not apply. For these reasons, BIS                  asserted that the new § 758.10 ‘‘Entry                 CCL transition, in order to not be more
                                           in this final rule publishes the changes                clearance requirements for temporary                   restrictive under the EAR compared to
                                           as proposed. In addition, as noted                      imports’’ appears to apply to all                      the ITAR. The commenter asserted that
                                           above, each country, including the                      temporary imports at the time of                       the ITAR draws a clear distinction
                                           United States, imposes requirements                     temporary import. This commenter                       between permanent and temporary
                                           that it believes are warranted to regulate              asserted that as the requirements of                   import jurisdiction in 22 CFR 120.18,
                                           the importation and use of firearms in                  § 758.10 should not apply to                           although certain items regulated under
                                           its country. U.S. hunters and                           nonresident aliens temporarily                         the Gun Control Act or National
                                           competitive shooters that travel overseas               importing firearms under the separate                  Firearms Act, if authorized for import
                                           and foreign hunters and competitive                     provisions of the ATF, and                             under those laws, continue to require
                                           shooters who come to the United States                  recommended clarifying this in the final               transactional import approval from ATF
                                           understand that firearms are regulated.                 rule.
                                              Comment 78: One commenter                                                                                   for temporary imports unless ATF
                                                                                                      BIS response: BIS agrees. This final                Ruling 2004–2 (April 7, 2004) permits
                                           asserted that the ATF Form 6NIA can                     rule clarifies that the requirements of
                                           confirm that the individual is returning                                                                       the DSP–61 or ITAR exemption to
                                                                                                   § 758.10 do not apply to temporary                     substitute for this approval.
                                           with the same firearm that was brought                  imports for nonimmigrant aliens under
                                           to the U.S., so there is no need to                                                                               BIS response: The changes included
                                                                                                   the provisions of the Gun Control Act of               in the Commerce May 24 rule under
                                           require EEI filing in AES.                              1968 and administered in part with the
                                              BIS response: BIS does not accept this                                                                      §§ 740.9 and 758.10 were intended to
                                                                                                   ATF Form 6NIA.                                         address issues related to temporary
                                           change. To properly administer and
                                                                                                      Comment 82: One commenter was                       importation under the EAR. As noted
                                           enforce export controls, BIS must have
                                                                                                   concerned that the new § 758.10 ‘‘Entry                above, this final rule adds License
                                           access to basic information about an
                                           item and cannot solely rely on                          clearance requirements for temporary                   Exception RPL and BIS licenses to
                                           information collected by another                        imports’’ does not address the potential               § 758.10 to further address issues related
                                           agency, though this information, as                     use of License Exception RPL.                          to temporary imports under the EAR.
                                           appropriate, could supplement                           Specifically, proposed § 758.10(b)(1)(i)               Other agencies will review, and if
                                           information collected by BIS.                           requires a statement to CBP certifying                 necessary, address, any effects of these
                                              Comment 79: One commenter                            ‘‘. . . This shipment will be exported in              final rules.
                                           asserted that the ITAR does not have the                accordance with and under the                             Comment 84: One commenter
                                           same type of EEI filing in AES                          authority of License Exception TMP,’’                  recommended coordinating proposed
                                           requirement, so including this under the                which would be a false certification if                changes with ATF so that the
                                           EAR would be more restrictive.                          RPL were being used.                                   corresponding changes are made to the
                                              BIS response: BIS clarifies here that                   BIS response: BIS agrees and accepts                USMIL at the same time, which would
                                           under the ITAR, the Department of State                 adding License Exception RPL as a valid                prevent businesses from having to
                                           is licensing the temporary import and                   purpose for a temporary import under                   consult both the USML and USMIL
                                           export, which required much of the                      § 758.10. For the same reason, this final              when deciding whether a transaction
                                           same information requirements. The                      rule adds BIS licenses as a valid                      involves brokering.
                                           Commerce May 24 rule did not change                     purpose for a temporary import under                      BIS response: The USML and the
                                           the basic construct for how the EAR                     § 758.10. In addition, this final rule                 USMIL are separate lists of AECA
                                           regulates imports, but BIS needed a                     clarifies that a temporary import for                  defense articles with both shared as well
                                           means to track firearms temporarily                     repair or servicing in the United States               as different AECA objectives, and as
                                           entering the U.S. for subsequent export.                does not require an EAR authorization,                 such warrant the retention as separate
                                              Comment 80: One commenter                            but the subsequent export must be                      lists.
                                           requested text be added to § 758.10(a)(2)               authorized either as eligible for License                 Comment 85: One commenter was
                                           to exempt from the entry clearance                      Exception RPL or authorized under a                    concerned that removing license
                                           requirements temporary imports by                       BIS license at the time of entry. For                  requirements for temporary imports of
                                           nonresident aliens who temporarily                      example, a BIS license would be                        the items removed from the USML
                                           import firearms under the provisions of                 required at the time of entry if the repair            would create another channel for
                                           27 CFR 478.115(d).                                      or servicing of a temporarily imported                 criminal elements to obtain weapons in
                                              BIS response: BIS clarifies here the                 firearm would result in enhanced                       the U.S.
                                           purpose of § 758.10. Because a                          capability of the item because License                    BIS response: BIS disagrees.
                                           nonresident alien, e.g., a foreign hunter,              Exception RPL is not available for such                Temporary imports will be addressed by
                                           will need an approved Form 6NIA (ATF                    enhancements. Instead, under this final                BIS, and the same type of U.S.
                                           Form 5330.3D Application/Permit for                     rule, the exporter could obtain a BIS                  Government authorization requirement
                                           Temporary Importation of Firearms and                   license to authorize such an export that               will apply for exports of items
                                           Ammunition by Nonimmigrant Aliens)                      was brought into the United States as a                temporarily imported as other exports
                                           from ATF prior to bringing the USMIL                    temporary import. Section 758.10(a)(1)                 under the EAR.
                                           firearm or ammunition into the U.S., the                addresses these types of imports for                      Comment 86: One commenter was
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                                           ATF controls will account for the                       repair and servicing. For additional                   concerned that the Commerce May 24
                                           temporary import. Therefore, License                    information, please see section Entry                  rule did not provide a mechanism, such
                                           Exception BAG does not need to be                       clearance requirements for temporary                   as a DSP–73, for certain firearms to be
                                           referenced in § 758.10. The subsequent                  imports (§ 758.10) below that details the              temporarily exported and subsequently
                                           export out of the U.S. will require an                  requirements for use of these                          returned to the U.S., given the firearm
                                           EAR authorization and would need to                     authorizations.                                        importation prohibitions under 18


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                                           U.S.C. 922(l) and 925(d)(3). This                       proposed changes but requested that the                   BIS response: BIS does not agree. The
                                           commenter asserted that unlike many                     subject of temporary export of firearms,               EAR does not require records to be
                                           other items that have transitioned from                 specifically vintage shotguns with barrel              destroyed after five years, just that the
                                           the USML to the CCL, firearms are                       lengths over 18 to Canada, be clearly                  records be kept for at least that long.
                                           subject to unique restrictions on the                   addressed.                                             Nothing in the EAR prohibits
                                           permanent import side under the                            BIS response: BIS notes that the long               maintaining the records for longer
                                           jurisdiction of the ATF. This commenter                 barrel shotguns this final rule will move              periods.
                                           asserted that the Department of State’s                 from ECCN 0A984 to 0A502 may require                      Comment 91: One commenter
                                           jurisdiction over temporary exports and                 a U.S. Government authorization                        asserted that the recordkeeping
                                           temporary imports has played an                         depending on the specifics of the                      requirement for warranty certificates for
                                           important role by providing companies                   export, in particular the destination for              people outside the U.S. would be more
                                           with a viable method of bringing their                  the export. Regardless of the EAR                      restrictive than the ITAR. The
                                           guns back into the U.S. without running                 authorization used to authorize the                    commenter asserted that BIS has not
                                           afoul of ATF’s strict importation                       export, a separate EAR authorization                   provided a coherent explanation for
                                           prohibitions and similar treatment                      will not be required for the subsequent                why the new recordkeeping burden
                                           should be retained under the EAR.                       import into the United States.                         makes sense, is related to exports, or
                                              BIS response: BIS clarifies that BIS                    Comment 89: One commenter                           would be of benefit to the enforcement
                                           will require a U.S. Government                          asserted that ATF 27 CFR 478.92                        of the export control laws.
                                           authorization for temporary exports.                                                                              BIS response: BIS does not agree with
                                                                                                   includes a requirement to mark firearms
                                           The EAR authorizations most likely to                                                                          the requested change to remove the
                                                                                                   being imported with the importer’s
                                           be used to authorize temporary exports                                                                         warranty certificate requirement as a
                                                                                                   name and address. This commenter was
                                           include License Exceptions BAG and                                                                             recordkeeping requirement. As noted
                                                                                                   concerned that this destroys the
                                           TMP, as well as Commerce licenses.                                                                             above by many commenters, BIS has an
                                                                                                   originality and affects the value of the
                                           Therefore, BIS does have similar                                                                               interest in ensuring the firearms and
                                                                                                   firearm that was temporarily exported.
                                           authorization requirements and                                                                                 related items on the CCL are used by the
                                                                                                   This commenter asserts because these                   intended end user for the intended end
                                           approval mechanisms as under the
                                                                                                   long barreled shotguns fall under the                  use, and BIS needs any information that
                                           ITAR. BIS notes that the import back
                                                                                                   EAR, the ATF will not clarify the                      may be relevant to the ultimate
                                           into the U.S. will not require an EAR
                                                                                                   requirement on shotguns and it creates                 disposition of those firearms to
                                           authorization.
                                              Comment 87: One commenter                            confusion. This commenter requests the                 safeguard U.S. national security. The
                                           asserted that a DSP–73 license is vital                 final rule to clarify this issue regarding             recordkeeping requirements for the
                                           because it covers both the U.S. export                  markings for shotguns being moved                      warranty certificates included in the
                                           and U.S. import requirements and the                    from ECCN 0A984 to ECCN 0A502, as                      Commerce May 24 rule and in this final
                                           commenter is concerned without adding                   well as for the other firearms being                   rule will be an additional safeguard for
                                           a similar type of authorization under the               moved from the USML to the CCL.                        EE to have further insights into where
                                           EAR that certain temporary exports for                     BIS response: BIS clarifies here that               a firearm exported under a U.S.
                                           use in filming will not be possible                     the EAR does not require any types of                  Government authorization may have
                                           because the return of the exported                      physical markings to be made on a                      ultimately ended up after export. A
                                           firearms would be subject to ATF’s                      firearm or any other commodity being                   warranty certificate that is submitted by
                                           permanent import process which                          temporarily exported for repair or                     a person located outside the United
                                           restricts many types of firearms                        servicing for return to the United States.             States to a U.S. exporter is relevant to
                                           pursuant to Federal law, e.g., short                    For a licensed transaction in an                       the U.S. Government for export control
                                           barreled shotguns. This commenter                       exceptional case, a condition could                    enforcement purposes. The ITAR and
                                           asserted that because most firearms                     potentially be placed on a Commerce                    EAR control structures are not the same,
                                           temporarily exported for the movie                      license that required the exporter to                  so in certain cases a restriction may be
                                           industry are either military surplus,                   make some type of physical marking on                  more restrictive under the EAR
                                           non-sporting, or National Firearms Act                  the commodity, but this would be                       compared to the ITAR and this is an
                                           weapons, of which importation is                        extremely rare under BIS licensing. If                 example of where the EAR will be more
                                           prohibited under the ATF regulations,                   additional safeguards were needed, BIS                 restrictive, but it is still warranted in the
                                           that this is an importation issue to be                 licenses would typically require                       context of the EAR.
                                           addressed to ensure these types of                      additional documentation to confirm                       Comment 92: One commenter
                                           temporary exports can still proceed                     delivery verification or to require the                asserted that warranties are issued by
                                           under the EAR and ATF construct,                        exporter to get other written                          the manufacturer, not the exporter and
                                           similar to the ITAR and ATF construct.                  affirmations from the other parties to the             that many manufacturers do not always
                                              BIS response: A Commerce license to                  transaction.                                           issue specific ‘‘warranty certificates’’ to
                                           authorize a temporary export would                                                                             individuals. This commenter asserted
                                                                                                   EAR Recordkeeping Requirements
                                           authorize the temporary export and                                                                             that most manufacturers provide
                                           require the item’s return. A separate                      Comment 90: One commenter                           warranty statements in a broad
                                           EAR authorization is not required for                   asserted that the GCA requires all                     boilerplate statement included in an
                                           the import back into the United States                  Federal Firearm Licensees to maintain                  instruction manual, or on their website.
                                           after the temporary export since this                   firearm records for 20 years after the                 This commenter also asserted that there
                                           would be covered under the scope of the                 date of disposition and that the                       is thus no way to know when that
                                           authorizing export license.                             proposed change requiring records                      information is accessed by a foreign
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                                              Comment 88: One commenter                            under the EAR is redundant and may                     person or sent to an address outside the
                                           requested clarification for permanent                   cause confusion because of the different               U.S. One commenter asserted that a
                                           import after temporary export for repair                record retention periods. This                         potential issue is with the
                                           or servicing under License Exception                    commenter asserted in complying with                   recordkeeping requirement of warranty
                                           TMP under paragraph (a)(6). This                        the EAR, companies may inadvertently                   certificates is that an exporter may not
                                           commenter asserted it agreed with the                   violate the GCA.                                       have a manufacturer’s (or any other)


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                                           warranty certificate as part of the                     requirement for the Firearms                           NS reasons on the CCL on the effective
                                           transaction. This commenter requested                   Convention (FC)—meaning that the end                   date of this final rule, and for certain
                                           some clarification on the requirements.                 item firearms are subject to an even                   comments the ITAR retains control of
                                              BIS response: BIS clarifies here that                more restrictive license requirement                   the items that the commenter thought
                                           the EAR recordkeeping requirements                      under the EAR compared to the ‘‘600                    would not be adequately controlled
                                           generally do not impose an affirmative                  series,’’ 9x515 items, and other items                 under the USML. For the alignment
                                           duty to create a record. The                            controlled for NS reasons on the CCL. In               with the WAML comments where the
                                           recordkeeping requirements typically                    addition, the final rule also includes                 commenter has raised an issue that BIS
                                           apply if in the normal course of your                   other provisions, such as requiring                    believes warranted a change to ensure
                                           business activities related to an export,               conventional arms reporting, that                      the changes in the final rule align with
                                           reexport, or transfer (in-country) a                    reflects U.S. Government commitments                   the WAML, those suggested changes,
                                           record is created or received that is                   to the Wassenaar Arrangement and to                    e.g., the revisions described above to
                                           within the scope of records that must be                the United Nations. Thus, the changes                  ECCN 0A018 and 0A505, are described
                                           retained for purposes of the EAR                        are consistent with the U.S.                           above in greater detail, along with the
                                           recordkeeping requirements.                             Government’s commitments to the                        BIS responses.
                                              BIS confirms here that if the                        Wassenaar Arrangement.
                                           manufacturer is not the exporter, it is                    Comment 95: One commenter                           Delayed Effective Date for a Final Rule
                                           not required to keep the warranty                       asserted semi-automatic weapons used                      Comment 97: BIS received a number
                                           certificate for purposes of part 762.                   by peacekeepers, military, and police                  of recommendations on the appropriate
                                           Section 762.1(b) (Persons subject to the                are intended to be controlled as                       length for the delayed effective date for
                                           part) identifies the persons that are                   munitions. The proposal to move semi-                  the final rule, ranging from 90 to 180
                                           required to keep records for purposes of                automatic firearms and large caliber                   days for delayed effective dates. The
                                           part 762 of the EAR.                                    rifles to ECCN 0A501 on the CCL does                   rationale for the shorter length was to
                                              Comment 93: One commenter                            not appear to be in line with this                     allow small businesses to immediately
                                           asserted that there is the possibility that             designation.                                           benefit while those recommending
                                           retaining such information that would                      BIS response: For the reasons noted                 longer or split effective dates suggested
                                           be contained in a warranty certificate                  above in the BIS response to Comment                   the time period would allow time for
                                           may violate the privacy laws of other                   1, BIS does not agree. BIS notes that the              updates to IT systems, policies, and
                                           countries, such as the General Data                     export of semi-automatic weapons used                  processes. Other commenters asserted
                                           Protection Regulation (GDPR) (European                  by peacekeepers, military, and police                  that they supported a split
                                           Union (EU)).                                            will still require U.S. Government                     implementation period (180 days for
                                              BIS response: BIS is not in a position               authorization and in most cases will                   certain provisions, effective
                                           to opine on the applicability of the                    require an approved license under the                  immediately or short as possible for
                                           GDPR here but notes that parties                        EAR, except when destined to the U.S.                  other provisions).
                                           transacting in items subject to the EAR                 Government or it is a semi-automatic                      BIS response: BIS has determined that
                                           are subject to U.S. laws and regulations,               weapon that was legally exported or                    a 45-day delayed effective date is
                                           including recordkeeping requirements.                   reexported under U.S. export controls                  appropriate. To address concerns that a
                                                                                                   that is being returned after servicing or              longer delayed effective date and
                                           Alignment With the Wassenaar
                                                                                                   repair under License Exception RPL.                    transition period may be warranted, BIS
                                           Arrangement Munitions List                                 Comment 96: One commenter                           highlights here the importance of the
                                              Comment 94: One commenter                            provided several comments related to                   various grandfathering provisions
                                           asserted that the proposed changes do                   the combined ITAR and EAR                              included in General Order No. 5 in
                                           not appear to be in line with established               amendments to U.S. Government                          Supplement No. 1 to part 736 of the
                                           WAML I–III, suggesting that the                         commitments to multilateral controls,                  EAR and in the previously published
                                           inclusion of semi-automatic weapons in                  that included 33 numbered topics listed                State transition guidance, that is
                                           WAML1 explicitly as munitions                           in the order that topic appears in the                 supplemented with information on the
                                           demonstrates an intentional                             WAML and then subdivided into three                    DDTC website.
                                           differentiation between military and                    parts, with the following number of                       Comment 98: One commenter
                                           security items, on one hand, and dual-                  examples: 27 U.S. and multilateral texts               requested that BIS delay publishing a
                                           use items on the other.                                 are either identical or substantially                  final rule until the Government
                                              BIS response: On the general question                equivalent; 74 US controls omit what                   Accounting Office (GAO) or the Library
                                           of whether the changes included in the                  WAML controls (or WAML omits U.S.                      of Congress has publicly reported to the
                                           Commerce May 24 rule align with the                     decontrols); and 165 WAML omits what                   Congress their impact on numerous
                                           WAML, BIS notes that Wassenaar                          U.S. controls (or U.S. omits WAML                      statutes referring to ‘‘defense articles,’’
                                           Arrangement member countries                            decontrols).                                           because of the potential loss of so many
                                           implement the WA control lists in                          BIS response: BIS notes that this one               U.S. arms export controls and likely
                                           accordance with their own national                      commenter submitted a large number of                  negative impact on curbing
                                           export controls. The items being moved                  comments regarding the alignment with                  irresponsible and illegal arms transfers.
                                           from USML Category II are controlled                    the WAML. For the comments where                          BIS response: BIS welcomes the
                                           under four new ‘‘600 series’’ ECCNs.                    BIS does not believe any changes are                   publication of the GAO report.
                                           The items moved from USML Categories                    needed to align with the WAML, BIS                     However, the timing of the publication
                                           I and III are not controlled in the ‘‘600               has not summarized each of those                       of a final rule and its effective date are
                                           series,’’ but importantly are still subject             comments in this final rule because of                 not contingent on the publication of the
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                                           to the same NS 1 license requirement                    the length of the comments, but does                   GAO report.
                                           that would apply if these WAML items                    confirm that BIS did review each of the
                                           were added to the ‘‘600 series.’’ In                    comments. For many of these                            Description of Regulatory Changes
                                           addition, although not derived from the                 comments, the items were already                         This final rule creates 17 new ECCNs
                                           Wassenaar Arrangement, the end item                     controlled prior to the effective date of              on the CCL to control items that are
                                           firearms are subject to a license                       this final rule or will be controlled for              being removed from the USML as


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                                           described in a final rule issued                        Column 1) and United Nations (UN)                      pistol has at least one rifled barrel and
                                           concurrently by the Department of State.                reasons for control and covers such                    at least one smoothbore barrel. Because
                                           BIS did not receive any comments on                     items as scope mounts or accessory                     of the hybrid nature of these firearms,
                                           the proposed addition of ECCNs 0A503,                   rails, iron sights, sling swivels, butt                commenters requested that this type of
                                           0B602, 0D501, 0D505, 0D602, 0E502,                      plates, recoil pads, bayonets, and stocks              clarifying note be added.
                                           0E504, 0E505, and 0E602 in the                          or grips that do not contain any fire                     This final rule adds a Note 2 to
                                           Commerce May 24 rule, so this final                     control ‘‘parts’’ or ‘‘components.’’                   0A501.d to address a question, raised by
                                           rule adopts these ECCNs as proposed,                       This final rule adds a technical note               the commenters, whether magazines
                                           except for one clarification made to                    to ECCN 0A501 stating that ‘‘parts’’ and               with a capacity of 16 rounds or less are
                                           ECCN 0B602.a.8 and minor                                ‘‘components’’ include ‘‘parts’’ and                   controlled under 0A501.x or designated
                                           clarifications to the Related Controls                  ‘‘components’’ that are common to                      EAR99. The new note specifies that
                                           paragraphs to ECCNs 0D501, 0D505,                       firearms described in ECCN 0A501 and                   magazines with a capacity of 16 rounds
                                           0D602, 0E502, and 0E505. In ECCN                        to firearms ‘‘subject to the ITAR.’’                   or less are controlled under 0A501.x.
                                           0B602, this final rule replaces ‘‘gun                      It also adds another note to ECCN                   BIS notes this was the intent of the
                                           straightening presses’’ with the more                   0A501 to state that certain firearms and               Commerce May 24 rule, but because
                                           specific control parameter ‘‘barrel                     similar items are EAR99. Those items                   commenters were not sure, this rule
                                           straightening presses.’’ This change is                 are: Antique firearms (i.e., those                     specifies where these magazines are
                                           made to clarify that the straightening                  manufactured before 1890) and                          controlled.
                                           presses controlled under ECCN                           reproductions thereof, muzzle loading                     This final rule revises ‘‘items’’
                                           0B602.a.8 are those for barrels. In the                 black powder firearms except those                     paragraph (e) to add the phrase ‘‘or
                                           Related Controls paragraphs for ECCNs                   designs based on centerfire weapons of                 machined items’’ to specify that ECCN
                                           0D501, 0D505, 0D602, and 0E505, this                    a post 1937 design, BB guns, pellet                    0A501.e includes those machined items
                                           final rule removes the parenthetical                    rifles, paint ball, and all other air rifles.          even if they are not casted, forged, or
                                           phrase that references 22 CFR 121.1 and                    In addition, for purposes of new                    stamped.
                                           the related USML category because this                  ECCN 0A501 and the rest of the new                        This final rule revises the
                                           information is duplicative of existing                  ECCNs described below, items                           introductory text of 0A501.y to add the
                                           text in these Related Controls                          previously determined to be ‘‘subject to               phrase ‘‘as follows, and ‘‘parts,’’
                                           paragraphs. This final rule also revises                the EAR’’ under a commodity                            ‘‘components,’’ ‘‘accessories,’’ and
                                           the Related Controls paragraph in ECCN                  jurisdiction determination issued by the               ‘‘attachments’’ ‘‘specially designed’’
                                           0E502 by removing ‘‘N/A’’ and adding                    U.S. Department of State that were                     therefor’’ to clarify, consistent with the
                                           that ‘‘[t]echnical data required for and                designated as EAR99 will generally not                 other .y paragraphs on the CCL, that the
                                           directly related to articles enumerated                 be classified in any of the new ECCNs                  ‘‘specially designed’’ ‘‘parts,’’
                                           in USML Category I are ‘subject to the                  that are being created with this final                 ‘‘components,’’ ‘‘accessories,’’ and
                                           ITAR.’ ’’ This clarification does not                   rule. As a conforming change, this final               ‘‘attachments’’ for .y items will also be
                                           change the scope of ECCN 0E502 and                      rule revises paragraph (e)(3) of General               controlled under this .y paragraph and
                                           simply alerts the public to review the                  Order No. 5 to add a reference to the                  not controlled under 0A501.x.
                                           ITAR for such technical data. BIS does                  ‘‘0x5zz’’ ECCNs this final rule adds to                   This final rule adds a new paragraph
                                           not make any additional changes to                      the CCL.                                               y.7 to control firearms manufactured
                                           proposed ECCN 0E501 and adopts it as                       This final rule adopts the following                from 1890 to 1898 and reproductions
                                           proposed. See the Commerce May 24                       additional changes to ECCN 0A501 to                    thereof. This final rule makes this
                                           rule for additional background on these                 respond to the comments received on                    change to address commenters that
                                           provisions. BIS received comments on                    the Commerce May 24 rule:                              asserted that the year 1890 should be
                                           seven proposed ECCNs for which the                         This final rule revises Related                     changed to 1898 in Note 3 to 0A501 for
                                           agency is adopting additional changes:                  Controls paragraph (1) to clarify that the             defining antique firearms. BIS did not
                                           0A501, 0A502, 0A504, 0A505, 0A602,                      magazines that are ‘‘subject to the                    accept the change because the year 1890
                                           0B501, and 0B505. The summary below                     ITAR’’ are those with a capacity ‘‘greater             is based on the Wassenaar Arrangement,
                                           describes each of these ECCNs and the                   than 50 rounds.’’ The Commerce May 24                  but does address this concern by
                                           controls that apply to them.                            rule used terminology in the control                   controlling these firearms under a new
                                                                                                   parameter that created ambiguity                       .y paragraph. As a conforming change,
                                           New ECCN 0A501: Firearms and                            because it was slightly different than as              this final rule adds a new License
                                           Related Commodities                                     proposed in the State May 24 rule, so                  Requirement Note to ECCN 0A501 to
                                              This final rule adds new ECCN 0A501                  this final rule revises the EAR text based             specify that a license is required for
                                           and applies national security (NS                       on the comments received to align with                 exports and reexports to China of
                                           Column 1), regional stability (RS                       the terminology used on the ITAR.                      0A501.y.7 firearms.
                                           Column 1), Firearms Convention (FC                         This final rule revises ‘‘items’’                      This final rule adds a new Note 4 to
                                           Column 1), United Nations (UN), and                     paragraph (a) to remove the phrase ‘‘of                0A501, to clarify the classification of
                                           anti-terrorism (AT Column 1) reasons                    caliber less than or equal to .50 inches               certain muzzle loading (black powder)
                                           for control to the non-automatic and                    (12.7 mm)’’ and add in its place the                   firearms. This is a conforming change as
                                           semi-automatic firearms, including                      phrase ‘‘equal to .50 caliber (12.7 mm)                part of the removal of the control text
                                           rifles, carbines, revolvers or pistols                  or less.’’ In making this change, BIS uses             of ECCN 0A018 in this final rule.
                                           listed in the ECCN entry in the                         the same control text of ‘‘.50 caliber
                                           regulatory text to this final rule,                     (12.7 mm)’’ as used in the Department                  New ECCN 0A502: Shotguns and
                                           enumerated parts and components and                     of State companion rule.                               Certain Related Commodities
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                                           to ‘‘specially designed’’ ‘‘parts,’’                       This final rule adds a Note 1 to                      This final rule adds new ECCN 0A502
                                           ‘‘components,’’ ‘‘accessories’’ and                     paragraph 0A501.a. This note clarifies                 to control both the shotguns being
                                           ‘‘attachments’’ for those firearms and                  that combination pistols are controlled                moved from the USML that are being
                                           ‘‘parts’’ and ‘‘components.’’                           under items paragraph .a. The note also                added to the CCL (barrel length less
                                              This final rule adds ECCN 0A501.y                    defines the term ‘combination pistol’ for              than 18 inches) and the shotguns and
                                           and only imposes an anti-terrorism (AT                  purposes of this ECCN. A combination                   the enumerated ‘‘parts’’ and


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                                           ‘‘components’’ controlled in ECCN                       technical note also specifies that slug                New ECCN 0A505: Ammunition and
                                           0A984 (barrel length 18 inches or                       guns are controlled under ECCN 0A502.                  Certain Related Commodities
                                           greater) prior to this final rule. This final                                                                     This final rule adds new ECCN 0A505
                                                                                                   New ECCN 0A504: Optical Sighting
                                           rule controls shotguns with a barrel                                                                           and imposes national security (NS
                                                                                                   Devices and Certain Related
                                           length less than 18 inches under NS                                                                            Column 1), regional stability (RS
                                                                                                   Commodities
                                           Column 1, CC Column 1, FC, UN, and                                                                             Column 1), Firearms Convention (FC),
                                           AT Column 1 plus regional stability (RS                    This final rule adds new ECCN 0A504                 United Nations (UN), and anti-terrorism
                                           Column 1). Shotguns controlled in                       to replace ECCN 0A987, which                           (AT Column 1) controls on ammunition
                                           ECCN 0A984 that are transferred to                      controlled optical sighting devices for                not enumerated on the USML, for
                                           ECCN 0A502 by this final rule will                      firearms. This final rule revises the                  firearms that will be classified under
                                           retain Firearms Convention (FC), crime                  reasons for control table to state                     ECCN 0A501, and for most ‘‘parts’’ and
                                           control (CC Column 1, 2, or 3 depending                 specifically that the Firearms                         ‘‘components’’ of such ammunition.
                                           on barrel length and end user), and                     Convention (FC) reason for control                     Such ammunition included in this final
                                           United Nations (UN) reasons for control.                applies to all paragraphs in the ECCN                  rule are for small arms, in most cases,
                                           Such shotguns will not be controlled for                except 0A504.f, which controls laser                   firearms of caliber not exceeding 0.50
                                           national security reasons because they                  pointing devices. In addition, BIS adds                inches, although some ammunition for
                                           are not on the WAML.                                    an RS control for certain riflescopes,                 firearms of caliber up to 0.72 inches is
                                              This final rule adopts the following                 which are identified in their own                      included. This final rule retains the CCL
                                           additional changes to ECCN 0A502 to                     paragraph in the ECCN under 0A504.i in                 reasons for control currently found in
                                           respond to the comments received on                     this final rule. The riflescopes in this               ECCNs 0A984 and 0A986 for shotgun
                                           the Commerce May 24 rule:                               paragraph are limited to those                         shells. Buckshot shotgun shells will be
                                              This final rule revises the heading of               ‘‘specially designed’’ for use in firearms             subject to the CC Column 1, FC Column
                                           ECCN 0A502 to add the phrase                            that are ‘‘subject to the ITAR.’’ This final           1, and UN reasons for control under this
                                           ‘‘shotguns ‘‘parts’’ and ‘‘components,’’                rule includes an exclusion in the criteria             final rule. Other shotgun shells are
                                           consisting of’’ to clarify that the parts               of this paragraph to ensure less sensitive             subject to the FC, UN, and AT (North
                                           and components controlled under                         riflescopes that are being moved from                  Korea only) reasons for control in this
                                           0A502 are for shotguns in response to                   ECCN 0A987 to 0A504 on the effective                   final rule. Only ‘‘parts’’ and
                                           one commenter’s request.                                date of this final rule, that currently are            ‘‘components’’ will be eligible for
                                              This final rule revises the LVS                      not RS controlled under the EAR, will                  License Exception LVS. Ammunition for
                                           paragraph in the License Exception                      not be controlled under this paragraph.                larger caliber weapons such as
                                           section to add License Exception LVS                    This final rule also adds a note to this               howitzers, artillery, cannon, mortars,
                                           eligibility of $500 for certain parts and               paragraph (i) to specify that paragraph                and recoilless rifles will remain in
                                           components under ECCN 0A502. The                        (a)(1) of the definition of ‘‘specially                USML Category III in this final rule.
                                           Commerce May 24 rule proposed N/A                       designed’’ in § 772.1 of the EAR is what               Ammunition that has little or no civil
                                           for LVS for ECCN 0A502. This final rule                 is used to determine whether a                         use or that is inherently military such as
                                           makes this change to create equivalent                  riflescope is ‘‘specially designed’’ for               ammunition that is preassembled into
                                           treatment for License Exception LVS for                 purposes of this paragraph of ECCN                     links or belts, caseless ammunition,
                                           purposes of ECCNs 0A501 and 0A502.                      0A504.i—meaning paragraph (a)(2) and                   tracer ammunition, ammunition with a
                                           Similar to LVS eligibility in ECCN                      the paragraph (b) releases are not                     depleted uranium projectile or a
                                           0A501, the LVS eligibility will include                 reviewed to make the ‘‘specially                       projectile with a hardened tip or core
                                           all Country Group B countries and an                    designed’’ determination.                              and ammunition with an explosive
                                           additional paragraph that identifies                       This change makes clear, consistent                 projectile also remains in USML
                                           other parts and components that are                     with BIS’s existing interpretation, that               Category III. Blank ammunition for
                                           eligible for LVS if the ultimate                        such devices are not optical sights and                firearms controlled by ECCN 0A501 and
                                           destination is Canada.                                  are not subject to the FC reason for                   not enumerated in Category III of the
                                              This final rule revises the Related                  control. The new number is intended to                 USML will be controlled for United
                                           Controls paragraph to remove the phrase                 make identifying items on the CCL                      Nations and anti-terrorism reasons only
                                           ‘‘combat shotguns and’’ because it is not               easier by grouping similar or related                  in this final rule.
                                           needed as a modifier of fully automatic                 items closer to each other.                               This final rule adds three notes to
                                           shotguns and the phrase is not used on                     This final rule adopts the following                clarify the scope of ‘‘parts’’ and
                                           the USML. This final rule also                          additional changes to ECCN 0A504 to                    ‘‘components’’ for ammunition
                                           simplifies the Related Controls                         respond to the comments received on                    classified under ECCN 0A505. Note 1 to
                                           paragraph to use a single sentence to                   the Commerce May 24 rule:                              0A505.c clarifies the relationship
                                           identify shotguns that are fully                           This final rule revises the LVS                     between ECCNs 0A505 and 1A984 for
                                           automatic as ‘‘subject to the ITAR.’’                   paragraph in the License Exceptions                    shotgun shells, stating that shotgun
                                              This final rule adds a Note 1 to 0A502               section of ECCN 0A504 to add LVS                       shells that contain only chemical
                                           to clarify that shotguns made in or                     eligibility of $500 for 0A504.g.                       irritants are controlled under 1A984 and
                                           before 1898 are considered antique                      Commenters requested that LVS                          not 0A505. Separately, Note 2 to
                                           shotguns. This note clarifies that these                eligibility be added for these less                    0A505.x includes an illustrative list of
                                           antique shotguns are designated as                      sensitive lenses and other optical                     the controls on ‘‘parts’’ and
                                           EAR99.                                                  elements controlled under 0A504.g.                     ‘‘components’’ in this entry, such as
                                              Lastly, in ECCN 0A502, this final rule               These commenters also requested                        Berdan and boxer primers. Note 3 to
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                                           adds a Technical Note to specify the                    adding LVS eligibility for consistency                 0A505.x clarifies that the controls in
                                           classification of shot pistols or shotguns              with the types of parts and components                 ECCN 0A505 include ‘‘parts’’ and
                                           that have had the shoulder stock                        eligible for LVS under ECCN 0A501 in                   ‘‘components’’ that are common to
                                           removed and a pistol grip attached. The                 the Commerce May 24 rule. BIS agrees                   ammunition and ordnance described in
                                           technical note specifies these are                      and adds LVS eligibility of $500 for                   this entry and to those enumerated in
                                           controlled by ECCN 0A502. The                           0A504.g in this final rule.                            USML Category III.


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                                              This final rule adopts the following                 specified elsewhere on the CCL or                      The four specific types of machinery
                                           additional changes to ECCN 0A505 to                     USML. Note 3 to 0A602 confirms that                    are: small arms chambering machines,
                                           respond to the comments received on                     black powder guns and armament                         small arms deep hole drilling machines
                                           the Commerce May 24 rule:                               manufactured in or prior to 1890 and                   and drills therefor, small arms rifling
                                              This final rule revises the LVS                      replicas thereof designed for use with                 machines, and small arms spill boring
                                           paragraph in the License Exceptions                     black powder propellants are designated                machines. The class of items covers
                                           section of ECCN 0A505 to increase the                   EAR99. The guns controlled in this                     dies, fixtures, and other tooling
                                           LVS eligibility from $100 to $500. The                  ECCN are between 99 and 128 years old.                 ‘‘specially designed’’ for the
                                           Commerce May 24 rule had proposed                       The parts, components, accessories, and                ‘‘production’’ of items in the State
                                           $100, but commenters noted that the                     attachments controlled in this ECCN                    Department final rule for USML
                                           cost of these parts and components                      include some that are for modern                       Category I or ECCN 0A501. In addition,
                                           would undermine the usefulness of LVS                   artillery. Modern artillery remains on                 as described below, this final rule also
                                           eligibility if the $100 limitation was                  the USML, along with the most sensitive                expands the scope of 0B501.e to include
                                           maintained. Some commenters provided                    ‘‘parts,’’ ‘‘components,’’ ‘‘accessories,’’            all production equipment ‘‘specially
                                           detailed price lists to support their                   and ‘‘attachments’’ for these USML                     designed’’ for USML Category I items.
                                           position that $100 of LVS eligibility                   items. This final rule adds a note to                     The NS and RS reasons for control do
                                           would be of limited usefulness. BIS took                clarify that ‘‘parts,’’ ‘‘components,’’                not apply to equipment for the
                                           this into account and in this final rule                ‘‘accessories,’’ and ‘‘attachments’’                   ‘‘development’’ or ‘‘production’’ of
                                           increases the LVS eligibility to $500 for               specified in USML subcategory II(j) are                commodities in ECCN 0A501.y because
                                           ECCN 0A505.x. As a conforming                           not subject to the EAR. The USML                       those reasons for control do not apply
                                           change, because this final rule moves                   Order of Review and CCL Order of                       to the commodities in ECCN 0A501.y
                                           ECCN 0A018.b to 0A505, this final rule                  Review already provide guidance for                    themselves.
                                           adds grandfathering provisions to retain                making such a jurisdictional and                          The first four specific items noted
                                           LVS eligibility of $3,000 for any                       classification determination, but to                   above were listed in paragraphs .o, .p,
                                           commodity that was classified under                     highlight that these ‘‘parts,’’                        .q, and .r of ECCN 2B018 prior to the
                                           0A018.b prior the effective date of this                ‘‘components,’’ ‘‘accessories,’’ and                   effective date of this final rule, and are
                                           final rule.                                             ‘‘attachments’’ are not classified under               being listed in paragraphs .a, .b, .c, and
                                              This final rule revises ECCN 0A505.a                 paragraph .x of 0A602, this final rule                 .d of ECCN 0B501 in this final rule. In
                                           to add the phrase ‘‘or USML Category I’’                adds a note.                                           addition, the class of items in new
                                           to clarify that ammunition for firearms                    This final rule adopts the following                0B501 that was included within ECCN
                                           controlled under USML Category I is                     additional changes to ECCN 0A602 to                    2B018, paragraph .n (jigs and fixtures
                                           also controlled under 0A501.a, provided                 respond to the comments received on                    and other metal-working implements or
                                           the ammunition is not otherwise                         the Commerce May 24 rule:                              ‘‘accessories’’ of the kinds exclusively
                                           excluded by the control parameters in                      This final rule revises the Related                 designed for use in the manufacture of
                                           0A501.a, i.e., being enumerated in                      Controls paragraph of ECCN 0A602 to                    firearms, ordnance, and other stores and
                                           0A505.b, .c, .d, or in USML Category III.               add a Related Controls paragraph (3).                  appliances for land, sea or aerial
                                              This final rule adds a Note 4 to 0A505               This new Related Controls paragraph                    warfare) prior to the effective date of
                                           to specify that certain types of                        provides a cross reference to ECCN                     this final rule, will, if applicable to
                                           ammunition (i.e., Lead shot smaller than                0A606 for engines that are ‘‘specially                 firearms controlled in 0A501, be
                                           No. 4 Buckshot, empty and unprimed                      designed’’ for a self-propelled gun or                 subsumed in paragraph .e. Jigs, fixtures,
                                           shotgun shells, shotgun wads,                           howitzer subject to control under                      and metal working implements
                                           smokeless gunpowder, ‘Dummy rounds’                     0A606.a or USML Category VII. The                      currently in 2B018 that are applicable to
                                           and blank rounds (unless linked or                      Department of State final rule includes                larger guns will be controlled in ECCN
                                           belted)), not incorporating a lethal or                 a similar cross reference for purposes of              0B602 in this final rule and are
                                           non-lethal projectile(s) are designated                 the USML and commenters requested                      discussed below.
                                           EAR99. This final rule also defines the                 the same type of note or related control                  Moving these items from 2B018 to
                                           terms ‘dummy round or drill round.’                     pointer be added to the EAR. The                       0B501 in this final rule retains the
                                           The new note clarifies that these rounds                Department agrees and adds Related                     national security (NS Column 1), anti-
                                           are completely inert—meaning they                       Controls paragraph (3). As a conforming                terrorism (AT Column 1), and United
                                           contain no primer, propellant, or                       change, this final rule redesignates Note              Nations (UN) reasons for control and
                                           explosive charge. The note specifies that               1 to 0A602 and Note 2 to 0A602 as                      raises the regional stability (RS) reason
                                           these types of rounds are typically used                Notes 2 and 3, respectively.                           for control from RS Column 2 to RS
                                           to check weapon function and for crew                                                                          Column 1. This causes no change in
                                                                                                   New ECCN 0B501: Test, Inspection, and
                                           training.                                                                                                      destination-based license requirements,
                                                                                                   Production Equipment for Firearms
                                                                                                                                                          but allows consideration of whether the
                                           New ECCN 0A602: Guns and Armament                         This final rule adds new ECCN 0B501                  export or reexport could contribute to
                                              This final rule adds new ECCN 0A602                  to cover ‘‘Test, inspection, and                       instability in any region, not just the
                                           and imposes national security (NS                       production ‘equipment’ and related                     region to which the item is exported or
                                           Column 1), regional stability (RS                       commodities for the ‘development’ or                   reexported in considering whether to
                                           Column 1), United Nations (UN) and                      ‘production’ of commodities                            approve a license.
                                           anti-terrorism (AT Column 1) controls                   enumerated or otherwise described in                      This final rule adopts the following
                                           on guns and armament manufactured                       ECCN 0A501 or USML Category I.’’ This                  additional changes to ECCN 0B501 to
                                           between 1890 and 1919 and for military                  new ECCN applies the national security                 respond to the comments received on
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                                           flame throwers with an effective range                  (NS Column 1), regional stability (RS                  the Commerce May 24 rule:
                                           less than 20 meters. It imposes those                   Column 1), United Nations (UN), and                       This final rule expands ECCN 0B501.e
                                           same reasons for control on parts and                   anti-terrorism (AT Column 1) reasons                   to include all production equipment
                                           components for those commodities and                    for control to four specific types of                  ‘‘specially designed’’ for USML Category
                                           for defense articles in USML Category II                machinery and to one class of items as                 I items. This final rule adds the term
                                           if such parts or components are not                     proposed in the Commerce May 24 rule.                  production equipment to the beginning


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                                           of the control text of ECCN 0B501.e and                 Revisions to Eight ECCNs                               May 24 rule for additional background
                                           revises the phrase ‘‘dies, fixtures, and                  To conform to new Federal Register                   on these removals.
                                           other tooling’’ included in the                         Drafting Handbook requirements, the
                                           Commerce May 24 rule to ‘‘including                                                                            Revision of ‘‘Published’’
                                                                                                   amendatory instructions in this final
                                           dies, fixtures, and other tooling’’ to                  rule sets forth the entire text of eight                  This final rule adopts the following
                                           indicate that these items are illustrative              ECCNs to be revised. BIS did not receive               changes to part 734, and one conforming
                                           and that other types of production                      any comments on the proposed                           change to part 732, to respond to the
                                           equipment that meet the control                         revisions to the following six ECCNs                   comments received on the Commerce
                                           parameters are also controlled under                    0E982, 1A984, 2B004, 2B018, 2D018,                     May 24 rule:
                                           ECCN 0B501.                                             and 7A611 in the Commerce May 24                          Specifically, this final rule adds a
                                           New ECCN 0B505: Test, Inspection, and                   rule, so this final rule revises those
                                                                                                                                                          paragraph (c) to § 734.7 stating that
                                           Production Equipment for Ammunition                     ECCNs as proposed. See the Commerce
                                                                                                                                                          ‘‘software’’ or ‘‘technology’’ for the
                                                                                                   May 24 rule for additional background
                                                                                                                                                          production of a firearm, or firearm frame
                                              This final rule adds new ECCN 0B505                  on these revisions.
                                           to impose national security (NS Column                    To help the public understand what                   or receiver, controlled under ECCN
                                           1), regional stability (RS Column 1),                   specific parts of ECCN 0A018 will be                   0A501, that is made available by posting
                                           United Nations (UN), and anti-terrorism                 different as a result of the changes in                on the internet in an electronic format
                                           (AT Column 1) controls on tooling,                      this final rule, the narrative below                   and that may be directly loaded without
                                           templates, jigs, mandrels, molds, dies,                 describes the amendment in detail,                     further modification by the machine
                                           fixtures, alignment mechanisms, and                     including a conforming change made to                  operator into a computer numerically
                                           test equipment, not enumerated in                       ECCN 0A988.                                            controlled machine tool, additive
                                           USML Category III, and ‘‘specially                                                                             manufacturing equipment, or any other
                                                                                                   Revision to ECCN 0A018, and                            equipment that makes use of the
                                           designed’’ ‘‘parts’’ and ‘‘components’’                 Conforming Change to ECCN 0A988
                                           therefor, that are ‘‘specially designed’’                                                                      ‘‘software’’ or ‘‘technology’’ to produce
                                           for the ‘‘production’’ of ammunition                       With the removal of ECCN 0A984 and                  the firearm frame or receiver or
                                           other than for the ammunition specified                 the addition of 0A502 described above,                 complete firearm, remains ‘‘subject to
                                           in 0A505.b, .c, or .d (certain shotgun                  the Commerce May 24 rule proposed to                   the EAR.’’ Also in § 734.7, this final rule
                                           shells with buckshot and without                        make the conforming change of                          as a conforming change revises the
                                           buckshot and certain blank                              removing and reserving 0A018.c since                   paragraph (a) introductory text to add a
                                           ammunition). In addition, as described                  all the items classified in 0A018.c                    reference to new paragraph (c) for the
                                           below, this final rule also expands the                 would be classified under other entries                exclusions that apply to paragraph (a)
                                           scope of 0B505.a to include all                         on the CCL once a final rule was                       for what is considered ‘‘published.’’ In
                                           production equipment ‘‘specially                        published.                                             § 732.2 (Steps regarding scope of the
                                           designed’’ for USML Category III items.                    This final rule adopts the following                EAR), under the paragraph (b)
                                           Equipment for manufacturing shotgun                     additional changes to ECCN 0A018 to
                                                                                                                                                          introductory text for step 2 for publicly
                                           shells that do not contain buckshot will                respond to the comments received on
                                                                                                                                                          available technology and software, this
                                           be controlled for the AT (North Korea                   the Commerce May 24 rule:
                                                                                                      This final rule still revises ECCN                  final rule also adds a reference to
                                           only) and UN reasons for control, which                                                                        § 734.7(c) to specify such ‘‘software’’ or
                                           are the reasons for control that applied                0A018, but instead of retaining the
                                                                                                   commodities under 0A018.b as was                       ‘‘technology’’ for the production of a
                                           to this equipment in ECCN 0B986 prior                                                                          firearm, or firearm frame or receiver,
                                           to this final rule. ECCN 0B505 in this                  proposed in the Commerce May 24 rule,
                                                                                                   these commodities are being moved to                   controlled under ECCN 0A501, as
                                           final rule does not include equipment
                                                                                                   ECCN 0A505. As a conforming change,                    referenced in § 734.7(c)), is ‘‘subject to
                                           for the hand loading of cartridges and
                                                                                                   this final rule replaces the control text              the EAR.’’
                                           shotgun shells, so this final rule
                                           specifies this in the heading.                          of ECCN 0A018 with a statement                         Conforming Change to General Order
                                                                                                   referring readers to ECCN 0A505.                       No. 5
                                              This final rule adopts the following                    This final rule adopts the following
                                           additional changes to ECCN 0B505 to                     additional changes to ECCN 0A988 to
                                           respond to the comments received on                                                                              BIS does not make any additional
                                                                                                   respond to the comments received on                    changes in this final rule to what was
                                           the Commerce May 24 rule:                               the Commerce May 24 rule:                              proposed in the Commerce May 24 rule
                                              This final rule expands ECCN 0B505.a                    This final rule as a conforming change              as a result of the comments received, so
                                           to include all production equipment                     revises the heading of ECCN 0A988 to                   these changes are adopted as proposed.
                                           ‘‘specially designed’’ for USML Category                remove an outdated reference to                        This final rule amends General Order
                                           III items. This final rule adds the term                0A018.d. ECCN 0A018.d had been                         No. 5, paragraph (e)(3) (Prior commodity
                                           production equipment to the beginning                   previously removed and reserved, but                   jurisdiction determinations), in
                                           of the control text of ECCN 0B505.a and                 the cross reference in 0A988 was not
                                           revises the phrase ‘‘tooling, templates,                                                                       Supplement No. 1 to part 736, to add a
                                                                                                   updated. This final rule makes that
                                           jigs, mandrels, molds, dies, fixtures,                                                                         reference in two places to the new 0x5zz
                                                                                                   correction.
                                           alignment mechanisms, and test                                                                                 ECCNs that are being created by this
                                           equipment’’ included in the Commerce                    Removal of Nine ECCNs                                  rule. This change to paragraph (e)(3) is
                                           May 24 rule to ‘‘including tooling,                       The Commerce May 24 rule proposed                    a conforming change and is needed
                                           templates, jigs, mandrels, molds, dies,                 removing nine ECCNs. BIS did not                       because paragraph (e)(3) now only
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                                           fixtures, alignment mechanisms, and                     receive any comments on proposed                       references the ‘‘600 series’’ and 9x515
                                           test equipment’’ to indicate that these                 removals of ECCNs 0A918, 0A984,                        ECCNs. 0x5zz ECCNs will include new
                                           items are illustrative and other types of               0A985, 0A986, 0A987, 0B986, 0E918,                     ECCNs 0A501, 0A502, 0A504, 0A505,
                                           production equipment that meet the                      0E984, and 0E987 in the Commerce May                   0B501, 0B505, 0D501, 0D505, 0E501,
                                           control parameters are also controlled                  24 rule, so this final rule removes those              0E502, and 0E505.
                                           under ECCN 0B505.                                       ECCNs as proposed. See the Commerce


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                                           Revisions to Regional Stability                         requirements of the license exceptions                 and ‘‘complete breech mechanisms,’’
                                           Licensing Policy for Firearms and                       are met.                                               including castings, forgings or
                                           Ammunition                                                                                                     stampings thereof, are eligible for
                                                                                                   Restrictions on All License Exceptions
                                                                                                                                                          License Exception LVS, with a limit of
                                              BIS does not make any additional                        This final rule also makes the                      $500 on net value per shipment. In
                                           changes in this final rule to what was                  following additional changes to part 740               addition, receivers (frames), and
                                           proposed in the Commerce May 24 rule                    to respond to the comments received on                 ‘‘complete breech mechanisms,’’
                                           as a result of the comments received, so                the Commerce May 24 rule by adding                     including castings, forgings or
                                           these changes are adopted as proposed.                  two new general restrictions.                          stampings thereof, are eligible for
                                           This final rule applies the regional                       In § 740.2 (Restriction on all license              License Exception LVS if the ultimate
                                           stability licensing policy set forth in                 exceptions), this final rule adds two                  destination is Canada. This final rule
                                           § 742.6(b)(1)(i) of the EAR to the items                additional restrictions for when license               states these limits in the License
                                           controlled for regional stability reasons               exceptions may not be used. This final                 Exceptions paragraph of ECCN 0A501,
                                           in ECCNs 0A501, 0A504, 0A505, 0B501,                    rule adds new paragraph (a)(21) to                     and no revisions to the text of the
                                           0B505, 0D501, 0D505, 0E501, 0E504,                      restrict the use of license exceptions,                license exception itself are needed to
                                           and 0E505. That policy, which also                      except for License Exception GOV                       implement them. BIS believes that this
                                           applies to ‘‘600 series’’ and 9x515 items               under § 740.11(b)(2)(ii) for the reexport              provision is generally consistent with
                                           is case-by-case review ‘‘to determine                   or transfer (in-country) of certain                    the license exemption for limited value
                                           whether the transaction is contrary to                  firearms classified under ECCNs 0A501                  shipments of firearms formerly found in
                                           the national security or foreign policy                 or 0A502. The restriction on the use of                ITAR (22 CFR 123.17(a)) (removed and
                                           interests of the United States, including               license exceptions applies if a part or                reserved by the companion rule). This
                                           the foreign policy interest of promoting                component that is not ‘‘subject to the                 LVS eligibility included in this final
                                           the observance of human rights                          ITAR,’’ but would otherwise meet the
                                                                                                                                                          rule is less restrictive than the former
                                           throughout the world.’’ This final rule                 criteria in USML Category I(h)(2) is
                                                                                                                                                          ITAR provision in two respects. First,
                                           also revises the regional stability                     incorporated into the firearm or is to be
                                                                                                                                                          the value limit per shipment will be
                                           licensing policy set forth in paragraph                 reexported or transferred (in-country)
                                                                                                                                                          $500 compared to $100 in the ITAR.
                                           (b)(1)(i) that is specific to the People’s              with the firearm with ‘‘knowledge’’ the
                                                                                                                                                          Second, the LVS eligibility in the final
                                           Republic of China for 9x515 items. This                 part or component will be subsequently
                                                                                                                                                          rule allows exports of receivers and
                                           final rule adds ECCNs 0A501, 0A505,                     incorporated into the firearm. Because
                                                                                                                                                          ‘‘complete breech mechanisms’’ to
                                           0B501, 0B505, 0D501, 0D505, 0E501,                      these parts or components that would
                                                                                                                                                          Canada whereas § 123.17(a) did not.
                                           0E504, and 0E505 to this sentence to                    otherwise meet the criteria in USML
                                                                                                                                                          However, the $500 LVS limit is based
                                           specify that these firearms and related                 Category I(h)(2) could be used for
                                                                                                                                                          on the actual selling price or fair market
                                           items are to be subject to a policy of                  conversion of a semi-automatic firearm
                                                                                                                                                          value, whereas the ITAR $100 limit is
                                           denial when destined to the People’s                    to a fully automatic firearm, this final
                                                                                                                                                          based on ‘‘wholesale’’ value. In
                                           Republic of China or a country listed in                rule excludes those firearms from
                                                                                                                                                          addition, with respect to Canada, an
                                           Country Group E:1. Lastly, this final                   license exception eligibility.
                                                                                                      In § 740.2 this final rule also adds a              LVS limit of $500 per shipment is
                                           rule adds a sentence to the end of                                                                             needed to comply with the Section 517
                                                                                                   new paragraph (a)(22) to restrict the use
                                           paragraph (b)(1)(i) to make it explicit                                                                        of the Commerce, Justice, Science, and
                                                                                                   of license exceptions for the export,
                                           that applications for exports and                                                                              Related Agencies Appropriations Act of
                                                                                                   reexport, or transfer (in-country) of any
                                           reexports of ECCN 0A501, 0A505,                                                                                2015, which prohibits expending any
                                                                                                   item classified under a 0x5zz ECCN
                                           0B501, 0B505, 0D501, 0D505, 0E501,                                                                             appropriated funds to require licenses
                                                                                                   when a party to the transaction is
                                           0E504, and 0E505 items are subject to a                                                                        for the export of certain non-automatic
                                                                                                   designated on the Department of the
                                           policy of denial when there is reason to                                                                       firearms parts, components, accessories
                                                                                                   Treasury, Office of Foreign Assets
                                           believe the transaction involves certain                                                                       and attachments to Canada when valued
                                                                                                   Control (OFAC), Specially Designated
                                           parties of concern, such as criminal                                                                           at under $500.
                                                                                                   Nationals and Blocked Persons (SDN)
                                           organizations, rebel groups, street gangs,                                                                        Guns and armament and related items
                                                                                                   list under the designation [SDNT], or
                                           or other similar groups or individuals,                                                                        controlled under ECCN 0A602 are
                                                                                                   under the designation [SDNTK]. OFAC
                                           that may be disruptive to regional                                                                             eligible for License Exception LVS, with
                                                                                                   makes SDNT designations pursuant to
                                           stability.                                                                                                     a limit of $500 net value per shipment
                                                                                                   the Narcotics Trafficking Sanctions
                                           Availability of License Exceptions                      Regulations, 31 CFR part 536, and                      in this final rule.
                                                                                                   SDNTK designations are made, pursuant                     Ammunition controlled under ECCN
                                              Many of the items in the new ‘‘600                   to the Foreign Narcotics Kingpin                       0A505 are eligible for License Exception
                                           series’’ ECCNs generally will be eligible               Sanctions Regulations, 31 CFR part 598.                LVS; however, ammunition parts and
                                           for the same license exceptions and                     This restriction on the use of license                 components will be eligible with a limit
                                           subject to the same restrictions on use                 exceptions for these 0x5zz items will                  of $500 (Commerce May 24 rule
                                           of license exceptions as other ‘‘600                    ensure that such parties designated on                 proposed $100, but as described below
                                           series’’ ECCNs in this final rule. For the              the SDN list will not be able to receive               in the changes to ECCN 0A505, this
                                           ECCNs on the CCL prior to the effective                 these 0x5zz items without a BIS license.               final rule increases the limit of $500) net
                                           date of this final rule that are being                                                                         value per shipment in this final rule.
                                           renumbered and placed in closer                         License Exception: Shipments of                           Test, inspection, and production
                                           proximity to the firearms-related items                 Limited Value (LVS)                                    equipment controlled under ECCNs
                                           that are being removed from the USML                       Under this final rule, complete                     0B501, 0B505, and 0B602 for firearms,
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                                           and added to the CCL, these existing                    firearms controlled under ECCN 0A501                   guns and armament, and ammunition/
                                           firearms-related items will continue to                 are not eligible for License Exception                 ordnance are eligible for License
                                           be eligible for the same EAR license                    LVS, 15 CFR 740.3. Firearms ‘‘parts,’’                 Exception LVS with a limit of $3,000
                                           exceptions as they were prior to the                    ‘‘components,’’ ‘‘accessories,’’ and                   net value per shipment, which is
                                           effective date of this final rule, unless               ‘‘attachments’’ controlled under ECCN                  consistent with LVS eligibility for most
                                           otherwise restricted under § 740.2, if the              0A501, other than receivers (frames),                  600 series ECCNs in this final rule.


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                                           License Exception: Temporary Imports,                   and demonstration (§ 740.9(a)(5) of the                will be used by CBP to confirm that
                                           Exports, Reexports, and Transfers (In-                  EAR) and inspection, test, calibration,                such firearms were in fact temporarily
                                           Country) (TMP)                                          and repair (§ 740.9(a)(6) of the EAR).                 imported under the EAR for subsequent
                                              This final rule amends § 740.9 to state              Consistent with the ITAR requirements                  export under License Exception TMP.
                                           that License Exception TMP is not                       previously applicable to temporary                        This final rule adds a note to License
                                           available to export or reexport the items               exports of the firearms covered by this                Exception TMP to direct temporary
                                           that are the subject of this rule to                    rule (see 22 CFR 123.17(c), 123.22),                   importers and exporters to contact CBP
                                           destinations in Country Group D:5 (See                  exporters will continue to be required to              at the port of import or export for the
                                           Supplement No. 1 to part 740), or to                    file EEI in AES for transactions                       proper procedures to provide any data
                                           Russia (Russian Federation). License                    involving such firearms that are                       or documentation required by BIS.
                                           Exception TMP is also not available to                  authorized pursuant to License                         License Exception: Governments,
                                           export or reexport some firearms and                    Exception TMP (See § 758.1(a)(10) of the               International Organizations,
                                           ammunition shipped from or                              EAR).                                                  International Inspections Under the
                                                                                                      This final rule authorizes the use of
                                           manufactured in Russia (Russian                                                                                Chemical Weapons Convention, and the
                                                                                                   License Exception TMP for the export of
                                           Federation), Georgia, Kazakhstan,                                                                              International Space Station (GOV)
                                                                                                   ECCN 0A501 firearms temporarily in the
                                           Kyrgyzstan, Moldova, Turkmenistan,                                                                                This final rule revises § 740.11 to
                                                                                                   United States for a period of not more
                                           Ukraine, or Uzbekistan. In addition, this                                                                      limit the applicability of License
                                                                                                   than one year subject to the requirement
                                           final rule will prohibit the use of                                                                            Exception GOV for firearms, ‘‘parts’’ and
                                                                                                   that the firearms not be imported from
                                           License Exception TMP to export or                                                                             ‘‘components’’ controlled by ECCN
                                                                                                   or ultimately destined for certain
                                           reexport any item controlled by ECCN                    proscribed or restricted countries.                    0A501 and ammunition controlled by
                                           0A501 and any shotgun with a barrel                     Certain information as described in the                0A505 to exports, reexports, and
                                           length less than 18 inches controlled                   regulatory text will also be collected by              transfers for official use by U.S
                                           under ECCN 0A502 that was shipped                       CBP on behalf of BIS under existing or                 government agencies and official and
                                           from or manufactured in Country Group                   new Commerce paperwork collections.                    personal use by U.S. Government
                                           D:5. This final rule also prohibits use of              This final rule also makes eligibility to              employees (and the immediate families
                                           License Exception TMP to export or                      export under License Exception TMP for                 and household employees of those
                                           reexport any item controlled by ECCN                    ECCN 0A501.a or .b or shotguns with a                  government employees)
                                           0A501 that is shipped from or                           barrel length less than 18 inches                      (§ 740.11(b)(2)(i) and (ii) of the EAR).
                                           manufactured in Russia, Georgia,                        controlled in ECCN 0A502 subject to the                This authorization under License
                                           Kazakhstan, Kyrgyzstan, Moldova,                        following conditions:                                  Exception GOV treats 0A501 firearms in
                                           Turkmenistan, Ukraine, or Uzbekistan,                      At the time of entry for a temporary                the same manner that other items that
                                           except for any firearm model controlled                 import, the temporary importer is                      are subject to the EAR may be exported
                                           by 0A501 that is also excluded under                    required to provide the required                       to U.S. Government employees under
                                           Annex A in Supplement No. 4 to part                     statement to CBP, as specified in                      License Exception GOV. It does not
                                           740 (the prohibition will not apply to                  paragraph (b)(5)(iv)(A).                               impose certain restrictions that are
                                           such firearms;); and any shotgun with a                    The temporary importer is required to               imposed by the former ITAR license
                                           barrel length less than 18 inches                       include on the invoice or other                        exemption (22 CFR 123.18) (removed
                                           controlled under 0A502 that was                         appropriate import-related                             and reserved by companion rule) that
                                           shipped from or manufactured in                         documentation (or electronic                           authorized shipments consigned to and
                                           Russia, Georgia, Kazakhstan,                            equivalents) provided to CBP a                         for the use of servicemen’s clubs, and
                                           Kyrgyzstan, Moldova, Turkmenistan,                      complete list and description of the                   for service members or civilian
                                           Ukraine, or Uzbekistan. These                           0A501 firearms being imported,                         employees if the firearms are for
                                           prohibitions will apply to temporary                    including their serial numbers, model,                 personal use and the shipment is
                                           exports of firearms from the United                     make, caliber, quantity, and U.S. dollar               accompanied by a written authorization
                                           States, and the export of firearms                      value, as specified in paragraph                       from the commanding officer
                                           temporarily in the United States. This                  (b)(5)(iv)(B).                                         concerned. See the Commerce May 24
                                           final rule for consistency with the ITAR                   If the firearms are temporarily                     rule for additional background. License
                                           requirements for exports of firearms to                 imported for a trade show, exhibition,                 Exception GOV authorizes non-
                                           Georgia, Kazakhstan, Kyrgyzstan,                        demonstration, or testing, the temporary               automatic and semi-automatic firearms
                                           Moldova, Turkmenistan, Ukraine, and                     importer must provide to CBP the                       and related ‘‘parts’’ and ‘‘components.’’
                                           Uzbekistan, removes the restriction                     relevant invitation or registration                       All other items that are the subject of
                                           included in the Commerce May 24 rule                    documentation for the event and an                     this final rule will be subject to the
                                           in paragraph (b)(5)(iii) that the firearms              accompanying letter that details the                   limits on use of License Exception GOV
                                           may not ultimately be destined to one                   arrangements to maintain effective                     that apply to 600 series items generally,
                                           of these seven countries from the                       control of the firearms while they are in              i.e., § 740.11(b)—to, for, or on behalf of
                                           restriction in paragraph (b)(5)(iii), but               the United States, as specified in                     the U.S. Government (including
                                           retains the restriction for Russia. This                paragraph (b)(5)(iv)(C).                               contractors, government employees,
                                           final rule makes one correction in                         At the time of export, the temporary                their families and household
                                           Annex A in Supplement No. 4 to part                     importer or its agent as specified in                  employees) or § 740.11(c) to a
                                           740 for the rifle ‘‘VEPR Pioner’’ under                 paragraph (b)(5)(v) are required to                    government in Country Group A:1
                                           paragraph (b)(90) to correctly spell it as              provide the temporary import                           cooperating governments or an agency
                                           ‘‘VEPR Pioneer.’’                                       documentation (i.e., the invoice used at               of NATO. However, this rule will add
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                                              This final rule limits temporary                     the time of entry for the temporary                    some additional restrictions for E:1 and
                                           exports of firearms controlled under                    importation or other appropriate                       E:2 countries. This final rule will
                                           ECCN 0A501 and any shotgun with a                       temporary import-related                               exclude the use of License Exception
                                           barrel length less than 18 inches                       documentation (or electronic                           GOV for any item listed in a 0x5zz
                                           controlled under ECCN 0A502 pursuant                    equivalents)) related to paragraph                     ECCN for E:1 countries, unless
                                           to License Exception TMP to exhibition                  (b)(5)(iv)(B) to CBP. This information                 authorized under paragraph (b)(2)(i) or


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                                           (ii) when the items are solely for U.S.                 can be found at: https://www.cbp.gov/                  Security, CBP Form 4457, Certificate of
                                           Government official use. In addition, to                contact/ports.                                         Registration for Personal Effects Taken
                                           better ensure compliance with section                      This final rule also revises License                Abroad) (OMB Control Number 1651–
                                           1754(c) of the ECRA and address                         Exception BAG to allow nonresident                     0010) for all exports of commodities
                                           concerns with certain end users and                     aliens leaving the United States to take               controlled under ECCNs 0A501.a or .b,
                                           uses in Country Group E:1 and E:2                       firearms, ‘‘accessories,’’ ‘‘attachments,’’            shotguns with a barrel length less than
                                           countries, this final rule adds a new                   ‘‘components,’’ ‘‘parts,’’ and                         18 inches controlled under ECCN
                                           Note 2 to paragraph (b)(2), which                       ammunition controlled by ECCN 0A501                    0A502, or ammunition controlled under
                                           restricts the use of License Exception                  or 0A505 that they lawfully brought into               ECCN 0A505 except for .c, regardless of
                                           GOV for E:1 and E:2 countries for                       the United States. This change is                      value or destination, including exports
                                           multilaterally controlled items and anti-               consistent with former 22 CFR 123.17(d)                to Canada, that are authorized under
                                           terrorism (AT) controlled items when                    (removed and reserved by companion                     License Exception BAG, as set forth in
                                           destined to certain end users or end                    rule), which authorized foreign persons                § 740.14. Section 758.11 includes four
                                           uses of concern.                                        leaving the United States to take                      paragraphs: Paragraph (a) (Scope)
                                              This final rule also makes the                       firearms and ammunition controlled                     specifies when these export clearance
                                           following additional change to License                  under Category I(a) of the USML (both                  requirements apply; paragraph (b)
                                           Exception GOV to respond to the                         non-automatic and semi-automatic) that                 (Required form) identifies the required
                                           comments received on the Commerce                       they lawfully brought into the United                  form that needs to be used in
                                           May 24 rule:                                            States. This final rule does not adopt                 connection with these exports
                                              In § 740.11 of License Exception GOV,                any changes to the availability of                     authorized under License Exception
                                           this final rule revises Note 2 to                       License Exception BAG for shotguns                     BAG, including paragraph (b)(1) that
                                           paragraph (b)(2) to include illustrative                and shotgun shells authorized under                    includes a website for where to find the
                                                                                                   paragraph (e)(1) or (2).                               form, and paragraph (b)(2) that specifies
                                           examples of other sensitive end-users.
                                                                                                      As a clarification to License Exception             the ‘‘description of articles’’ for firearms
                                           This final rule adds the parenthetical
                                                                                                   BAG, this final rule adds one sentence                 to be included on the CBP Form 4457;
                                           phrase ‘‘(e.g., contractors or other                    to the introductory text of paragraph
                                           governmental parties performing                                                                                paragraph (c) provides a link for where
                                                                                                   (b)(4) to highlight the special provisions             to find additional information on the
                                           functions on behalf of military, police,                that apply in paragraph (e) for firearms
                                           or intelligence entities)’’ after the phrase                                                                   CBP Form 4457; and paragraph (d)
                                                                                                   and ammunition and in paragraph (h)                    (Return of items exported pursuant to
                                           ‘‘or other sensitive end-users’’ to                     for personal protective equipment under                this section) specifies the requirements
                                           provide greater clarity on the other end-               ECCN 1A613.c or .d. This one sentence                  for the return of items exported under
                                           users that are excluded.                                does not change the existing                           License Exception BAG when the export
                                           License Exception: Baggage (BAG)                        requirement and has been included to                   clearance requirements in § 758.11
                                                                                                   assist the public in better identifying                apply.
                                              This final rule revises License                      these special provisions.
                                           Exception BAG, § 740.14, to allow                          Consistent with the ITAR                            License Exception: Servicing and
                                           United States citizens and permanent                    requirements previously applicable to                  Replacement of Parts and Equipment
                                           resident aliens leaving the United States               temporary exports of the firearms and                  (RPL)
                                           temporarily to take up to three firearms                associated ammunition covered by the                     This final rule also adopts the
                                           controlled by proposed ECCN 0A501                       May 24 proposed rule, BIS proposed in                  following changes to License Exception
                                           and up to 1,000 rounds of ammunition                    the Commerce May 24 rule to modify                     RPL to respond to the comments
                                           for such firearms controlled under                      § 758.1 of the EAR to make clear that                  received on the Commerce May 24 rule,
                                           ECCN 0A505.a for personal use while                     exporters would continue to be required                that requested License Exception RPL be
                                           abroad. This change to License                          to file EEI in AES for transactions                    included as a valid purpose for a
                                           Exception BAG is made to be consistent                  involving such firearms and associated                 temporary import under § 758.10. As
                                           with former 22 CFR 123.17(c) (removed                   ammunition that are otherwise                          described above, BIS agreed to include
                                           and reserved by companion rule), which                  authorized pursuant to License                         License Exception RPL in § 758.10, and
                                           authorized U.S. persons to take up to                   Exception BAG. However, for the                        these changes are described below.
                                           three non-automatic firearms and up to                  reasons described above in the                           In § 740.10(b) (Servicing and
                                           1,000 cartridges therefor abroad for                    description of the comments and BIS                    replacement of parts and equipment),
                                           personal use. This amendment to                         responses, this final rule adopts an                   this final rule makes needed conforming
                                           License Exception BAG applies to both                   alternative approach with the addition                 changes for the addition of License
                                           non-automatic and semi-automatic                        of the new § 758.11 described                          Exception RPL to § 758.10 and to
                                           firearms.                                               immediately below.                                     include similar changes as were made to
                                              Travelers leaving the United States                     This final rule makes the following                 License Exception TMP under
                                           temporarily are required to declare the                 additional changes in response to the                  § 740.9(b)(5) in the Commerce May 24
                                           0A501 and 0A505 items to a CBP officer                  public comments received on the                        rule. This final rule adds one sentence
                                           prior to departure from the United                      Commerce May 24 rule:                                  to the end of the introductory text of
                                           States and present the firearms, ‘‘parts,’’                As described above, this final rule                 § 740.10(b)(1) to specify that that
                                           ‘‘components,’’ ‘‘accessories,’’                        removes the EEI filing requirement in                  additional requirements in new
                                           ‘‘attachments,’’ and ammunition they                    AES as set forth in § 758.1(b)(9) for                  paragraph (b)(4) must be met in order to
                                           are exporting to the CBP officer for                    firearms authorized under License                      use License Exception RPL to authorize
                                           inspection, confirming that the                         Exception BAG.                                         under paragraph (b)(2) or (3) the export
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                                           authority for the export is License                        In response to public comments as                   of firearms controlled by ECCN 0A501.a
                                           Exception BAG, that the exporter is                     described above, this final rule instead               or .b, or shotguns with a barrel length
                                           compliant with its terms. Should                        adds a new § 758.11 (Export clearance                  less than 18 inches controlled in ECCN
                                           exporters desire to contact CBP prior to                requirements for firearms and related                  0A502 temporarily in the United State
                                           departure, contact information and a list               items) and incorporates a requirement to               for servicing and replacement. This final
                                           of U.S. air, land and sea ports of entry                use the Department of Homeland                         rule adds new paragraph (b)(4) (Exports


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                                           of firearms and certain shotguns                        ‘‘attachments’’ controlled under ECCN                  all BIS licenses. These requirements are
                                           temporarily in the United States for                    0A501 ineligible for License Exception                 also applied to firearms and
                                           servicing and replacement). Under the                   STA. Only those ‘‘parts,’’                             ammunition licenses. A change in end
                                           introductory text of paragraph (b)(4),                  ‘‘components,’’ ‘‘accessories,’’ and                   use or end user, including a change of
                                           this final rule imposes a requirement                   ‘‘attachments’’ that are controlled under              authorized end use or end user within
                                           that the firearms and certain shotguns                  paragraph .x are eligible for export                   a single foreign country for a firearm or
                                           must be temporarily in the United States                under License Exception STA. Items                     ammunition authorized under a BIS
                                           for servicing or replacement for a period               controlled under ECCNs 0A502 and                       license, requires a BIS authorization.
                                           not exceeding one year or the time it                   0A503 are also excluded from STA                       BIS does not adopt any changes in this
                                           takes to service or replace the                         eligibility.                                           final rule to these well-established and
                                           commodity, whichever is shorter in                                                                             understood requirements on using BIS
                                                                                                   Support Documentation for Firearms,
                                           order to use License Exception RPL to                                                                          licenses. Applicants for firearms and
                                                                                                   Parts, Components, Accessories, and
                                           authorize the export. This final rule                                                                          ammunition licenses are also advised
                                                                                                   Attachments Controlled by ECCN
                                           adds paragraphs (b)(4)(i) and (ii) to                                                                          that BIS continues to exercise its
                                                                                                   0A501
                                           impose restrictions for firearms shipped                                                                       authority, as specified in § 748.11 in the
                                           from or manufactured in Russia,                            BIS did not receive any comments on                 Note 2 to paragraph (a), on a case-by-
                                           Georgia, Kazakhstan, Kyrgyzstan,                        this proposed change to § 748.12 in the                case basis to require a Statement by
                                           Moldova, Turkmenistan, Ukraine, or                      Commerce May 24 rule, so the change                    Ultimate Consignee and Purchaser as
                                           Uzbekistan, except for any firearm                      is published in this final rule as                     warranted.
                                           model controlled by 0A501 that is                       proposed. This final rule requires that                   The exporter, reexporter, or transferor
                                           specified under Annex A in Supplement                   for commodities controlled by ECCN                     using a BIS license, including for
                                           No. 4 to part 740, to impose the same                   0A501 that are the subject of export or                firearms and ammunition licenses, is
                                           types of restrictions and impose the                    reexport transactions for which a license              also required, pursuant to § 750.7(a), to
                                           same type of information requirements                   is required, the exporter or reexporter                inform the other parties identified on
                                           for providing information to CBP as this                must obtain, prior to submitting an                    the license, such as the ultimate
                                           final rule includes for License Exception               application, an import permit (or copy                 consignees and end users of the
                                           TMP under paragraph (b)(5).                             thereof) if the importing country                      license’s scope and of the specific
                                                                                                   requires such permits for import of                    conditions applicable to them. As an
                                           License Exception: Additional                           firearms. That import permit is a record               additional safeguard for firearms and
                                           Permissive Reexports (APR)                              that must be kept by the exporter or                   ammunition licenses, BIS will include,
                                              This final rule also adopts the                      reexporter as required by part 762 of the              when warranted, a license condition
                                           following change to License Exception                   EAR. The purpose of this requirement is                requiring the exporter, reexporter, or
                                           APR to respond to the comments                          to assure foreign governments that their               transferor to obtain from the other
                                           received on the Commerce May 24 rule:                   regulations concerning the importation                 parties identified on the license a
                                              In § 740.16 of License Exception APR,                of firearms are not circumvented. To                   written confirmation that those other
                                           this final rule adds commodities                        implement this change, this final rule                 parties have received and agree to the
                                           classified under a 0x5zz ECCN to the list               revises § 748.12 to include the                        terms and conditions of the license. For
                                           of commodities excluded under                           commodities controlled under ECCNs                     example, the condition may state ‘‘Prior
                                           paragraph (a) of License Exception APR.                 0A501 (except 0A501.y), 0A502, 0A504                   to using this license, the exporter
                                           This final rule also adds a new                         (except 0A504.f), and 0A505 (except                    (reexporter or transferor) and other
                                           paragraph (b)(2)(vi) to exclude                         0A505.d) within the list of commodities                parties to the license must agree to the
                                           commodities classified under a 0x5zz                    that are subject to the requirement and                conditions in writing and the exporter
                                           ECCN under paragraph (b) of License                     adds a new paragraph (e) requiring that                (reexporter or transferor) must keep this
                                           Exception APR. The Commerce May 24                      import certificates or permits be                      on file with their other records.’’ The
                                           rule did not propose these exclusions                   obtained from countries other than OAS                 documents described in this paragraph
                                           from License Exception APR, but BIS                     member states if those states require                  are required to be kept for EAR
                                           identified these two paragraphs of                      such a certificate or permit.                          recordkeeping purposes under part 762
                                           License Exception APR as two                                                                                   of the EAR.
                                                                                                   Licenses for Firearms and Ammunition
                                           authorizations that were not intended to
                                                                                                   Will Be Limited to the Authorized End                  Conventional Arms Reporting for
                                           be available under the Commerce May
                                                                                                   Use and End Users                                      Certain Exports of ECCN 0A501.a and
                                           24 rule, but based on the stated criteria
                                                                                                      BIS did not receive any comments on                 .b Commodities
                                           prior to the effective date of this final
                                           rule would have been available.                         these statements of EAR licensing policy                  In § 743.4 (Conventional arms
                                           Therefore, this final rule makes these                  in the Commerce May 24 rule but                        reporting), this final rule revises
                                           changes to ensure the authorizations                    restates them here to assist the public.               paragraphs (c)(1)(i) and (c)(2)(i) to add
                                           available for reexports and transfers (in-              Consistent with other BIS licenses,                    ECCN 0A501.a and .b as commodities
                                           country) will be equivalent to those                    including ‘‘600 series’’ and 9x515 items,              that require Wassenaar Arrangement
                                           available for exports.                                  licenses for firearms and ammunition                   reporting and United Nations reporting
                                                                                                   that move from the USML to the CCL                     under this conventional arms reporting
                                           License Exception STA                                   are limited to the authorized end use                  section of the EAR. This requirement
                                              BIS did not receive any comments on                  and end users specified on the license                 assists the U.S. Government to meet its
                                           the proposed changes to License                         and supporting documentation                           multilateral commitments for the
                                           Exception STA, § 740.20, in the                         submitted as part of the license                       special reporting requirements for
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                                           Commerce May 24 rule, so this final                     application. This means any change in                  exports of certain items listed on the
                                           rule adopts those changes as proposed.                  the authorized end use or end user for                 WAML and the United Nations Register
                                           This final rule revises the regulations at              a licensed transaction will require a BIS              of Conventional Arms when these items
                                           § 740.20 to make firearms controlled                    authorization. This existing requirement               are authorized for export under License
                                           under ECCN 0A501 and most ‘‘parts,’’                    of BIS licenses is specified in § 750.7(a)             Exceptions LVS, TMP, RPL, STA, or
                                           ‘‘components,’’ ‘‘accessories,’’ and                    and on the boiler plate text included on               GOV (see part 740 of the EAR) or the


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                                           Validated End-User authorization (see                   Government to pull the data and meet                   filing requirement in AES. As a
                                           § 748.15 of the EAR) and for United                     national reporting commitments to the                  conforming change, this final rule
                                           Nations reporting. License Exceptions                   Wassenaar Arrangement and the United                   revises paragraph (c)(1) to eliminate the
                                           LVS and STA are identified in                           Nations.                                               restriction from the exemption for
                                           § 743.4(b)(1), but because ECCN 0A501.a                    As a conforming change, in § 758.1                  License Exception BAG. This final rule
                                           and .b commodities are not eligible for                 (The Electronic Export Enforcement                     makes this change because of excluding
                                           those two license exceptions, the                       (EEI) filing to the Automated Export                   License Exception BAG from paragraph
                                           reporting requirements under                            System (AES)), this final rule adds a                  (b)(9) means the general exemption for
                                           § 743.4(c)(1)(i) and (c)(2)(i) are limited              new paragraph (g)(4)(ii) (Identifying end              not filing EEI in AES for these firearms
                                           to exports authorized License                           item firearms by ‘‘items’’ level                       authorized under License Exception
                                           Exceptions TMP, GOV, and RPL or the                     classification or other control descriptor             BAG, should be available, so this final
                                           Validated End-User authorization. This                  in the EEI filing in AES). Exporters must              rule makes this conforming change. This
                                           final rule also adds contact information                include the six character ECCN                         final rule adds a new Note to paragraph
                                           for these reports.                                      classification (i.e., 0A501.a or 0A501.b),             (c)(1) to add a cross reference to the
                                              This final rule also makes the                       as the first text to appear in the                     export clearance requirements that are
                                           following additional change to § 743.4                  Commodity description block in the EEI                 specific to firearms exported under
                                           to respond to the comments received on                  filing in AES. Exporters for shotguns                  License Exception BAG.
                                           the Commerce May 24 rule:                               controlled under 0A502 must include                       This final rule also makes the
                                              Commenters requested that BIS use                    the phrase ‘‘0A502 barrel length less                  following additional changes to
                                           information required to be submitted in                 than 18 inches’’ as the first text to                  § 758.1(g)(4) to respond to the comments
                                           the EEI filing in AES to pull the                       appear in the Commodity description                    received on the Commerce May 24 rule
                                           conventional arms reporting data                        block in the EEI filing in AES. This                   regarding concerns for having to include
                                           directly in order to eliminate the need                 information will be used by BIS as                     the manufacture, model, caliber, and
                                           for exporters to submit separate reports                referenced in § 743.4(h) for conventional              serial number in the EEI filing in AES:
                                           to BIS. BIS agreed and this final rule                  arms reporting.                                           In § 758.1(g)(4) (Exports of Firearms
                                           revises three paragraphs in § 743.4 to                                                                         and Related Items), this final rule adds
                                           adopt an alternative method for BIS to                  Changes to Export Clearance                            a new paragraph (g)(4)(i) (Identifying
                                           receive the information that is required                Requirements for Firearms Being                        end item firearms by manufacturer,
                                           for conventional arms reporting. This                   Moved to the CCL (Part 758)                            model, caliber, and serial number in the
                                           rule revises paragraph (a) to add four                     In § 758.1, this final rule adopts                  EEI filing in AES) to narrow the
                                           sentences at the end of the paragraph.                  changes to clarify that a filing of EEI in             requirement for when firearms must be
                                           These four sentences specify that if the                AES will be required for exports of the                identified by manufacture, model,
                                           exporter follows the requirements                       firearms transferred from the USML                     caliber, and serial number in the EEI
                                           specified in this section for the                       pursuant to this rule regardless of value              filing in AES to License Exception TMP
                                           alternative submission method                           or destination, including exports to                   or a BIS license that contains a
                                           described in new paragraph (h)                          Canada. As noted above, this                           condition requiring all or some of this
                                           (Alternative submission method), that                   requirement applies, as was the case                   information to be filed as EEI in AES.
                                           separate reporting does not need to be                  under the ITAR prior to the effective
                                                                                                                                                          Entry Clearance Requirements for
                                           made to BIS for purposes of § 743.4.                    date of this final rule, for temporary
                                                                                                                                                          Temporary Imports (§ 758.10)
                                           Because of the EEI filing requirements                  exports of such items pursuant to
                                           in AES in new § 758.1(g)(4)(ii) for the                 License Exception TMP, but not for                        Temporary imports are transactions
                                           firearms that require conventional arms                 License Exception BAG.                                 that involve both the temporary entry of
                                           reporting, all conventional arms                           In addition, this final rule expands                an item into the U.S. from a foreign
                                           reporting requirements for firearms                     the data elements required as part of an               country and the subsequent export of
                                           should be able to be met by using the                   EEI filing to AES filing for these                     that item from the U.S. To preserve the
                                           alternative submission method. Under                    firearms to include serial numbers,                    treatment of temporary import
                                           paragraph (b) (Requirements), this final                make, model and caliber. This                          transactions for items in this rule that
                                           rule adds a reference to meeting the                    requirement will ensure law                            will transfer from the USML in the ITAR
                                           reporting requirement by using the                      enforcement officials are able to                      to become subject to the EAR, BIS
                                           alternative submission method in new                    effectively verify that firearms exports               imposes a temporary imports entry
                                           paragraph (h).                                          are properly authorized and in                         clearance requirement in this final rule
                                              This final rule adds paragraph (h) that              conformance with all applicable                        by adding new § 758.10. This new
                                           describes the requirements for the                      regulations, including those associated                section is limited to items in this rule
                                           alternative submission method. To use                   with the temporary export and                          that are both ‘‘subject to the EAR’’ and
                                           the alternative reporting method, each                  subsequent return of controlled firearms               on the USMIL in 27 CFR 447.21. To
                                           time the exporter files an EEI record in                and unused ammunition.                                 allow such items to temporarily enter
                                           AES, the exporter must include as the                      This final rule also makes the                      the U.S., this final rule imposes a
                                           first text in the Commodity Description                 following additional changes to                        process to collect identifying
                                           field in AES the first six characters of                § 758.1(b)(10) and (c)(1) to respond to                information for the sole purpose of
                                           the ECCN number, i.e., ‘‘0A501.a’’ or                   the comments received on the                           tracking items being temporarily
                                           ‘‘0A501.b.’’ In addition, the exporter                  Commerce May 24 rule regarding the                     imported for subsequent export. BIS
                                           must document for recordkeeping                         concerns for individuals having to file                does not impose a license requirement
                                           requirements under the EAR that for                     EEI in AES:                                            for such imports, but this information is
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                                           purposes of the conventional arms                          In § 758.1, this final rule revises new             necessary to facilitate the export after a
                                           reporting requirements under part 743,                  paragraph (b)(10) that was included in                 temporary import. The entry clearance
                                           it has decided to use the alternate                     the Commerce May 24 rule, but adds it                  requirement is an EAR requirement and
                                           submission method by taking steps to                    as new paragraph (b)(9). This final rule               any false representation made under the
                                           identify the end item firearms in the EEI               excludes exports authorized under                      new § 758.10 will be a violation of the
                                           filing in AES that will enable the U.S.                 License Exception BAG from the EEI                     EAR.


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                                              This final rule also makes the                       Exception TMP under 15 CFR                             18 inches controlled in ECCN 0A502
                                           following additional change to § 758.10                 740.9(b)(5)), (b)(1)(i)(B) (to account for             that will be temporarily imported to the
                                           to respond to the comments received on                  the addition of License Exception RPL                  United States. These requirements
                                           the Commerce May 24 rule:                               under 15 CFR 740.10(b)), and (b)(1)(i)(C)              impose the same type of requirements as
                                              In § 758.10, this final rule adds an                 (to account for BIS licenses) to add the               this final rule includes for License
                                           exclusion to the entry clearance                        three statements. The three statements                 Exception TMP under paragraph (b)(5)
                                           requirements proposed in the                            are substantively the same, and the only               and License Exception RPL under
                                           Commerce May 24 rule to clarify that                    difference is the EAR authorization                    paragraph (b)(4), but does so by
                                           firearms ‘‘subject to the EAR’’ brought                 being referenced in the statement. As a                imposing the certification requirement
                                           into the United States by nonimmigrant                  conforming change, this final rule adds                in paragraph (z)(1). BIS will include a
                                           aliens under the provisions of                          a new paragraph (b)(1)(iv) that applies if             standard condition that will require
                                           Department of Justice regulations at 27                 the item being temporarily imported                    compliance with the requirements in
                                           CFR part 478 are not subject to these                   under § 758.10 is for servicing or                     paragraphs (z)(2)(i) and (ii).
                                           same entry clearance requirements for                   replacement. Under this new paragraph
                                           temporary imports. This final rule                                                                             Changes to EAR Recordkeeping
                                                                                                   (b)(1)(iv) at the time of temporary
                                           makes this change for consistency with                                                                         Requirements for Firearms Being
                                                                                                   import, the name, address and contact
                                           License Exception BAG under                                                                                    Moved to the CCL (Part 762)
                                                                                                   information of the organization or
                                           paragraph (e) and because ATF                           individual in the U.S. that will be                       BIS does not make any additional
                                           regulations address nonimmigrant                        receiving the item for servicing or                    changes in this final rule to what was
                                           aliens temporarily bringing these types                 replacement must be provided to CBP.                   proposed in the Commerce May 24 rule
                                           of firearms into the United States, so the              Lastly, as an additional conforming                    as a result of the comments received, so
                                           requirements in § 758.10 do not need to                 change, this final rule adds a new Note                these changes are adopted as proposed.
                                           apply.                                                  2 to paragraph (b)(1) to impose                        In part 762 (Recordkeeping), this final
                                              In § 758.10, this final rule clarifies the           exclusions, similar to those imposed on                rule adopts two changes to the
                                           penultimate sentence and the last                       License Exception TMP that limit the                   recordkeeping requirements under the
                                           sentence of paragraph (a) by removing                   availability of License Exception RPL                  EAR. These changes specify that certain
                                           references to ‘‘permanent return’’ and                  for temporary imports of certain                       records, that are already created and
                                           ‘‘permanent import’’ after items are                    firearms shipped from or manufactured                  kept in the normal course of business,
                                           temporarily exported under an EAR                       in listed countries.                                   must be kept by the ‘‘exporter’’ or any
                                           authorization, e.g., License Exception                                                                         other party to the transaction (see
                                           TMP or a Commerce license. This                         Unique Application and Submission                      § 758.3 of the EAR), that creates or
                                           clarification is made because the                       Requirements for Licenses                              receives such records.
                                           inbound portion of a temporary export                      This final rule also adopts the                        Specifically, in § 762.2 (Records to be
                                           is covered by the temporary export                      following changes for BIS license                      retained), this final rule redesignates
                                           authorization, so it not accurate to                    applications in response to comments                   paragraph (a)(11) as (a)(12) and adds a
                                           describe those as a ‘‘permanent return’’                received. As described above, BIS                      new paragraph (a)(11) to specify the
                                           or as a ‘‘permanent import.’’                           agreed to include changes in § 758.10 to               following information must be kept as
                                              Also in § 758.10, this final rule                    account for temporary imports that                     an EAR record: Serial number, make,
                                           clarifies the introductory text of                      would require a BIS license for                        model, and caliber for any firearm
                                           paragraph (b) by deleting the title ‘‘the               subsequent export.                                     controlled in ECCN 0A501.a and for
                                           Port Directors’’ before U.S. Customs and                   In Supplement No. 2 to part 748—                    shotguns with barrel length less than 18
                                           Border Protection. This change is made                  Unique Application and Submission                      inches controlled in 0A502. The
                                           because U.S. Customs and Border                         Requirements, this final rule adds a new               ‘‘exporter’’ or any other ‘‘party to the
                                           Protection Center Directors may also                    paragraph (z) (Exports of firearms and                 transaction’’ that creates or receives
                                           have an enforcement role in addition to                 certain shotguns temporarily in the                    such records is the person responsible
                                           Port Directors, so referencing U.S.                     United States) describing a certification              for retaining this record.
                                           Customs and Border Protection is                        requirement for applicants to include in                  In § 762.3 (Records exempt from
                                           sufficient. In paragraph (b)(2), this final             Block 24 of the BIS license application.               recordkeeping requirements), this final
                                           rule revises the phrase ‘‘as requested by               The certification requirement is an                    rule narrows the scope of an exemption
                                           CBP’’ with the phrase ‘‘upon request by                 acknowledgement by the applicant that                  from the EAR recordkeeping
                                           CBP.’’ In the last sentence of paragraph                the firearms in the application will not               requirements for warranty certificates.
                                           (b)(2), this final rule removes the word                be shipped from or manufactured in                     This final rule narrows this exclusion to
                                           ‘‘inspection’’ after the phrase                         Russia, Georgia, Kazakhstan,                           specify the exclusion from the
                                           ‘‘additional requirements,’’ because the                Kyrgyzstan, Moldova, Turkmenistan,                     recordkeeping requirements does not
                                           word was not intended to be included                    Ukraine, or Uzbekistan, except for any                 apply (meaning the record will need to
                                           in the cross reference to § 758.1(g)(4).                firearm model controlled by 0A501 that                 be kept under the recordkeeping
                                              This final rule also revises § 758.10 to             is specified under Annex A in                          requirements) for warranty certificates
                                           add references to License Exception RPL                 Supplement No. 4 to part 740. The                      for any firearm controlled in ECCN
                                           and BIS licenses as two additional EAR                  certification also requires that the                   0A501.a and for shotguns with barrel
                                           authorizations as valid purposes for a                  applicant and other parties to the                     length less than 18 inches controlled in
                                           temporary import under this section.                    transaction will comply with the                       0A502, when the certificate issued is for
                                           This final rule does this by revising                   requirements in paragraphs (z)(2)(i) and               an address located outside the United
                                           paragraph (b)(1)(i) to broaden the                      (ii) of Supplement No. 2 to part 748.                  States. This is an expansion of the EAR
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                                           number of permissible statements to                     This final rule adds paragraph (z)(2)                  recordkeeping requirements, but
                                           allow for three statements (instead of                  (Requirements) to describe the                         because warranty certificates are already
                                           the single statement that was included                  requirements that will be applicable for               created and kept as part of normal
                                           in the Commerce May 24 rule). This                      any license for the export of firearms                 business recordkeeping purposes, this
                                           final rule adds new paragraphs                          controlled by ECCN 0A501.a or .b, or                   expansion is not anticipated to create
                                           (b)(1)(i)(A) (to account for License                    shotguns with a barrel length less than                any new or increased burden under the


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                                           EAR, because it is a document that is                   necessary, to select regulatory                        approximately 43.8 minutes for a
                                           created in the normal course of business                approaches that maximize net benefits                  manual or electronic submission. Using
                                           and should be easily accessible. These                  (including potential economic,                         the State Department’s estimate that
                                           recordkeeping requirements will assist                  environmental, public health and safety                10,000 license applications annually
                                           the United States Government because it                 effects, distribute impacts, and equity).              will move from the USML to the CCL
                                           is important for law enforcement to                     Executive Order 13563 emphasizes the                   and BIS’s estimate in this final rule that
                                           have access to this information.                        importance of quantifying both costs                   6,000 of the 10,000 license applications
                                                                                                   and benefits, of reducing costs, of                    will require licenses under the EAR,
                                           Conforming Change To Add a New
                                                                                                   harmonizing rules, and of promoting                    that constitutes a burden of 4,380 hours
                                           Definition for Use in ECCNs 0A501 and
                                                                                                   flexibility. This final rule has been                  for this collection under the EAR. Those
                                           0A502 (§ 772.1)
                                                                                                   designated a ‘‘significant regulatory                  companies are currently using the State
                                              This final rule also adds a new                      action,’’ although not economically                    Department’s forms associated with
                                           definition to the definition part of the                significant, under section 3(f) of                     OMB Control No. 1405–0003 for which
                                           EAR to respond to the comments                          Executive Order 12866. Although the                    the burden estimate is 1 hour per
                                           received on the Commerce May 24 rule:                   items identified in this final rule have               submission, which for 10,000
                                              In § 772.1 (Definitions of terms as                  been determined to no longer warrant                   applications results in a burden of
                                           used in the Export Administration                       ITAR control by the President, the                     10,000 hours. Thus, subtracting the BIS
                                           Regulations), this final rule adds a                    proliferation of such items has been                   burden hours of 4,380 from the State
                                           definition of ‘‘complete breech                         identified as a threat to domestic and                 Department burden hours of 10,000, the
                                           mechanisms.’’ The new definition                        international security if not classified               burden is reduced by 5,620 hours. The
                                           specifies that this is a mechanism for                  and controlled at the appropriate level                other 4,000 applicants may use license
                                           opening and closing the breech of a                     under the EAR. Commerce estimates                      exceptions under the EAR or the ‘‘no
                                           breech-loading firearm, especially of a                 that the combined effect of all rules to               license required’’ designation, so these
                                           heavy-caliber weapon. As a conforming                   be published adding items removed                      applicants will not be required to
                                           change, this final rule also adds double                from the ITAR to the EAR will increase                 submit license applications under the
                                           quotation marks around the term where                   the number of license applications to be               EAR.
                                           it is used in ECCNs 0A501 and 0A502.                    submitted to BIS by approximately
                                                                                                                                                             In addition to the reduced burden
                                           Export Control Reform Act of 2018                       30,000 annually.
                                                                                                                                                          hours of 5,620 hours, there will also be
                                                                                                      This final rule does not contain
                                              On August 13, 2018, the President                    policies with Federalism implications as               direct cost savings to the State
                                           signed into law the John S. McCain                      that term is defined under E.O. 13132.                 Department that will result from the
                                           National Defense Authorization Act for                     To control these items under the EAR                10,000 license applications no longer
                                           Fiscal Year 2019, which included the                    that no longer warrant ITAR control,                   being required under the ITAR once
                                           Export Control Reform Act of 2018                       appropriate controls on the CCL needed                 these items are moved to the EAR. The
                                           (ECRA) (50 U.S.C. 4801–4852) that                       to be included in the Department of                    Department of State charges a
                                           provides the legal basis for BIS’s                      Commerce final rule. This includes                     registration fee to apply for a license
                                           principal authorities and serves as the                 creating new ECCNs and revising                        under the ITAR. Pursuant to the AECA,
                                           authority under which BIS issues this                   certain existing ECCNs, as well as                     ITAR, and associated delegations of
                                           rule. As set forth in Section 1768 of                   making other changes to the EAR to                     authority, every person who engages in
                                           ECRA, all delegations, rules,                           control items that will be moved from                  the business of brokering activities,
                                           regulations, orders, determinations,                    these three USML categories to the CCL                 manufacturing, exporting, or
                                           licenses, or other forms of                             once the section 38(f) notification                    temporarily importing any defense
                                           administrative action that have been                    process is completed and a final rule is               articles or defense services must register
                                           made, issued, conducted, or allowed to                  published and becomes effective.                       with the Department of State and pay a
                                           become effective under the Export                       Adding new controls and other                          registration fee. The Department of State
                                           Administration Act of 1979 (50 U.S.C.                   requirements to the EAR imposes                        adopted the current fee schedule to
                                           4601 et seq.) (as in effect prior to August             regulatory burdens on exporters and                    align the registration fees with the cost
                                           13, 2018 and as continued in effect                     some other parties involved with those                 of licensing, compliance, and other
                                           pursuant to the International Emergency                 items, but compared to the burdens                     related activities. The Department of
                                           Economic Powers Act (50 U.S.C. 1701 et                  these exporters and other parties faced                Commerce will incur additional costs to
                                           seq.) and Executive Order 13222 of                      under the ITAR, these regulatory                       administer these controls and process
                                           August 17, 2001, 3 CFR, 2001 Comp., p.                  burdens, including financial costs, will               license applications. However, the
                                           783 (2002), as amended by Executive                     be reduced significantly. The EAR is a                 Department of Commerce does not
                                           Order 13637 of March 8, 2013, 78 FR                     more flexible regulatory structure                     charge a registration fee to apply for a
                                           16129 (March 13, 2013), and as                          whereby the items can still be                         license under the EAR, and we are
                                           extended by the Notice of August 8,                     controlled appropriately, but in a much                unable to estimate the increase in costs
                                           2018, 83 FR 39871 (August 13, 2018)),                   more efficient way that will                           to the Department of Commerce to
                                           or the Export Administration                            significantly reduce the burdens on                    process the new license applications.
                                           Regulations, and are in effect as of                    exporters and other parties compared to                Therefore, we are unable to provide an
                                           August 13, 2018, shall continue in effect               the regulatory burdens they faced when                 estimate of the net change in resource
                                           according to their terms until modified,                the items were ‘‘subject to the ITAR.’’                costs to the government from moving
                                           superseded, set aside, or revoked under                 Deregulatory does not mean a decontrol                 these items from the ITAR to the EAR.
                                           the authority of ECRA.                                  of these items.                                        It is the case, however, that the
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                                                                                                      For those items in USML Categories I,               movement of these items from the ITAR
                                           Executive Order Requirements                            II, and III that will move by this rule to             will result in a permanent and recurring
                                              Executive Orders 13563 and 12866                     the CCL, BIS will be collecting the                    direct transfer of $2,500,000 per year
                                           direct agencies to assess all costs and                 necessary information using the form                   from the government to the exporting
                                           benefits of available regulatory                        associated with OMB Control No. 0694–                  public, less the increased cost to
                                           alternatives and, if regulation is                      0088. BIS estimates that this form takes               taxpayers, because they will no longer


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                                           pay fees to the State Department for                    comparisons under E.O. 13771, the                      applications; License Exceptions and
                                           licenses and there is no fee charged by                 value of these costs savings in 2016                   Exclusions (control number 0694–0137);
                                           the Department of Commerce to apply                     dollars is $1,353,574. Assuming a 7%                   Import Certificates and End-User
                                           for a license.                                          discount rate, the present value of these              Certificates (control number 0694–
                                                                                                   cost savings in perpetuity is                          0093); Five Year Records Retention
                                           Estimated Cost Savings
                                                                                                   $19,336,771. Since the costs savings of                Period (control number 0694–0096); and
                                              For purposes of E.O. 13771 of January                this rule are expected to be permanent                 the U.S. Census Bureau collection for
                                           30, 2017 (82 FR 9339), the Department                   and recurring, the annualized value of                 the Automated Export System (AES)
                                           of State and Department of Commerce                     these cost savings is also $1,353,574 in               Program (control number 0607–0152).
                                           final rules are expected to be ‘‘net                    2016 dollars.                                             This final rule will affect the
                                           deregulatory actions.’’ The Department                     For purposes of the Department of                   information collection, under control
                                           of Commerce has conducted this                          State, the ‘‘net deregulatory actions’’                number 0694–0088, associated with the
                                           analysis in close consultation with the                 will result in a permanent and recurring               multi-purpose application for export
                                           Department of State, because of how                     cost savings of $1,250,000 per year, and               licenses. This collection carries a
                                           closely linked the two final rules are for              a reduction in burden hours by 2,810                   burden estimate of 43.8 minutes for a
                                           the regulated public and the burdens                    hours. The reduction in burden hours                   manual or electronic submission for a
                                           imposed under the U.S. export control                   by 2,810 will result in an additional cost             burden of 31,833 hours. BIS believes
                                           system.                                                 savings of $126,281 to the exporting                   that the combined effect of all rules to
                                              E.O. 13771 and guidance provided to                  public. The total cost savings will be                 be published adding items removed
                                           the agencies on interpreting the                        $1,376,281 in present (2017) dollars. To               from the ITAR to the EAR will be an
                                           intended scope of the E.O. do not use                   allow for cost comparisons under E.O.                  increase in the number of license
                                           the term ‘‘net deregulatory action,’’ but               13771, the value of these costs savings                applications to be submitted by
                                           rather refer to deregulatory actions. As                in 2016 dollars is $1,353,574. Assuming                approximately 30,000 annually,
                                           outlined above, the Departments of State                a 7% discount rate, the present value of               resulting in an increase in burden hours
                                           and Commerce final rules are closely                    these cost savings in perpetuity is                    of 21,900 (30,000 transactions at 43.8
                                           linked and are best viewed as a                         $19,336,771. Since the costs savings of                minutes each) under this control
                                           consolidated deregulatory action                        this rule are expected to be permanent                 number. For those items in USML
                                           although being implemented by two                       and recurring, the annualized value of                 Categories I, II, and III that will move by
                                           different agencies. Also, as noted above,               these cost savings is also $1,353,574 in               this rule to the CCL, the State
                                           items may not be subject to both sets of                2016 dollars.                                          Department estimates that 10,000
                                           regulations. Therefore, the movement of                    The Department of Commerce in the                   applicants annually will move from the
                                           a substantial number of items from the                  Commerce May 24 rule welcomed                          USML to the CCL. BIS estimates that
                                           USML determined to no longer warrant                    comments from the public on the                        6,000 of the 10,000 applicants will
                                           ITAR control to the CCL will result in                  analysis under E.O. 13771 described                    require licenses under the EAR,
                                           a significant reduction of regulatory                   here. The Commerce May 24 rule noted                   resulting in a burden of 4,380 hours
                                           burden for exporters and other persons                  that it would be helpful to receive                    under this control number. Those
                                           involved with such items that were                      comments from companies that will no                   companies are currently using the State
                                           previously ‘‘subject to the ITAR.’’                     longer need to register with the                       Department’s forms associated with
                                              For purposes of E.O. 13771, the                      Department of State because the                        OMB Control No. 1405–0003 for which
                                           Departments of State and Commerce                       company only deals with items under                    the burden estimate is 1 hour per
                                           have agreed to equally share the cost                   USML Category I, II, and/or III that will              submission, which for 10,000
                                           burden reductions that will result from                 move to the CCL. Comments were also                    applications results in a burden of
                                           the publication of these two integral                   encouraged on any of the other                         10,000 hours. Thus, subtracting the BIS
                                           deregulatory actions. The Department of                 collections that may be relevant for the               burden hours of 4,380 from the State
                                           State will receive 50% and the                          items that will move from the USML to                  Department burden hours of 10,000, the
                                           Department of Commerce will receive                     the CCL. The Commerce May 24 rule                      burden will be reduced by 5,620 hours.
                                           50% for purposes of calculating the                     also noted that it would be helpful to                 (See the description above for the E.O.
                                           deregulatory benefit of these two                       receive data on Department of State                    13771 analysis for additional
                                           integral actions.                                       forms that will no longer need to be                   information on the cost benefit savings
                                              Under this agreed formulation, the                   submitted.                                             and designation of the two rules as ‘‘net
                                           burden reductions will be calculated as                                                                        deregulatory actions’’.)
                                           follows:                                                Paperwork Reduction Act                                   This final rule will also affect the
                                              For purposes of the Department of                    Requirements                                           information collection under control
                                           Commerce, the ‘‘net deregulatory                           Notwithstanding any other provision                 number 0694–0137, addressing the use
                                           actions’’ will result in a permanent and                of law, no person may be required to                   of license exceptions and exclusions.
                                           recurring cost savings of $1,250,000 per                respond to or be subject to a penalty for              Some parts and components formerly on
                                           year, and a reduction in burden hours                   failure to comply with a collection of                 the USML, and ‘‘software’’ and
                                           by 2,810 hours. The reduction in burden                 information, subject to the requirements               ‘‘technology’’ for firearms and their
                                           hours by 2,810 will result in an                        of the Paperwork Reduction Act of 1995                 parts and components formerly on the
                                           additional cost savings of 1 $126,281 to                (44 U.S.C. 3501 et seq.) (PRA), unless                 USML, will become eligible for License
                                           the exporting public. The total cost                    that collection of information displays a              Exception STA under this final rule.
                                           savings will be $1,376,281 in present                   currently valid OMB control number.                    Additionally, test, inspection and
                                           (2017) dollars. To allow for cost                          This final regulation involves four                 production equipment, and ‘‘software’’
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                                                                                                   collections currently approved by OMB                  and ‘‘technology’’ related to those
                                             1 The Department of Commerce used the                 under these BIS collections and control                firearms and ‘‘parts’’ may become
                                           Department of State’s estimate that the burden hour     numbers: Simplified Network                            eligible for License Exception STA. BIS
                                           cost for completing a license application is $44.94
                                           per hour. Multiplied by the estimated burden hour
                                                                                                   Application Processing System (control                 believes that the increased use of
                                           savings of 2,810 equals a cost savings to the public    number 0694–0088), which includes,                     License Exception STA resulting from
                                           of $126,281.                                            among other things, license                            the combined effect of all rules to be


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                                           published adding items removed from                     burden will likely be reduced compared                 will be necessary to facilitate the export
                                           the ITAR to the EAR will increase the                   to a license requirement under the                     after a temporary import. The temporary
                                           burden associated with control number                   ITAR. In particular, license applications              import entry clearance requirement in
                                           0694–0137 by about 23,858 hours                         for exports of ‘‘technology’’ controlled               § 758.10 will also conform to the
                                           (20,450 transactions at 1 hour and 10                   by ECCN 0E501 will likely be less                      requirements in License Exception TMP
                                           minutes each).                                          complex and burdensome than the                        under § 740.9(b)(5), License Exception
                                              BIS expects that this increase in                    authorizations required to export ITAR-                RPL under § 740.9(b)(4), and for BIS
                                           burden as a result of the increased use                 controlled technology, i.e.,                           licenses under paragraph (z) in
                                           of License Exception STA will be more                   Manufacturing License Agreements and                   Supplement No. 2 to part 748, so
                                           than offset by a reduction in burden                    Technical Assistance Agreements (as a                  providing this information to CBP at
                                           hours associated with approved                          result of the differences in the scope of              entry after a temporary import will
                                           collections related to the ITAR. This                   the ITAR’s and the EAR’s technology                    facilitate the export phase of a
                                           final rule addresses controls on firearms               controls).                                             temporary import under License
                                           and ‘‘parts,’’ production equipment and                    This final rule will affect the                     Exceptions TMP, RPL and BIS licenses.
                                           ‘‘parts’’ and related ‘‘software’’ and                  information collection under control                   At the time of entry for a temporary
                                           ‘‘technology’’ and specifically non-                    number 0694–0093, import certificates                  import, the importer will need to
                                           automatic and semi-automatic firearms                   and end-user certificates because of the               provide a statement to CBP indicating
                                           and their ‘‘parts’’ and ‘‘parts,’’                      changes included in this final rule.                   that this shipment was being
                                           ‘‘components,’’ ‘‘attachments,’’ and                    First, this regulation will require that for           temporarily imported in accordance
                                           ‘‘accessories’’ that are used in both                   shipments requiring a license of                       with the EAR for subsequent export in
                                           semi-automatic and fully automatic                      firearms, ‘‘parts,’’ ‘‘components,’’
                                                                                                                                                          accordance with and under the
                                           firearms. BIS has made this                             ‘‘accessories,’’ and ‘‘attachments’’
                                                                                                                                                          authority of License Exceptions TMP,
                                           determination on the basis that with few                controlled under ECCN 0A501, the
                                                                                                                                                          RPL, or a BIS license. The entry
                                           exceptions, the ITAR allows exemptions                  exporter must obtain a copy of the
                                                                                                                                                          clearance requirement will be an EAR
                                           from license requirements only for                      import certificate or permit if the
                                                                                                                                                          requirement and any false
                                           exports to Canada, and requires a                       importing country requires one for
                                                                                                                                                          representation made under the new
                                           specific State Department authorization                 importing firearms. License applications
                                                                                                                                                          § 758.10 will be a violation of the EAR.
                                           for most exports of firearms used for                   for which an import or end-user
                                                                                                                                                          The importer will also need to provide
                                           hunting and recreational purposes and                   certificate is already required under
                                           exports of ‘‘parts,’’ ‘‘components,’’                   § 748.12 of the EAR will not be subject                CBP an invoice or other appropriate
                                           ‘‘attachments,’’ and ‘‘accessories’’ that               to this new requirement. BIS expects                   import-related documentation (or
                                           are common to military fully automatic                  that this requirement will result in no                electronic equivalents) that includes a
                                           firearms and their semi-automatic                       change in the burden under control                     complete list and description of the
                                           civilian counterparts, even when                        number 0694–0093. Second, this final                   items being imported, including their
                                           destined to NATO and other close allies                 rule also will require that prior to                   model, make, caliber, serial numbers,
                                           and also requires State Department                      departure, travelers leaving the United                quantity, and U.S. dollar value. If
                                           authorization for the exports necessary                 States and intending to temporarily                    imported for a trade show, exhibition,
                                           to produce ‘‘parts’’ and ‘‘components’’                 export firearms, parts, and components                 demonstration, or testing, the temporary
                                           for defense articles in the inventories of              controlled under ECCN 0A501 under                      importer will need to provide CBP with
                                           the United States and its NATO and                      License Exception BAG declare the                      the relevant invitation or registration
                                           other close allies. However, under the                  firearms and parts to a CBP officer and                documentation for the event and an
                                           EAR, as specified in this final rule, a                 present the firearms and parts to the                  accompanying letter that details the
                                           number of low-level parts will be                       CBP officer for inspection. As the State               arrangements to maintain effective
                                           eligible for export under License                       Department also requires that persons                  control of the firearms while they are
                                           Exception STA and will therefore not                    temporarily exporting firearms, parts,                 temporarily in the United States. If
                                           require a license to such destinations.                 and components declare the items to                    imported for servicing or replacement,
                                              This final rule will also affect the                 CBP, BIS does not expect that the                      the temporary importer will need to
                                           information collection under control                    requirement in this final rule will result             provide CBP with the name, address
                                           number 0694–0096, for the five-year                     in a change in burden under control                    and contact information (telephone
                                           recordkeeping retention because of two                  number 0694–0093.                                      number and/or email) of the
                                           changes this rule will make to part 762                    Third, this final rule will affect the              organization or individual in the U.S.
                                           of the EAR. This rule adds a new                        information collection under control                   that will be receiving the item for
                                           paragraph (a)(11) to § 762.2 to specify                 number 0694–0093 by creating a new                     servicing or replacement. Lastly, at the
                                           the following information must be kept                  temporary import entry clearance                       time of exportation, upon request by
                                           as an EAR record: Serial number, make,                  requirement by adding § 758.10. This                   CBP, the exporter, or an agent acting on
                                           model, and caliber for any firearm                      new section will be limited to items in                his or her behalf, will have to provide
                                           controlled in ECCN 0A501.a and for                      this rule that are both ‘‘subject to the               the entry document number or a copy of
                                           shotguns with barrel length less than 18                EAR’’ and on the United States                         the CBP document under which the
                                           inches controlled in 0A502. This rule                   Munitions Import List (USMIL) in 27                    ‘‘item’’ ‘‘subject to the EAR’’ on the
                                           will also require warranty certificates                 CFR 447.21. To allow such items to                     USMIL was temporarily imported under
                                           for these items to be retained for EAR                  temporarily enter the U.S., this rule                  this entry clearance requirement. As the
                                           recordkeeping. However, because these                   implements a process to collect                        State Department also requires that
                                           records are already created and kept as                 identifying information for the sole                   persons temporarily importing items in
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                                           part of normal business recordkeeping,                  purpose of tracking items being                        this rule provide the same type of
                                           this expansion is not anticipated to                    temporarily imported for subsequent                    information to CBP, BIS expects that the
                                           create any new or increased burden                      export under License Exceptions TMP,                   requirement in this final rule will result
                                           under the EAR.                                          RPL, and BIS licenses. BIS will not                    in a change in burden under control
                                              Even in situations in which a license                impose a license requirement for such                  number 0694–0093, but because of the
                                           will be required under the EAR, the                     imports, but collecting this information               decrease under the burden imposed


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                                           under the State collection, the burden                  National Defense Authorization Act for                 PART 732—STEPS FOR USING THE
                                           on the public will not change.                          Fiscal Year 2019, this action is exempt                EAR
                                              This final rule will also affect the                 from the Administrative Procedure Act
                                           information collection under control                    (APA) (5 U.S.C. 553) requirements for                  ■ 1. The authority citation for 15 CFR
                                           number 0607–0152, for filing EEI in                     notice of proposed rulemaking,                         part 732 is revised to read as follows:
                                           AES because of one change this final                    opportunity for public participation,                    Authority: 50 U.S.C. 4801–4852; 50 U.S.C.
                                           rule makes to part 758 of the EAR.                      and delay in effective date.                           4601 et seq.; 50 U.S.C. 1701 et seq.; E.O.
                                           Under new § 758.1(b)(9), EEI will be                       Because a notice of proposed                        13026, 61 FR 58767, 3 CFR, 1996 Comp., p.
                                           required for all exports of items                       rulemaking and an opportunity for                      228; E.O. 13222, 66 FR 44025, 3 CFR, 2001
                                           controlled under ECCNs 0A501.a or .b,                   public comment are not required to be                  Comp., p. 783.
                                           shotguns with a barrel length less than                 given for this rule by the APA or any
                                           18 inches controlled under ECCN                                                                                ■ 2. Section 732.2 is amended by adding
                                                                                                   other law, the analytical requirements of              one sentence to the end of paragraph (b)
                                           0A502, or ammunition controlled under                   the Regulatory Flexibility Act, 5 U.S.C.
                                           ECCN 0A505 except for .c, regardless of                                                                        introductory text to read as follows:
                                                                                                   601, et seq., are not applicable.
                                           value or destination, including exports                 Accordingly, no regulatory flexibility                 § 732.2   Steps regarding scope of the EAR.
                                           to Canada. Exports of these USML                        analysis is required and none has been                 *      *    *     *     *
                                           firearms and ammunition prior to                        prepared.                                                 (b) * * * The following also remains
                                           moving to the CCL required filing EEI in
                                                                                                   List of Subjects                                       subject to the EAR: ‘‘Software’’ or
                                           AES for all items ‘‘subject to the ITAR,’’
                                                                                                                                                          ‘‘technology’’ for the production of a
                                           so the burden in this collection will not
                                                                                                   15 CFR Parts 732, 740, and 748                         firearm, or firearm frame or receiver,
                                           change for the exporter.
                                              This final rule includes a requirement                                                                      controlled under ECCN 0A501, as
                                                                                                     Administrative practice and                          referenced in § 734.7(c) of the EAR).
                                           that, for all exports of temporary exports              procedure, Exports, Reporting and
                                           from the United States or when the                      recordkeeping requirements.                            *      *    *     *     *
                                           license or other approval contains a
                                           condition requiring all or some of this                 15 CFR Part 734                                        PART 734—SCOPE OF THE EXPORT
                                           information to be filed as EEI in AES of                                                                       ADMINISTRATION REGULATIONS
                                                                                                     Administrative practice and
                                           items controlled under ECCNs 0A501.a                    procedure, Exports, Inventions and
                                           or .b, or shotguns with a barrel length                                                                        ■ 3. The authority citation for 15 CFR
                                                                                                   patents, Research, Science and                         part 734 is revised to read as follows:
                                           less than 18 inches controlled under                    technology.
                                           ECCN 0A502, in addition to any other                                                                             Authority: 50 U.S.C. 4801–4852; 50 U.S.C.
                                           required data for the associated EEI                    15 CFR Parts 736 and 772                               4601 et seq.; 50 U.S.C. 1701 et seq.; E.O.
                                           filing requirements, the exporter must                                                                         12938, 59 FR 59099, 3 CFR, 1994 Comp., p.
                                                                                                     Exports.                                             950; E.O. 13020, 61 FR 54079, 3 CFR, 1996
                                           provide to CBP the serial number, make,
                                                                                                                                                          Comp., p. 219; E.O. 13026, 61 FR 58767, 3
                                           model, and caliber for each firearm                     15 CFR Part 742                                        CFR, 1996 Comp., p. 228; E.O. 13222, 66 FR
                                           being exported. The Department of                                                                              44025, 3 CFR, 2001 Comp., p. 783; E.O.
                                           Commerce is carrying over the existing                    Exports, Terrorism.
                                                                                                                                                          13637, 78 FR 16129, 3 CFR, 2014 Comp., p.
                                           CBP filing requirements for items                       15 CFR Part 743                                        223; Notice of November 12, 2019, 84 FR
                                           transferred from the USML to the CCL.                                                                          61817 (November 13, 2019).
                                           The Department of Homeland Security                       Administrative practice and
                                           currently is collecting these data                      procedure, Reporting and recordkeeping                 ■ 4. Section 734.7 is amended by
                                           elements for firearms ‘‘subject to the                  requirements.                                          revising paragraph (a) introductory text
                                           ITAR’’ under OMB Control Number                                                                                and adding paragraph (c) to read as
                                                                                                   15 CFR Part 744                                        follows:
                                           1651–0010 (CBP Form 4457, Certificate
                                           of Registration for Personal Effects                      Exports, Reporting and recordkeeping                 § 734.7   Published.
                                           Taken Abroad). There is no change to                    requirements, Terrorism.
                                                                                                                                                             (a) Except as set forth in paragraphs
                                           the information being collected or to the                                                                      (b) and (c) of this section, unclassified
                                                                                                   15 CFR Parts 746 and 774
                                           burden hours as a result of this rule.                                                                         ‘‘technology’’ or ‘‘software’’ is
                                           Separate from this rule, CBP will update                  Exports, Reporting and recordkeeping                 ‘‘published,’’ and is thus not
                                           the information collection to reflect the               requirements.                                          ‘‘technology’’ or ‘‘software’’ subject to
                                           use of AES or some other simplified                                                                            the EAR, when it has been made
                                           electronic alternative to CBP Form 4457.                15 CFR Part 758
                                                                                                                                                          available to the public without
                                              Any comments regarding the                             Administrative practice and                          restrictions upon its further
                                           collection of information associated                    procedure, Exports, Reporting and                      dissemination such as through any of
                                           with this final rule, including                         recordkeeping requirements.                            the following:
                                           suggestions for reducing the burden,
                                           may be sent to Jasmeet K. Seehra, Office                15 CFR Part 762                                        *      *    *      *     *
                                           of Management and Budget (OMB), by                                                                                (c) The following remains subject to
                                                                                                     Administrative practice and                          the EAR: ‘‘software’’ or ‘‘technology’’ for
                                           email to Jasmeet_K._Seehra@                             procedure, Business and industry,
                                           omb.eop.gov, or by fax to (202) 395–                                                                           the production of a firearm, or firearm
                                                                                                   Confidential business information,                     frame or receiver, controlled under
                                           7285.                                                   Exports, Reporting and recordkeeping                   ECCN 0A501, that is made available by
                                           Administrative Procedure Act and                        requirements.                                          posting on the internet in an electronic
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                                           Regulatory Flexibility Act                                For the reasons stated in the                        format, such as AMF or G-code, and is
                                           Requirements                                            preamble, parts 732, 734, 736, 740, 742,               ready for insertion into a computer
                                             Pursuant to section 1762 of the Export                743, 744, 746, 748, 758, 762, 772, and                 numerically controlled machine tool,
                                           Control Reform Act of 2018 (Title XVII,                 774 of the Export Administration                       additive manufacturing equipment, or
                                           Subtitle B of Pub. L. 115–232), which                   Regulations (15 CFR parts 730–774) are                 any other equipment that makes use of
                                           was included in the John S. McCain                      amended as follows:                                    the ‘‘software’’ or ‘‘technology’’ to


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                                           produce the firearm frame or receiver or                automatic firearm) is incorporated into                section, the entry clearance
                                           complete firearm.                                       the firearm or is to be reexported or                  requirements in § 758.1(b)(9) do not
                                                                                                   transferred (in-country) with the firearm              permit the temporary import of:
                                           PART 736—GENERAL PROHIBITIONS                           with ‘‘knowledge’’ the part or                         Firearms controlled in ECCN 0A501.a or
                                                                                                   component will be subsequently                         .b that are shipped from or
                                           ■ 5. The authority citation for 15 CFR                  incorporated into the firearm. (See                    manufactured in a Country Group D:5
                                           part 736 is revised to read as follows:                 USML Category I(h)(2)). In such                        country, or that are shipped from or
                                             Authority: 50 U.S.C. 4801–4852; 50 U.S.C.             instances, no license exceptions are                   manufactured in Russia, Georgia,
                                           4601 et seq.; 50 U.S.C. 1701 et seq.; E.O.              available except for License Exception                 Kazakhstan, Kyrgyzstan, Moldova,
                                           12938, 59 FR 59099, 3 CFR, 1994 Comp., p.               GOV (§ 740.11(b)(2)(ii)).                              Turkmenistan, Ukraine, or Uzbekistan
                                           950; E.O. 13020, 61 FR 54079, 3 CFR, 1996                  (22) The export, reexport, or transfer
                                           Comp., p. 219; E.O. 13026, 61 FR 58767, 3                                                                      (except for any firearm model
                                           CFR, 1996 Comp., p. 228; E.O. 13222, 66 FR
                                                                                                   (in-country) of any item classified under              designation (if assigned) controlled by
                                           44025, 3 CFR, 2001 Comp., p. 783; E.O.                  a 0x5zz ECCN when a party to the                       0A501 that is specified under Annex A
                                           13338, 69 FR 26751, 3 CFR, 2004 Comp., p.               transaction is designated on the                       in Supplement No. 4 to this part); or
                                           168; Notice of May 8, 2019, 84 FR 20537                 Department of the Treasury, Office of                  shotguns with a barrel length less than
                                           (May 10, 2019); Notice of November 12, 2019,            Foreign Assets Control (OFAC),                         18 inches controlled in ECCN 0A502
                                           84 FR 61817 (November 13, 2019).                        Specially Designated Nationals and                     that are shipped from or manufactured
                                           ■ 6. Supplement No. 1 to part 736 is                    Blocked Persons (SDN) list under the                   in a Country Group D:5 country, or from
                                           amended by revising paragraph (e)(3) to                 designation [SDNT], pursuant to the                    Russia, Georgia, Kazakhstan,
                                           read as follows:                                        Narcotics Trafficking Sanctions                        Kyrgyzstan, Moldova, Turkmenistan,
                                                                                                   Regulations, 31 CFR part 536, or under                 Ukraine, or Uzbekistan, because of the
                                           Supplement No. 1 to Part 736—General                    the designation [SDNTK], pursuant to
                                           Orders                                                                                                         exclusions in License Exception TMP
                                                                                                   the Foreign Narcotics Kingpin Sanctions                under paragraph (b)(5) of this section.
                                           *      *     *       *      *                           Regulations, 31 CFR part 598.
                                              (e) * * *
                                                                                                                                                          *       *     *     *    *
                                                                                                   *     *     *     *     *                                 (b) * * *
                                              (3) Prior commodity jurisdiction
                                                                                                   ■ 9. Section 740.9 is amended by:                         (1) * * * No provision of paragraph
                                           determinations. If the U.S. State Department
                                                                                                   ■ a. Adding five sentences at the end of               (b) of this section, other than paragraph
                                           has previously determined that an item is not
                                           subject to the jurisdiction of the ITAR and             paragraph (a) introductory text;                       (b)(3), (4), or (5), may be used to export
                                           the item was not listed in a then existing              ■ b. Adding one sentence at the end of                 firearms controlled by ECCN 0A501.a,
                                           ‘‘018’’ series ECCN (for purposes of the ‘‘600          paragraph (b)(1) introductory text;                    .b, or shotguns with a barrel length less
                                           series’’ ECCNs, or the 0x5zz ECCNs) or in a             ■ c. Adding paragraph (b)(5); and
                                                                                                                                                          than 18 inches controlled in ECCN
                                           then existing ECCN 9A004.b or related                   ■ d. Redesignating notes 1 through 3 to
                                                                                                                                                          0A502.
                                           software or technology ECCN (for purposes of            paragraph (b) as notes 2 through 4 to
                                           the 9x515 ECCNs), then the item is per se not           paragraph (b).                                         *       *     *     *    *
                                           within the scope of a ‘‘600 series’’ ECCN, a               The additions read as follows:                         (5) Exports of firearms and certain
                                           0x5zz ECCN, or a 9x515 ECCN. If the item                                                                       shotguns temporarily in the United
                                           was not listed elsewhere on the CCL at the              § 740.9 Temporary imports, exports,                    States. This paragraph (b)(5) authorizes
                                           time of such determination (i.e., the item was          reexports, and transfers (in-country) (TMP).           the export of no more than 75 end item
                                           designated EAR99), the item shall remain                *      *     *     *     *                             firearms per shipment controlled by
                                           designated as EAR99 unless specifically                    (a) * * * This paragraph (a) does not               ECCN 0A501.a or .b, or shotguns with
                                           enumerated by BIS or DDTC in an                         authorize any export of a commodity                    a barrel length less than 18 inches
                                           amendment to the CCL or to the USML,                    controlled under ECCNs 0A501.a or .b,
                                           respectively.
                                                                                                                                                          controlled in ECCN 0A502 that are
                                                                                                   or shotguns with a barrel length less                  temporarily in the United States for a
                                           *      *     *       *      *                           than 18 inches controlled under ECCN                   period not exceeding one year, provided
                                                                                                   0A502 to, or any export of such an item                that:
                                           PART 740—LICENSE EXCEPTIONS
                                                                                                   that was imported into the United States                  (i) The firearms were not shipped
                                           ■ 7. The authority citation for 15 CFR                  from, a country in Country Group D:5                   from or manufactured in a U.S. arms
                                           part 740 continues to read as follows:                  (Supplement No. 1 to this part), or from               embargoed country, i.e., destination
                                                                                                   Russia, Georgia, Kazakhstan,                           listed in Country Group D:5 in
                                             Authority: 50 U.S.C. 4801–4852; 50 U.S.C.
                                           4601 et seq.; 50 U.S.C. 1701 et seq.; 22 U.S.C.
                                                                                                   Kyrgyzstan, Moldova, Turkmenistan,                     Supplement No. 1 to this part;
                                           7201 et seq.; E.O. 13026, 61 FR 58767, 3 CFR,           Ukraine, or Uzbekistan. The only                          (ii) The firearms were not shipped
                                           1996 Comp., p. 228; E.O. 13222, 66 FR 44025,            provisions of this paragraph (a) that are              from or manufactured in Russia,
                                           3 CFR, 2001 Comp., p. 783.                              eligible for use to export such items are              Georgia, Kazakhstan, Kyrgyzstan,
                                                                                                   paragraph (a)(5) of this section                       Moldova, Turkmenistan, Ukraine, or
                                           ■ 8. Section 740.2 is amended by adding
                                                                                                   (‘‘Exhibition and demonstration’’) and                 Uzbekistan, except for any firearm
                                           paragraphs (a)(21) and (22) to read as
                                                                                                   paragraph (a)(6) of this section                       model controlled by 0A501 that is
                                           follows:
                                                                                                   (‘‘Inspection, test, calibration, and                  specified under Annex A in Supplement
                                           § 740.2 Restrictions on all License                     repair’’). In addition, this paragraph (a)             No. 4 to this part; and
                                           Exceptions.                                             may not be used to export more than 75                    (iii) The firearms are not ultimately
                                             (a) * * *                                             firearms per shipment. In accordance                   destined to a U.S. arms embargoed
                                             (21) The reexport or transfer (in-                    with the requirements in § 758.1(b)(9)                 country, i.e., destination listed in
                                           country) of firearms classified under                   and (g)(4) of the EAR, the exporter or its             Country Group D:5 in Supplement No.
                                           ECCNs 0A501 or 0A502 if a part or                       agent must provide documentation that                  1 to this part, or to Russia;
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                                           component that is not ‘‘subject to the                  includes the serial number, make,                         (iv) When the firearms entered the
                                           ITAR,’’ but would otherwise meet the                    model, and caliber of each firearm being               U.S. as a temporary import, the
                                           criteria in USML Category I(h)(2) (i.e.,                exported by filing these data elements in              temporary importer or its agent:
                                           parts and components specially                          an EEI filing in AES. In accordance with                  (A) Provided the following statement
                                           designed for conversion of a                            the exclusions in License Exception                    to U.S. Customs and Border Protection:
                                           semiautomatic firearm to a fully                        TMP under paragraph (b)(5) of this                     ‘‘This shipment will be exported in


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                                           accordance with and under the                           controlled in ECCN 0A502 that are                      ■ b. Adding note 2 to paragraph (b)(2);
                                           authority of License Exception TMP (15                  temporarily in the United States for                   and
                                           CFR 740.9(b)(5))’’;                                     servicing or replacement for a period                  ■ c. Redesignating note 1 to paragraph
                                              (B) Provided to U.S. Customs and                     not exceeding one year or the time it                  (c)(1) as note 3 to paragraph (c)(1) and
                                           Border Protection an invoice or other                   takes to service or replace the                        notes 1 and 2 to paragraph (e) as notes
                                           appropriate import-related                              commodity, whichever is shorter,                       4 and 5 to paragraph (e).
                                           documentation (or electronic                            provided that the requirements of                         The additions read as follows:
                                           equivalents) that includes a complete                   paragraph (b)(2) or (3) of this section are            § 740.11 Governments, international
                                           list and description of the firearms being              met and:                                               organizations, international inspections
                                           temporarily imported, including their                      (i) The firearms were not shipped                   under the Chemical Weapons Convention,
                                           model, make, caliber, serial numbers,                   from or manufactured in Russia,                        and the International Space Station (GOV).
                                           quantity, and U.S. dollar value; and                    Georgia, Kazakhstan, Kyrgyzstan,                          * * * Commodities listed in ECCN
                                              (C) Provided (if temporarily imported                Moldova, Turkmenistan, Ukraine, or                     0A501 are eligible only for transactions
                                           for a trade show, exhibition,                           Uzbekistan, except for any firearm                     described in paragraphs (b)(2)(i) and (ii)
                                           demonstration, or testing) to U.S.                      model controlled by 0A501 that is                      of this section. Any item listed in a
                                           Customs and Border Protection the                       specified under Annex A in Supplement                  0x5zz ECCN for export, reexport, or
                                           relevant invitation or registration                     No. 4 to this part;                                    transfer (in-country) to an E:1 country is
                                           documentation for the event and an                         (ii) When the firearms entered the                  eligible only for transactions described
                                           accompanying letter that details the                    U.S. as a temporary import, the                        in paragraphs (b)(2)(i) and (ii) solely for
                                           arrangements to maintain effective                      temporary importer or its agent:                       U.S. Government official use of this
                                           control of the firearms while they are in                  (A) Provided the following statement                section.
                                           the United States; and                                  to U.S. Customs and Border Protection:
                                              (v) In addition to the export clearance                                                                     *     *     *     *     *
                                                                                                   ‘‘This shipment will be exported in
                                           requirements of part 758 of the EAR, the                                                                          Note 2 to paragraph (b)(2): Items
                                                                                                   accordance with and under the
                                           exporter or its agent must provide the                                                                         controlled for NS, MT, CB, NP, FC, or AT
                                                                                                   authority of License Exception RPL (15                 reasons may not be exported, reexported, or
                                           import documentation related to                         CFR 740.10(b))’’;                                      transferred (in-country) to, or for the use of
                                           paragraph (b)(5)(iv)(B) of this section to                 (B) Provided to U.S. Customs and                    military, police, intelligence entities, or other
                                           U.S. Customs and Border Protection at                   Border Protection an invoice or other                  sensitive end users (e.g., contractors or other
                                           the time of export.                                     appropriate import-related                             governmental parties performing functions
                                             Note 1 to paragraph (b)(5): In addition to            documentation (or electronic                           on behalf of military, police, or intelligence
                                           complying with all applicable EAR                       equivalents) that includes a complete                  entities) of a government in a Country Group
                                           requirements for the export of commodities              list and description of the firearms being             E:1 or E:2 country.
                                           described in paragraph (b)(5) of this section,          temporarily imported, including their
                                           exporters and temporary importers should                                                                       *     *     *    *     *
                                                                                                   model, make, caliber, serial numbers,                  ■ 12. Section 740.14 is amended by
                                           contact U.S. Customs and Border Protection
                                           (CBP) at the port of temporary import or                quantity, and U.S. dollar value; and                   revising paragraph (b)(4) introductory
                                           export, or at the CBP website, for the proper              (C) Provided (if temporarily imported               text and paragraph (e) heading and
                                           procedures for temporarily importing or                 for servicing or replacement) to U.S.                  adding paragraphs (e)(3) and (4) to read
                                           exporting firearms controlled in ECCN                   Customs and Border Protection the                      as follows:
                                           0A501.a or .b or shotguns with a barrel length          name, address and contact information
                                           less than 18 inches controlled in ECCN                  (telephone number and/or email) of the                 § 740.14   Baggage (BAG).
                                           0A502, including regarding how to provide               organization or individual in the U.S.                 *      *    *      *    *
                                           any data or documentation required by BIS.              that will be receiving the item for                       (b) * * *
                                           *     *    *     *     *                                servicing or replacement; and                             (4) Tools of trade. Usual and
                                           ■ 10. Section 740.10 is amended by:                        (iii) In addition to the export                     reasonable kinds and quantities of tools,
                                           ■ a. Adding one sentence at the end of                  clearance requirements of part 758 of                  instruments, or equipment and their
                                           paragraph (b)(1); and                                   the EAR, the exporter or its agent must                containers and also technology for use
                                           ■ b. Adding paragraph (b)(4).                           provide the import documentation                       in the trade, occupation, employment,
                                             The additions read as follows:                        related to paragraph (b)(4)(iii)(B) of this            vocation, or hobby of the traveler or
                                                                                                   section to U.S. Customs and Border                     members of the household who are
                                           § 740.10 License Exception Servicing and                Protection at the time of export.                      traveling or moving. For special
                                           replacement of parts and equipment (RPL).                                                                      provisions regarding firearms and
                                                                                                     Note 1 to paragraph (b)(4): In addition to
                                           *     *     *     *     *                               complying with all applicable EAR                      ammunition, see paragraph (e) of this
                                             (b) * * *                                             requirements for the export of commodities             section. For special provisions regarding
                                             (1) * * * The export of firearms                      described in paragraph (b)(4) of this section,         encryption commodities and software
                                           controlled by ECCN 0A501.a or .b, or                    exporters and temporary importers should               subject to EI controls, see paragraph (f)
                                           shotguns with a barrel length less than                 contact U.S. Customs and Border Protection             of this section. For a special provision
                                           18 inches controlled in ECCN 0A502                      (CBP) at the port of temporary import or               that specifies restrictions regarding the
                                           temporarily in the United States for                    export, or at the CBP website, for the proper          export or reexport of technology under
                                           servicing and replacement may be                        procedures for temporarily importing or                this paragraph (b)(4), see paragraph (g)
                                           exported under paragraph (b)(2) or (3) of               exporting firearms controlled in ECCN
                                                                                                   0A501.a or .b or shotguns with a barrel length
                                                                                                                                                          of this section. For special provisions
                                           this section only if the additional                     less than 18 inches controlled in ECCN                 regarding personal protective equipment
                                           requirements in paragraph (b)(4) of this                0A502, including regarding how to provide              under ECCN 1A613.c or .d, see
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                                           section are also met.                                   any data or documentation required by BIS.             paragraph (h) of this section.
                                           *     *     *     *     *                                                                                      *      *    *      *    *
                                             (4) This paragraph (b)(4) authorizes                  *     *    *     *     *                                  (e) Special provisions for firearms and
                                           the export of firearms controlled by                    ■ 11. Section 740.11 is amended by:                    ammunition. * * *
                                           ECCN 0A501.a or .b, or shotguns with                    ■ a. Adding two sentences at the end of                   (3) A United States citizen or a
                                           a barrel length less than 18 inches                     the introductory text;                                 permanent resident alien leaving the


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                                           United States may export under this                        (2) The commodities being reexported                 (13) MC–105–01.
                                           License Exception firearms, ‘‘parts,’’                  are not controlled for NP, CB, MT, SI,                  (14) MC–112–02.
                                           ‘‘components,’’ ‘‘accessories,’’ or                     or CC reasons or described in ECCNs                     (15) MC–113–02.
                                                                                                                                                           (16) MC–115–1.
                                           ‘‘attachments’’ controlled under ECCN                   0A919, 3A001.b.2 or b.3 (except those
                                                                                                                                                           (17) MC–125/127.
                                           0A501 and ammunition controlled                         that are being reexported for use in civil              (18) MC–126.
                                           under ECCN 0A505.a, subject to the                      telecommunications applications),                       (19) MC–128.
                                           following limitations:                                  6A002, 6A003; or commodities                            (20) Saiga.
                                              (i) Not more than three firearms and                 classified under a 0x5zz ECCN; and                      (21) Soviet Model 38 carbine = SMCR.
                                           1,000 rounds of ammunition may be                       *      *    *     *    *                                (22) Soviet Model 44 carbine = SMCR.
                                           taken on any one trip.                                     (b) * * *                                            (23) Soviet Model 91/30 rifle = SMCR.
                                              (ii) ‘‘Parts,’’ ‘‘components,’’                         (2) * * *                                            (24) TOZ 18, .22 bolt action.
                                           ‘‘accessories,’’ and ‘‘attachments’’                                                                            (25) TOZ 55.
                                                                                                      (iv) Commodities described in ECCN                   (26) TOZ 78.
                                           exported pursuant to this paragraph                     0A504 that incorporate an image
                                           (e)(3) must be of a kind and limited to                                                                         (27) Ural Target, .22lr.
                                                                                                   intensifier tube;                                       (28) VEPR rifle.
                                           quantities that are reasonable for the                     (v) Commodities described in ECCN                    (29) Winchester Model 1895, Russian
                                           activities described in paragraph                       6A002; or                                              Model rifle = SMCR.
                                           (e)(3)(iv) of this section or that are                     (vi) Commodities classified under a                  (30) Sever—double barrel.
                                           necessary for routine maintenance of the                0x5zz ECCN.                                             (31) IZH18MH single barrel break action.
                                           firearms being exported.                                                                                        (32) MP–251 over/under rifle.
                                              (iii) The commodities must be with                   *      *    *     *    *                                (33) MP–221 double barrel rifle.
                                           the person’s baggage.                                   ■ 14. Section 740.20 is amended by                      (34) MP–141K.
                                              (iv) The commodities must be for the                 revising paragraph (b)(2)(ii) to read as                (35) MP–161K.
                                           person’s exclusive use and not for resale               follows:                                                (36) MTs 116–1.
                                           or other transfer of ownership or                                                                               (37) MTs 116M.
                                                                                                   § 740.20 License Exception Strategic                    (38) MTs 112–02.
                                           control. Accordingly, except as                         Trade Authorization (STA).                              (39) MTs 115–1.
                                           provided in paragraph (e)(4) of this                                                                            (40) MTs 113–02.
                                           section, firearms, ‘‘parts,’’                           *      *    *     *      *
                                                                                                     (b) * * *                                             (41) MTs 105–01.
                                           ‘‘components,’’ ‘‘accessories,’’                                                                                (42) MTs 105–05.
                                                                                                     (2) * * *
                                           ‘‘attachments,’’ and ammunition, may                      (ii) License Exception STA may not be                 (43) MTs 7–17 combination gun.
                                           not be exported permanently under this                  used for:                                               (44) MTs 7–12–07 rifle/shotgun.
                                           License Exception. All firearms, ‘‘parts,’’                                                                     (45) MTs 7–07.
                                                                                                     (A) Any item controlled in ECCNs                      (46) MTs 109–12–07 rifle.
                                           ‘‘components,’’ ‘‘accessories,’’ or                     0A501.a, .b, .c, .d, or .e; 0A981; 0A982;
                                           ‘‘attachments’’ controlled under ECCN                                                                           (47) MTs 109–07 rifle.
                                                                                                   0A983; 0A503; 0E504; 0E982; or                          (48) MTs 106–07 combination.
                                           0A501 and all unused ammunition                           (B) Shotguns with barrel length less                  (49) MTs 19–97.
                                           controlled under ECCN 0A505.a                           than 18 inches controlled in 0A502.                     (50) MTs 19–09.
                                           exported under this License Exception                                                                           (51) MTs 18–3M.
                                           must be returned to the United States.                  *      *    *     *      *
                                                                                                                                                           (52) MTs 125.
                                              (v) Travelers leaving the United States              ■ 15. Add Supplement No. 4 to part 740
                                                                                                                                                           (53) MTs 126.
                                           temporarily are required to declare the                 to read as follows:                                     (54) MTs 127.
                                           firearms, ‘‘parts,’’ ‘‘components,’’                    Supplement No. 4 to Part 740—Annex                      (55) Berkut–2.
                                           ‘‘accessories,’’ ‘‘attachments,’’ and                                                                           (56) Berkut–2M1.
                                                                                                   A Firearm Models
                                           ammunition being exported under this                                                                            (57) Berkut–3.
                                           License Exception to a Customs and                       (a) Pistols/revolvers.                                 (58) Berkut–2–1.
                                                                                                    (1) German Model P08 Pistol = SMCR.                    (59) Berkut–2M2.
                                           Border Protection (CBP) officer prior to
                                                                                                    (2) IZH 34M, .22 Target pistol.                        (60) Berkut–3–1.
                                           departure from the United States and                     (3) IZH 35M, .22 caliber Target pistol.                (61) Ots–25.
                                           present such items to the CBP officer for                (4) Mauser Model 1896 pistol = SMCR.                   (62) MTs 20–07.
                                           inspection, confirming that the                          (5) MC–57–1 pistol.                                    (63) LOS–7–1.
                                           authority for the export is License                      (6) MC–1–5 pistol.                                     (64) LOS–7–2.
                                           Exception BAG and that the exporter is                   (7) Polish Vis Model 35 pistol = SMCR.                 (65) LOS–9–1.
                                           compliant with its terms.                                (8) Soviet Nagant revolver = SMCR.                     (66) Sobol (Sable).
                                              (4) A nonimmigrant alien leaving the                  (9) TOZ 35, .22 caliber Target pistol.                 (67) Rekord.
                                           United States may export or reexport                     (10) MTs 440.                                          (68) Bars–4–1.
                                           under this License Exception only such                   (11) MTs 57–1.                                         (69) Saiga.
                                                                                                    (12) MTs 59–1.                                         (70) Saiga–M.
                                           firearms controlled under ECCN 0A501
                                                                                                    (13) MTs 1–5.                                          (71) Saiga 308.
                                           and ammunition controlled under ECCN                     (14) TOZ–35M (starter pistol).                         (72) Saiga–308–1.
                                           0A505 as he or she brought into the                      (15) Biathlon–7K.                                      (73) Saiga 308–2.
                                           United States under the relevant                         (b) Rifles.                                            (74) Saiga–9.
                                           provisions of Department of Justice                      (1) BARS–4 Bolt Action carbine.                        (75) Korshun.
                                           regulations at 27 CFR part 478.                          (2) Biathlon target rifle, .22.                        (76) Ural–5–1.
                                           *       *     *       *   *                              (3) British Enfield rifle = SMCR.                      (77) Ural 6–1.
                                                                                                    (4) CM2, .22 target rifle (also known as               (78) Ural–6–2.
                                           ■ 13. Section 740.16 is amended by
                                                                                                   SM2, .22).                                              (79) SM–2.
                                           revising paragraphs (a)(2) and (b)(2)(iv)                (5) German model 98K = SMCR.                           (80) Biatlon–7–3.
                                           and (v) and adding paragraph (b)(2)(vi)
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                                                                                                    (6) German model G41 = SMCR.                           (81) Biatlon–7–4.
                                           to read as follows:                                      (7) German model G43 = SMCR.                           (82) Rekord–1.
                                                                                                    (8) IZH–94.                                            (83) Rekord–2.
                                           § 740.16   Additional permissive reexports               (9) LOS–7, bolt action.                                (84) Rekord–CISM.
                                           (APR).                                                   (10) MC–7–07.                                          (85) Rekord–1–308.
                                           *       *    *       *      *                            (11) MC–18–3.                                          (86) Rekord–2–308.
                                               (a) * * *                                            (12) MC–19–07.                                         (87) Rekord–1–308–CISM.



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                                               (88) VEPR.                                          0D501, 0D505, 0E501, 0E504, and 0E505                  Chart (Supplement No. 1 to part 738 of
                                               (89) VEPR Super.                                    items when there is reason to believe                  the EAR).
                                               (90) VEPR Pioneer.                                  the transaction involves criminal
                                               (91) VEPR Safari.
                                                                                                                                                          *      *    *     *     *
                                                                                                   organizations, rebel groups, street gangs,                (c) Contract sanctity. Contract sanctity
                                               (92) TOZ 109.
                                               (93) KO 44–1.
                                                                                                   or other similar groups or individuals,                date: August 22, 2000. Contract sanctity
                                               (94) TOZ 78–01.                                     that may be disruptive to regional                     applies only to items controlled under
                                               (95) KO 44.                                         stability, including within individual                 ECCNs 0A982, 0A503, and 0E982
                                               (96) TOZ 99.                                        countries, will be subject to a policy of              destined for countries not listed in CC
                                               (97) TOZ 99–01.                                     denial.                                                Column 1 of the Country Chart
                                               (98) TOZ 55–01 Zubr.                                *     *      *    *    *                               (Supplement No. 1 to part 738 of the
                                               (99) TOZ 55–2 Zubr.                                                                                        EAR).
                                               (100) TOZ 120 Zubr.                                 ■ 18. Section 742.7 is amended by
                                               (101) MTs 111.                                      revising paragraphs (a)(1) through (4)                 *      *    *     *     *
                                               (102) MTs 109.                                      and (c) to read as follows:                            ■ 19. Section 742.17 is amended by
                                               (103) TOZ 122.                                                                                             revising the first sentence of paragraph
                                               (104) TOZ 125.                                      § 742.7    Crime control and detection.                (a) and paragraph (f) to read as follows:
                                               (105) TOZ 28.                                          (a) * * *
                                               (106) TOZ 300.                                                                                             § 742.17 Exports of firearms to OAS
                                                                                                      (1) Crime control and detection                     member countries.
                                           PART 742—CONTROL POLICY—CCL                             instruments and equipment and related                     (a) License requirements. BIS
                                           BASED CONTROLS                                          ‘‘technology’’ and ‘‘software’’ identified             maintains a licensing system for the
                                                                                                   in the appropriate ECCNs on the CCL                    export of firearms and related items to
                                           ■  16. The authority citation for part 742              under CC Column 1 in the Country                       all OAS member countries. * * *
                                           is revised to read as follows:                          Chart column of the ‘‘License
                                                                                                                                                          *       *    *    *    *
                                              Authority: 50 U.S.C. 4801–4852; 50 U.S.C.            Requirements’’ section. A license is                      (f) Items/Commodities. Items
                                           4601 et seq.; 50 U.S.C. 1701 et seq.; 22 U.S.C.         required to countries listed in CC                     requiring a license under this section
                                           3201 et seq.; 42 U.S.C. 2139a; 22 U.S.C. 7201           Column 1 (Supplement No. 1 to part 738                 are ECCNs 0A501 (except 0A501.y),
                                           et seq.; 22 U.S.C. 7210; Sec. 1503, Pub. L.             of the EAR). Items affected by this
                                           108–11, 117 Stat. 559; E.O. 12058, 43 FR                                                                       0A502, 0A504 (except 0A504.f), and
                                                                                                   requirement are identified on the CCL                  0A505 (except 0A505.d). (See
                                           20947, 3 CFR, 1978 Comp., p. 179; E.O.                  under the following ECCNs: 0A502,
                                           12851, 58 FR 33181, 3 CFR, 1993 Comp., p.                                                                      Supplement No. 1 to part 774 of the
                                                                                                   0A504, 0A505.b, 0A978, 0A979 0E502,                    EAR).
                                           608; E.O. 12938, 59 FR 59099, 3 CFR, 1994
                                           Comp., p. 950; E.O. 13026, 61 FR 58767, 3
                                                                                                   0E505 (‘‘technology’’ for ‘‘development’’
                                                                                                   or for ‘‘production’’ of buckshot shotgun              *       *    *    *    *
                                           CFR, 1996 Comp., p. 228; E.O. 13222, 66 FR
                                           44025, 3 CFR, 2001 Comp., p. 783;                       shells controlled under ECCN 0A505.b),                 § 742.19   [Amended]
                                           Presidential Determination 2003–23, 68 FR               1A984, 1A985, 3A980, 3A981, 3D980,
                                                                                                                                                          ■  20. Section 742.19(a)(1) is amended
                                           26459, 3 CFR, 2004 Comp., p. 320; Notice of             3E980, 4A003 (for fingerprint computers
                                           November 12, 2019, 84 FR 61817 (November                                                                       by:
                                                                                                   only), 4A980, 4D001 (for fingerprint
                                                                                                                                                          ■ a. Removing ‘‘0A986’’ and adding in
                                           13, 2019).                                              computers only), 4D980, 4E001 (for
                                                                                                                                                          its place ‘‘0A505.c’’; and
                                           ■ 17. Section 742.6 is amended by                       fingerprint computers only), 4E980,                    ■ b. Removing ‘‘0B986’’ and adding in
                                           revising the first and sixth sentences of               6A002 (for police-model infrared                       its place ‘‘0B505.c’’.
                                           paragraph (b)(1)(i) and adding a seventh                viewers only), 6E001 (for police-model
                                           sentence at the end of paragraph (b)(1)(i)              infrared viewers only), 6E002 (for                     PART 743—SPECIAL REPORTING AND
                                           to read as follows:                                     police-model infrared viewers only),                   NOTIFICATION
                                                                                                   and 9A980.
                                           § 742.6   Regional stability.                                                                                  ■ 21. The authority citation for 15 CFR
                                                                                                      (2) Shotguns with a barrel length
                                           *      *    *     *     *                               greater than or equal to 24 inches,                    part 743 is revised to read as follows:
                                              (b) * * *
                                              (1) * * *                                            identified in ECCN 0A502 on the CCL                      Authority: 50 U.S.C. 4801–4852; 50 U.S.C.
                                                                                                   under CC Column 2 in the Country                       4601 et seq.; 50 U.S.C. 1701 et seq.; E.O.
                                              (i) Applications for exports and
                                                                                                   Chart column of the ‘‘License                          13222, 66 FR 44025, 3 CFR, 2001 Comp., p.
                                           reexports of ECCN 0A501, 0A504,                                                                                783; E.O. 13637, 78 FR 16129, 3 CFR, 2014
                                           0A505, 0B501, 0B505, 0D501, 0D505,                      Requirements’’ section regardless of end
                                                                                                                                                          Comp., p. 223.
                                           0E501, 0E504, and 0E505 items; 9x515                    user to countries listed in CC Column 2
                                           items and ‘‘600 series’’ items and will be              (Supplement No. 1 to part 738 of the                   ■ 22. Section 743.4 is amended by:
                                                                                                   EAR).                                                  ■ a. In paragraph (a):
                                           reviewed on a case-by-case basis to                                                                            ■ i. Removing ‘‘(c)(1)’’ and ‘‘(c)(2)’’ and
                                           determine whether the transaction is                       (3) Shotguns with barrel length greater
                                                                                                   than or equal to 24 inches, identified in              adding in their places ‘‘(c)(1) of this
                                           contrary to the national security or                                                                           section’’ and ‘‘(c)(2) of this section,’’
                                           foreign policy interests of the United                  ECCN 0A502 on the CCL under CC
                                                                                                   Column 3 in the Country Chart column                   respectively; and
                                           States, including the foreign policy                                                                           ■ ii. Adding four sentences to the end of
                                           interest of promoting the observance of                 of the ‘‘License Requirements’’ section
                                                                                                                                                          the paragraph;
                                           human rights throughout the world.                      only if for sale or resale to police or law            ■ b. Redesignating the note to paragraph
                                           * * * When destined to the People’s                     enforcement entities in countries listed               (a) as note 1 to paragraph (a) and
                                           Republic of China or a country listed in                in CC Column 3 (Supplement No. 1 to                    removing ‘‘§ 743.4’’ in newly
                                           Country Group E:1 in Supplement No.                     part 738 of the EAR).                                  redesignated note 1 and adding ‘‘this
                                           1 to part 740 of the EAR, items classified                 (4) Certain crime control items require             section’’ in its place;
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                                           under ECCN 0A501, 0A505, 0B501,                         a license to all destinations, except                  ■ c. Revising paragraph (b) introductory
                                           0B505, 0D501, 0D505, 0E501, 0E504,                      Canada. These items are identified                     text;
                                           and 0E505 or any 9x515 ECCN will be                     under ECCNs 0A982, 0A503, and 0E982.                   ■ d. Adding paragraphs (c)(1)(i) and
                                           subject to a policy of denial. In addition,             Controls for these items appear in each                (c)(2)(i);
                                           applications for exports and reexports of               ECCN; a column specific to these                       ■ e. Redesignating the note to paragraph
                                           ECCN 0A501, 0A505, 0B501, 0B505,                        controls does not appear in the Country                (e)(1)(ii) as note 2 to paragraph (e)(1)(ii);


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                                           ■ e. Revising paragraph (h); and                        Government’s commitments to the                        § 746.3   [Amended]
                                           ■ f. Adding paragraph (i).                              Wassenaar Arrangement and United                       ■ 26. Section 746.3 is amended by
                                             The additions and revisions read as                   Nations for conventional arms reporting.               removing ‘‘0A986’’ from paragraph
                                           follows:                                                An exporter that complies with the                     (b)(2) and adding in its place ‘‘0A505.c’’.
                                                                                                   requirements in § 758.1(g)(4)(ii) of the
                                           § 743.4   Conventional arms reporting.                                                                         § 746.7   [Amended]
                                                                                                   EAR does not have to submit separate
                                              (a) * * * This section does not                      annual and semi-annual reports to the                  ■ 27. Section 746.7(a)(1) is amended by:
                                           require reports when the exporter uses                  Department of Commerce pursuant to                     ■ a. Adding ‘‘0A503,’’ immediately
                                           the alternative submission method                       this section.                                          before ‘‘0A980’’; and
                                           described under paragraph (h) of this                     (i) Contacts. General information                    ■ b. Removing ‘‘0A985,’’.
                                           section. The alternative submission                     concerning the Wassenaar Arrangement
                                           method under paragraph (h) requires the                 and reporting obligations thereof is                   PART 748—APPLICATIONS
                                           exporter to submit the information                      available from the Office of National                  (CLASSIFICATION, ADVISORY, AND
                                           required for conventional arms                          Security and Technology Transfer                       LICENSE) AND DOCUMENTATION
                                           reporting in this section as part of the                Controls, Tel.: (202) 482–0092, Fax:
                                           required EEI submission in AES,                                                                                ■ 28. The authority citation for 15 CFR
                                                                                                   (202) 482–4094. Information concerning
                                           pursuant to § 758.1(b)(9) of the EAR.                                                                          part 748 is revised to read as follows:
                                                                                                   the reporting requirements for items
                                           Because of the requirements in                          identified in paragraphs (c)(1) and (2) of               Authority: 50 U.S.C. 4801–4852; 50 U.S.C.
                                           § 758.1(g)(4)(ii) of the EAR for the                    this section is available from the Office              4601 et seq.; 50 U.S.C. 1701 et seq.; E.O.
                                           firearms that require conventional arms                 of Nonproliferation and Treaty                         13026, 61 FR 58767, 3 CFR, 1996 Comp., p.
                                           reporting of all conventional arms, the                                                                        228; E.O. 13222, 66 FR 44025, 3 CFR, 2001
                                                                                                   Compliance (NPTC), Tel.: (202) 482–                    Comp., p. 783.
                                           Department of Commerce believes all                     4188, Fax: (202) 482–4145.
                                           conventional arms reporting                                                                                    ■ 29. Section 748.12 is amended by:
                                           requirements for firearms will be met by                PART 744—CONTROL POLICY: END-                          ■ a. Revising the section heading;
                                           using the alternative submission                        USER AND END-USE BASED                                 ■ b. Adding introductory text;
                                           method. The Department of Commerce                                                                             ■ c. Revising paragraphs (a)
                                           leaves standard method for submitting                   ■ 23. The authority citation for 15 CFR                introductory text and (a)(1);
                                           reports in place in case any additional                 part 744 is revised to read as follows:                ■ d. Redesignating the note to paragraph
                                           items are moved from the USML to the                                                                           (c)(8) as note 1 to paragraph (c)(8); and
                                                                                                      Authority: 50 U.S.C. 4801–4852; 50 U.S.C.
                                           CCL, that may require conventional                                                                             ■ e. Adding paragraph (e).
                                                                                                   4601 et seq.; 50 U.S.C. 1701 et seq.; 22 U.S.C.
                                           arms reporting.                                         3201 et seq.; 42 U.S.C. 2139a; 22 U.S.C. 7201             The revisions and additions read as
                                           *      *    *      *     *                              et seq.; 22 U.S.C. 7210; E.O. 12058, 43 FR             follows.
                                              (b) Requirements. You must submit                    20947, 3 CFR, 1978 Comp., p. 179; E.O.
                                                                                                                                                          § 748.12 Firearms import certificate or
                                           one electronic copy of each report                      12851, 58 FR 33181, 3 CFR, 1993 Comp., p.
                                                                                                                                                          import permit.
                                           required under the provisions of this                   608; E.O. 12938, 59 FR 59099, 3 CFR, 1994
                                                                                                   Comp., p. 950; E.O. 13026, 61 FR 58767, 3                 License applications for certain
                                           section, or submit this information                     CFR, 1996 Comp., p. 228; E.O. 13099, 63 FR             firearms and related commodities
                                           using the alternative submission method                 45167, 3 CFR, 1998 Comp., p. 208; E.O.                 require support documents in
                                           specified in paragraph (h) of this                      13222, 66 FR 44025, 3 CFR, 2001 Comp., p.              accordance with this section. For
                                           section, and maintain accurate                          783; E.O. 13224, 66 FR 49079, 3 CFR, 2001              destinations that are members of the
                                           supporting records (see § 762.2(b) of the               Comp., p. 786; Notice of September 19, 2019,           Organization of American States (OAS),
                                           EAR) for all exports of items specified                 83 FR 49633 (September 20, 2019); Notice of            an FC Import Certificate or equivalent
                                           in paragraph (c) of this section for the                November 12, 2019, 84 FR 61817 (November
                                                                                                   13, 2019).
                                                                                                                                                          official document is required in
                                           following:                                                                                                     accordance with paragraphs (a) through
                                           *      *    *      *     *                              § 744.9    [Amended]                                   (d) of this section. For other destinations
                                              (c) * * *                                                                                                   that require a firearms import or permit,
                                              (1) * * *                                            ■ 24. Section 744.9 is amended by
                                                                                                                                                          the firearms import certificate or permit
                                              (i) ECCN 0A501.a and .b.                             removing ‘‘0A987’’ from paragraphs
                                                                                                                                                          is required in accordance with
                                                                                                   (a)(1) introductory text and (b) and
                                           *      *    *      *     *                                                                                     paragraph (e) of this section.
                                              (2) * * *                                            adding in its place ‘‘0A504’’.
                                                                                                                                                             (a) Requirement to obtain document
                                              (i) ECCN 0A501.a and .b.                             PART 746—EMBARGOES AND OTHER                           for OAS member states. Unless an
                                           *      *    *      *     *                              SPECIAL CONTROLS                                       exception in § 748.9(c) applies, an FC
                                              (h) Alternative submission method.                                                                          Import Certificate is required for license
                                           This paragraph (h) describes an                         ■ 25. The authority citation for 15 CFR                applications for firearms and related
                                           alternative submission method for                       part 746 continues to read as follows:                 commodities, regardless of value, that
                                           meeting the conventional arms reporting                                                                        are destined for member countries of the
                                                                                                     Authority: 50 U.S.C. 4801–4852; 50 U.S.C.
                                           requirements of this section. The                       4601 et seq.; 50 U.S.C. 1701 et seq.; 22 U.S.C.
                                                                                                                                                          OAS. This requirement is consistent
                                           alternative submission method requires                  287c; Sec 1503, Pub. L. 108–11, 117 Stat. 559;         with the OAS Model Regulations
                                           the exporter, when filing the required                  22 U.S.C. 2151 note; 22 U.S.C. 6004; 22                described in § 742.17 of the EAR.
                                           EEI submission in AES, pursuant to                      U.S.C. 7201 et seq.; 22 U.S.C. 7210; E.O.                 (1) Items subject to requirement.
                                           § 758.1(b)(9) of the EAR, to include the                12854, 58 FR 36587, 3 CFR, 1993 Comp., p.              Firearms and related commodities are
                                           six character ECCN classification (i.e.,                614; E.O. 12918, 59 FR 28205, 3 CFR, 1994              those commodities controlled for ‘‘FC
                                           0A501.a or 0A501.b) as the first text to                Comp., p. 899; E.O. 13222, 66 FR 44025, 3              Column 1’’ reasons under ECCNs 0A501
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                                           appear in the Commodity description                     CFR, 2001 Comp., p. 783; E.O. 13338, 69 FR             (except 0A501.y), 0A502, 0A504 (except
                                                                                                   26751, 3 CFR, 2004 Comp., p 168;                       0A504.f), or 0A505 (except 0A505.d).
                                           block. If the exporter properly includes                Presidential Determination 2003–23, 68 FR
                                           this information in the EEI filing in                   26459, 3 CFR, 2004 Comp., p. 320;                      *      *     *    *      *
                                           AES, the Department of Commerce will                    Presidential Determination 2007–7, 72 FR                  (e) Requirement to obtain an import
                                           be able to obtain that export information               1899, 3 CFR, 2006 Comp., p. 325; Notice of             certificate or permit for other than OAS
                                           directly from AES to meet the U.S.                      May 8, 2019, 84 FR 20537 (May 10, 2019).               member states. If the country to which


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                                           firearms, parts, components,                            requirements specified in paragraphs (z)(2)(i)            (b) * * *
                                           accessories, and attachments controlled                 and (ii) of this supplement.                              (7) For all items exported under
                                           under ECCN 0A501, or ammunition                            (i) When the firearms enter the U.S. as a           authorization Validated End-User
                                                                                                   temporary import, the temporary importer or
                                           controlled under ECCN 0A505, are                                                                               (VEU);
                                                                                                   its agent must:
                                           being exported or reexported requires                      (A) Provide the following statement to U.S.            (8) For all exports of tangible items
                                           that a government-issued certificate or                 Customs and Border Protection: ‘‘This                  subject to the EAR where parties to the
                                           permit be obtained prior to importing                   shipment is being temporarily imported in              transaction, as described in § 748.5(d)
                                           the commodity, the exporter or                          accordance with the EAR. This shipment will            through (f) of the EAR, are listed on the
                                           reexporter must obtain and retain on file               be exported in accordance with and under               Unverified List (Supplement No. 6 to
                                           the original or a copy of that certificate              the authority of BIS license number (provide           part 744 of the EAR), regardless of value
                                           or permit before applying for an export                 the license number) (15 CFR 750.7(a) and               or destination; or
                                                                                                   758.4);’’
                                           or reexport license unless:                                                                                       (9) For all exports, except for exports
                                                                                                      (B) Provide to U.S. Customs and Border
                                              (1) A license is not required for the                Protection an invoice or other appropriate             authorized under License Exception
                                           export or reexport; or                                  import-related documentation (or electronic            BAG, as set forth in § 740.14 of the EAR,
                                              (2) The exporter is required to obtain               equivalents) that includes a complete list and         of items controlled under ECCNs
                                           an import or end-user certificate or                    description of the firearms being temporarily          0A501.a or .b, shotguns with a barrel
                                           other equivalent official document                      imported, including their model, make,                 length less than 18 inches controlled
                                           pursuant to paragraphs (a) thorough (d)                 caliber, serial numbers, quantity, and U.S.            under ECCN 0A502, or ammunition
                                           of this section and has, in fact, complied              dollar value; and                                      controlled under ECCN 0A505 except
                                           with that requirement.                                     (C) Provide (if temporarily imported for            for .c, regardless of value or destination,
                                              (3)(i) The number or other identifying               servicing or replacement) to U.S. Customs
                                                                                                   and Border Protection the name, address, and
                                                                                                                                                          including exports to Canada.
                                           information of the import certificate or                                                                          (c) * * *
                                                                                                   contact information (telephone number and/
                                           permit must be stated on the license                                                                              (1) License Exception Baggage (BAG),
                                                                                                   or email) of the organization or individual in
                                           application.                                            the U.S. that will be receiving the item for           as set forth in § 740.14 of the EAR. See
                                              (ii) If the country to which the                     servicing or replacement); and                         15 CFR 30.37(x) of the FTR;
                                           commodities are being exported does                        (ii) In addition to the export clearance
                                           not require an import certificate or                                                                              Note 1 to paragraph (c)(1): See the export
                                                                                                   requirements of part 758 of the EAR, the               clearance requirements for exports of
                                           permit for firearms imports, that fact                  exporter or its agent must provide the import          firearms controlled under ECCNs 0A501.a or
                                           must be noted on any license                            documentation related to paragraph                     .b, shotguns with a barrel length less than 18
                                           application for ECCN 0A501 or 0A505                     (z)(2)(i)(B) of this supplement to U.S.                inches controlled under ECCN 0A502, or
                                           commodities.                                            Customs and Border Protection at the time of           ammunition controlled under ECCN 0A505,
                                                                                                   export.                                                authorized under License Exception BAG, as
                                             Note 2 to paragraph (e). Obtaining a BIS
                                                                                                      Note 1 to paragraph (z): In addition to             set forth in § 740.14 of the EAR.
                                           Statement by Ultimate Consignee and
                                                                                                   complying with all applicable EAR
                                           Purchaser pursuant to § 748.11 does not
                                           exempt the exporter or reexporter from the
                                                                                                   requirements for the export of commodities             *       *    *     *     *
                                           requirement to obtain a certification pursuant          described in paragraph (z) of this                        (g) * * *
                                           to paragraph (a) of this section because that           supplement, exporters and temporary                       (4) Exports of firearms and related
                                           statement is not issued by a government.                importers should contact U.S. Customs and              items. This paragraph (g)(4) includes
                                                                                                   Border Protection (CBP) at the port of                 two separate requirements under
                                           ■ 30. Supplement No. 2 to part 748 is                   temporary import or export, or at the CBP
                                                                                                   website, for the proper procedures for
                                                                                                                                                          paragraphs (g)(4)(i) and (ii) of this
                                           amended by adding paragraph (z) to                                                                             section that are used to better identify
                                           read as follows:                                        temporarily importing or exporting firearms
                                                                                                   controlled in ECCN 0A501.a or .b or shotguns           exports of certain end item firearms
                                           Supplement No. 2 to Part 748—Unique                     with a barrel length less than 18 inches               under the EAR. Paragraph (g)(4)(i) of
                                           Application and Submission                              controlled in ECCN 0A502, including                    this section is limited to certain EAR
                                           Requirements                                            regarding how to provide any data or                   authorizations. Paragraph (g)(4)(ii) of
                                                                                                   documentation required by BIS.                         this section applies to all EAR
                                           *      *     *       *      *
                                              (z) Exports of firearms and certain
                                                                                                                                                          authorizations that require EEI filing in
                                                                                                   PART 758—EXPORT CLEARANCE                              AES.
                                           shotguns temporarily in the United States—
                                           (1) Certification. If you are submitting a              REQUIREMENTS                                              (i) Identifying end item firearms by
                                           license application for the export of firearms                                                                 manufacturer, model, caliber, and serial
                                           controlled by ECCN 0A501.a or .b, or
                                                                                                   ■  31. The authority citation for part 758             number in the EEI filing in AES. For any
                                           shotguns with a barrel length less than 18              is revised to read as follows:                         export authorized under License
                                           inches controlled in ECCN 0A502 that will be              Authority: 50 U.S.C. 4801–4852; 50 U.S.C.            Exception TMP or a BIS license
                                           temporarily in the United States, e.g., for             4601 et seq.; 50 U.S.C. 1701 et seq.; E.O.             authorizing a temporary export of items
                                           servicing and repair or for intransit                   13222, 66 FR 44025, 3 CFR, 2001 Comp., p.              controlled under ECCNs 0A501.a or .b,
                                           shipments, you must include the following               783.
                                           certification in Block 24:
                                                                                                                                                          or shotguns with a barrel length less
                                              The firearms in this license application
                                                                                                   ■ 32. Section 758.1 is amended by:                     than 18 inches controlled under ECCN
                                           will not be shipped from or manufactured in             ■ a. Revising paragraphs (b)(7) and (8);               0A502, in addition to any other required
                                           Russia, Georgia, Kazakhstan, Kyrgyzstan,                ■ b. Adding paragraph (b)(9);                          data for the associated EEI filing, you
                                           Moldova, Turkmenistan, Ukraine, or                      ■ c. Revising paragraph (c)(1);                        must report the manufacturer, model,
                                           Uzbekistan, except for any firearm model                ■ d. Adding paragraph (g)(4); and                      caliber, and serial number of the
                                           controlled by 0A501 that is specified under             ■ e. Redesignating note to paragraph
                                                                                                                                                          exported items. The requirements of this
                                           Annex A in Supplement No. 4 to part 740.                (h)(1) as note 3 to paragraph (h)(1).
                                                                                                     The revisions and additions read as                  paragraph (g)(4)(i) also apply to any
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                                           I and the parties to this transaction will                                                                     other export authorized under a BIS
                                           comply with the requirements specified in               follows:
                                           paragraphs (z)(2)(i) and (ii) of Supplement
                                                                                                                                                          license that includes a condition or
                                           No. 2 to part 748.                                      § 758.1 The Electronic Export Enforcement              proviso on the license requiring the
                                              (2) Requirements. Each approved license              (EEI) filing to the Automated Export System            submission of this information specified
                                           for commodities described under this                    (AES).                                                 in paragraph (g) of this section when the
                                           paragraph (z) must comply with the                      *      *      *       *      *                         EEI is filed in AES.


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                                              (ii) Identifying end item firearms by                ‘‘items’’ that are ‘‘subject to the EAR,’’             that will be receiving the item for
                                           ‘‘items’’ level classification or other                 including for ‘‘items’’ ‘‘subject to the               servicing or replacement).
                                           control descriptor in the EEI filing in                 EAR’’ that are on the USMIL. Temporary                   Note 1 to paragraph (b)(1): In accordance
                                           AES. For any export of items controlled                 imports of firearms described in this                  with the exclusions in License Exception
                                           under ECCNs 0A501.a or .b, or shotguns                  section must meet the entry clearance                  TMP under § 740.9(b)(5) of the EAR, the
                                           with a barrel length less than 18 inches                requirements specified in paragraph (b)                entry clearance requirements in § 758.1(b)(9)
                                           controlled under ECCN 0A502, in                         of this section.                                       do not permit the temporary import of:
                                           addition to any other required data for                    (2) Permanent imports are regulated                 Firearms controlled in ECCN 0A501.a or .b
                                                                                                                                                          that are shipped from or manufactured in a
                                           the associated EEI filing, you must                     by the Attorney General under the                      Country Group D:5 country; or that are
                                           include the six character ECCN                          direction of the Department of Justice’s               shipped from or manufactured in Russia,
                                           classification (i.e., 0A501.a, or 0A501.b),             Bureau of Alcohol, Tobacco, Firearms                   Georgia, Kazakhstan, Kyrgyzstan, Moldova,
                                           or for shotguns controlled under 0A502                  and Explosives (see 27 CFR parts 447,                  Turkmenistan, Ukraine, or Uzbekistan
                                           the phrase ‘‘0A501 barrel length less                   478, 479, and 555).                                    (except for any firearm model controlled by
                                           than 18 inches’’ as the first text to                      (b) EAR procedures for temporary                    0A501 that is specified under Annex A in
                                           appear in the Commodity description                     imports and subsequent exports. To the                 Supplement No. 4 to part 740 of the EAR);
                                           block in the EEI filing in AES. (See                    satisfaction of U.S. Customs and Border                or shotguns with a barrel length less than 18
                                                                                                                                                          inches controlled in ECCN 0A502 that are
                                           § 743.4(h) of the EAR for the use of this               Protection, the temporary importer must                shipped from or manufactured in a Country
                                           information for conventional arms                       comply with the following procedures:                  Group D:5 country, or from Russia, Georgia,
                                           reporting).                                                (1) At the time of entry into the U.S.              Kazakhstan, Kyrgyzstan, Moldova,
                                              Note 2 to paragraph (g)(4): If a commodity           of the temporary import:                               Turkmenistan, Ukraine, or Uzbekistan,
                                           described in paragraph (g)(4) of this section              (i) Provide one of the following                    because of the exclusions in License
                                           is exported under License Exception TMP                 statements specified in paragraph                      Exception TMP under § 740.9(b)(5).
                                           under § 740.9(a)(6) of the EAR for inspection,          (b)(1)(i)(A), (B), or (C) of this section to
                                           test, calibration, or repair is not consumed or                                                                   Note 2 to paragraph (b)(1): In accordance
                                                                                                   U.S. Customs and Border Protection:                    with the exclusions in License Exception
                                           destroyed in the normal course of authorized               (A) ‘‘This shipment is being
                                           temporary use abroad, the commodity must                                                                       RPL under § 740.10(b)(4) and Supplement
                                           be disposed of or retained in one of the ways
                                                                                                   temporarily imported in accordance                     No. 2 to part 748, paragraph (z), of the EAR,
                                           specified in § 740.9(a)(14)(i), (ii), or (iii) of       with the EAR. This shipment will be                    the entry clearance requirements in
                                           the EAR. For example, if a commodity                    exported in accordance with and under                  § 758.1(b)(9) do not permit the temporary
                                           described in paragraph (g)(4) was destroyed             the authority of License Exception TMP                 import of: Firearms controlled in ECCN
                                           while being repaired after being exported               (15 CFR 740.9(b)(5));’’                                0A501.a or .b that are shipped from or
                                           under § 740.9(a)(6), the commodity described                                                                   manufactured in Russia, Georgia,
                                                                                                      (B) ‘‘This shipment is being
                                           in paragraph (g)(4) would not be required to                                                                   Kazakhstan, Kyrgyzstan, Moldova,
                                                                                                   temporarily imported in accordance                     Turkmenistan, Ukraine, or Uzbekistan
                                           be returned. If the entity doing the repair             with the EAR. This shipment will be
                                           returned a replacement of the commodity to                                                                     (except for any firearm model controlled by
                                                                                                   exported in accordance with and under                  0A501 that is specified under Annex A in
                                           the exporter from the United States, the
                                           import would not require an EAR
                                                                                                   the authority of License Exception RPL                 Supplement No. 4 to part 740 of the EAR);
                                                                                                   (15 CFR 740.10(b));’’ or                               or shotguns with a barrel length less than 18
                                           authorization. The entity that exported the
                                                                                                      (C) ‘‘This shipment is being                        inches controlled in ECCN 0A502 that are
                                           commodity described in paragraph (g)(4) and
                                                                                                   temporarily imported in accordance                     shipped from or manufactured in Russia,
                                           the entity that received the commodity
                                                                                                                                                          Georgia, Kazakhstan, Kyrgyzstan, Moldova,
                                           would need to document this as part of their            with the EAR. This shipment will be                    Turkmenistan, Ukraine, or Uzbekistan,
                                           recordkeeping related to this export and                exported in accordance with and under                  because of the exclusions in License
                                           subsequent import to the United States.                 the authority of BIS license number                    Exception RPL under § 740.10(b)(4) and
                                           *       *    *    *      *                              (provide the license number) (15 CFR                   Supplement No. 2 to part 748, paragraph (z),
                                                                                                   750.7(a) and 758.4);’’                                 of the EAR.
                                           ■   33. Add § 758.10 to read as follows:
                                                                                                      (ii) Provide to U.S. Customs and                       (2) At the time of export, in
                                           § 758.10 Entry clearance requirements for               Border Protection an invoice or other                  accordance with the U.S. Customs and
                                           temporary imports.                                      appropriate import-related                             Border Protection procedures, the
                                              (a) Scope. This section specifies the                documentation (or electronic                           eligible exporter, or an agent acting on
                                           temporary import entry clearance                        equivalents) that includes a complete                  the filer’s behalf, must as required under
                                           requirements for firearms ‘‘subject to the              list and description of the firearms being             § 758.1(b)(9) file the export information
                                           EAR’’ that are on the United States                     temporarily imported, including their                  with CBP by filing EEI in AES, noting
                                           Munitions Import List (USMIL, 27 CFR                    model, make, caliber, serial numbers,                  the applicable EAR authorization as the
                                           447.21), except for firearms ‘‘subject to               quantity, and U.S. dollar value;                       authority for the export, and provide,
                                           the EAR’’ that are temporarily brought                     (iii) Provide (if temporarily imported              upon request by CBP, the entry
                                           into the United States by nonimmigrant                  for a trade show, exhibition,                          document number or a copy of the CBP
                                           aliens under the provisions of                          demonstration, or testing) to U.S.                     document under which the ‘‘item’’
                                           Department of Justice regulations at 27                 Customs and Border Protection the                      subject to the EAR’’ on the USMIL was
                                           CFR part 478 (See § 740.14(e) of the EAR                relevant invitation or registration                    temporarily imported. See also the
                                           for information on the export of these                  documentation for the event and an                     additional requirements in § 758.1(g)(4).
                                           firearms ‘‘subject to the EAR’’). These                 accompanying letter that details the                   ■ 34. Add § 758.11 to read as follows:
                                           firearms are controlled in ECCN                         arrangements to maintain effective
                                           0A501.a or .b or shotguns with a barrel                 control of the firearms while they are in              § 758.11 Export clearance requirements
                                           length less than 18 inches controlled in                the United States; or                                  for firearms and related items.
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                                           ECCN 0A502. Items that are temporarily                     (iv) Provide (if temporarily imported                 (a) Scope. The export clearance
                                           exported under the EAR must have met                    for servicing or replacement) to U.S.                  requirements of this section apply to all
                                           the export clearance requirements                       Customs and Border Protection the                      exports of commodities controlled
                                           specified in § 758.1.                                   name, address and contact information                  under ECCNs 0A501.a or .b, shotguns
                                              (1) An authorization under the EAR is                (telephone number and/or email) of the                 with a barrel length less than 18 inches
                                           not required for the temporary import of                organization or individual in the U.S.                 controlled under ECCN 0A502, or


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                                           ammunition controlled under ECCN                        as paragraph (a)(12), and adding a new                 U.S.C. 7201 et seq.; 22 U.S.C. 7210; E.O.
                                           0A505 except for .c, regardless of value                paragraph (a)(11) to read as follows:                  13026, 61 FR 58767, 3 CFR, 1996 Comp., p.
                                           or destination, including exports to                                                                           228; E.O. 13222, 66 FR 44025, 3 CFR, 2001
                                                                                                   § 762.2    Records to be retained.                     Comp., p. 783.
                                           Canada, that are authorized under
                                           License Exception BAG, as set forth in                    (a) * * *                                            ■ 41. In Supplement No. 1 to part 774,
                                           § 740.14 of the EAR.                                      (11) The serial number, make, model,                 Category 0, revise Export Control
                                             (b) Required form. Prior to making                    and caliber for any firearm controlled in              Classification Number (ECCN) 0A018 to
                                           any export described in paragraph (a) of                ECCN 0A501.a and for shotguns with                     read as follows:
                                           this section, the exporter is required to               barrel length less than 18 inches
                                                                                                   controlled in 0A502 that have been                     Supplement No. 1 to Part 774—The
                                           submit a properly completed
                                                                                                   exported. The ‘‘exporter’’ or any other                Commerce Control List
                                           Department of Homeland Security, CBP
                                           Form 4457, (Certificate of Registration                 party to the transaction (see § 758.3 of               *       *     *      *    *
                                           for Personal Effects Taken Abroad)                      the EAR), that creates or receives such                0A018 Items on the Wassenaar Munitions
                                           (OMB Control Number 1651–0010), to                      records is a person responsible for                         List (see List of Items Controlled)
                                           the U.S. Customs and Border Protection                  retaining this record; and                               No items currently are in this ECCN. See
                                           (CBP), pursuant to 19 CFR 148.1, and as                                                                        ECCN 0A505 for ‘‘parts’’ and ‘‘components’’
                                                                                                   *     *     *     *     *                              for ammunition that, immediately prior to
                                           required by this section.                               ■ 37. Section 762.3 is amended by                      March 9, 2020, were classified under
                                             (1) Where to obtain the form? The CBP                 revising paragraph (a)(5) to read as                   0A018.b.
                                           Certification of Registration Form 4457                 follows:
                                           can be found on the following CBP                                                                              ■ 42. In Supplement No. 1 to part 774,
                                           website: https://www.cbp.gov/                           § 762.3 Records exempt from                            Category 0, add, between entries for
                                           document/forms/form-4457-certificate-                   recordkeeping requirements.                            ECCNs 0A018 and 0A521, entries for
                                           registration-personal-effects-taken-                      (a) * * *                                            ECCNs 0A501, 0A502, 0A503, 0A504,
                                           abroad.                                                   (5) Warranty certificate, except for a               and 0A505 to read as follows:
                                             (2) Required ‘‘description of articles’’              warranty certificate issued for an                     0A501 Firearms (except 0A502 shotguns)
                                           for firearms to be included on the CBP                  address located outside the United                        and related commodities as follows (see
                                           Form 4457. For all exports of firearms                  States for any firearm controlled in                      List of Items Controlled)
                                           controlled under ECCNs 0A501.a or .b,                   ECCN 0A501.a and for shotguns with                     License Requirements
                                           or shotguns with a barrel length less                   barrel length less than 18 inches                      Reason for Control: NS, RS, FC, UN, AT
                                           than 18 inches controlled under ECCN                    controlled in 0A502;
                                           0A502, the exporter must provide to                     *     *     *     *    *                                                             Country chart
                                           CBP the serial number, make, model,                                                                                    Control(s)         (see supp. No. 1 to
                                           and caliber for each firearm being                      PART 772—DEFINITIONS OF TERMS                                                          part 738)
                                           exported by entering this information
                                                                                                   ■  38. The authority citation for part 772             NS applies to entire     NS Column 1
                                           under the ‘‘Description of Articles’’ field                                                                      entry except
                                           of the CBP Form 4457, Certificate of                    is revised to read as follows:                           0A501.y.
                                           Registration for Personal Effects Taken                   Authority: 50 U.S.C. 4801–4852; 50 U.S.C.            RS applies to entire     RS Column 1
                                           Abroad.                                                 4601 et seq.; 50 U.S.C. 1701 et seq.; E.O.               entry except
                                              (c) Where to find additional                         13222, 66 FR 44025, 3 CFR, 2001 Comp., p.                0A501.y.
                                           information on the CBP Form 4457? See                   783.                                                   FC applies to entire     FC Column 1
                                           the following CBP website page for                                                                               entry except
                                                                                                   ■ 39. In § 772.1:                                        0A501.y.
                                           additional information: https://                        ■ a. The definition of ‘‘Complete breech
                                           help.cbp.gov/app/answers/detail/a_id/                                                                          UN applies to entire     See § 746.1 of the
                                                                                                   mechanisms’’ is added in alphabetical                    entry.                   EAR for UN con-
                                           323/∼/traveling-outside-of-the-u.s.-                    order; and                                                                        trols.
                                           temporarily-taking-a-firearm%2C-rifle                   ■ b. In the definition of ‘‘Specially                  AT applies to entire     AT Column 1
                                           %2C-gun%2C.                                             designed,’’ note 1 is amended by                         entry.
                                              (d) Return of items exported pursuant                removing ‘‘0B986’’ and adding in its
                                           to this section. The exporter when                                                                             License Requirement Note: In addition to
                                                                                                   place ‘‘0B505.c’’.                                       using the Commerce Country Chart to
                                           returning with a commodity authorized                     The addition reads as follows:                         determine license requirements, a license
                                           under License Exception BAG and                                                                                  is required for exports and reexports of
                                           exported pursuant this section, is                      § 772.1 Definitions of terms as used in the              ECCN 0A501.y.7 firearms to the People’s
                                           required to present a copy of the CBP                   Export Administration Regulations (EAR).                 Republic of China.
                                           Form 4457, Certificate of Registration                  *    *     *     *     *                               List Based License Exceptions (See Part 740
                                           for Personal Effects Taken Abroad)                        Complete breech mechanisms. The                      for a Description of All License Exceptions)
                                           (OMB Control Number 1651–0010), to                      mechanism for opening and closing the
                                                                                                                                                          LVS: $500 for 0A501.c, .d, and .x.
                                           CBP, pursuant to 19 CFR 148.1, and as                   breech of a breech-loading firearm,                    $500 for 0A501.c, .d, .e, and .x if the ultimate
                                           required by this section.                               especially of a heavy-caliber weapon.                    destination is Canada.
                                                                                                   *    *     *     *     *                               GBS: N/A
                                           PART 762—RECORDKEEPING                                                                                         CIV: N/A
                                           ■  35. The authority citation for part 762              PART 774—THE COMMERCE
                                                                                                                                                          Special Conditions for STA
                                           is revised to read as follows:                          CONTROL LIST
                                                                                                                                                          STA: Paragraph (c)(2) of License Exception
                                             Authority: 50 U.S.C. 4801–4852; 50 U.S.C.             ■ 40. The authority citation for 15 CFR                  STA (§ 740.20(c)(2) of the EAR) may not be
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                                           4601 et seq.; 50 U.S.C. 1701 et seq.; E.O.              part 774 is revised to read as follows:                  used for any item in this entry.
                                           13222, 66 FR 44025, 3 CFR, 2001 Comp., p.                                                                      List of Items Controlled
                                           783.                                                      Authority: 50 U.S.C. 4801–4852; 50 U.S.C.
                                                                                                   4601 et seq.; 50 U.S.C. 1701 et seq.; 10 U.S.C.        Related Controls: (1) Firearms that are fully
                                           ■ 36. Section 762.2 is amended by                       8720; 10 U.S.C. 8730(e); 22 U.S.C. 287c, 22              automatic, and magazines with a capacity
                                           removing ‘‘and,’’ at the end of paragraph               U.S.C. 3201 et seq.; 22 U.S.C. 6004; 42 U.S.C.           of greater than 50 rounds, are ‘‘subject to
                                           (a)(10), redesignating paragraph (a)(11)                2139a; 15 U.S.C. 1824; 50 U.S.C. 4305; 22                the ITAR.’’ (2) See ECCN 0A502 for



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                                              shotguns and their ‘‘parts’’ and                       Note 3 to 0A501: Antique firearms (i.e.,             $500 for 0A502 shotgun ‘‘parts’’ and
                                              ‘‘components’’ that are subject to the EAR.          those manufactured before 1890) and                      ‘‘components,’’ consisting of complete
                                              Also see ECCN 0A502 for shot-pistols. (3)            reproductions thereof, muzzle loading black              trigger mechanisms; magazines and
                                              See ECCN 0A504 and USML Category XII                 powder firearms except those designs based               magazine extension tubes, ‘‘complete
                                              for controls on optical sighting devices.            on centerfire weapons of a post 1937 design,             breech mechanisms’’ if the ultimate
                                           Related Definitions: N/A.                               BB guns, pellet rifles, paint ball, and all other        destination is Canada.
                                           Items:                                                  air rifles are EAR99 commodities.                      GBS: N/A
                                              a. Non-automatic and semi-automatic                                                                         CIV: N/A
                                                                                                     Note 4 to 0A501: Muzzle loading (black
                                           firearms equal to .50 caliber (12.7 mm) or              powder) firearms with a caliber less than 20           List of Items Controlled
                                           less.                                                   mm that were manufactured later than 1937
                                              Note 1 to paragraph 0A501.a:                                                                                Related Controls: Shotguns that are fully
                                                                                                   that are used for hunting or sporting                     automatic are ‘‘subject to the ITAR.’’
                                           ‘Combination pistols’ are controlled under              purposes that were not ‘‘specially designed’’
                                           ECCN 0A501.a. A ‘combination pistol’ (a.k.a.,                                                                  Related Definitions: N/A
                                                                                                   for military use and are not ‘‘subject to the          Items: The list of items controlled is
                                           a combination gun) has at least one rifled              ITAR’’ nor controlled as shotguns under
                                           barrel and at least one smoothbore barrel                                                                         contained in the ECCN heading.
                                                                                                   ECCN 0A502 are EAR99 commodities.
                                           (generally a shotgun style barrel).                                                                               Note 1 to 0A502: Shotguns made in or
                                                                                                   0A502 Shotguns; shotguns ‘‘parts’’ and                 before 1898 are considered antique shotguns
                                              b. Non-automatic and non-semi-automatic                   ‘‘components,’’ consisting of complete
                                           rifles, carbines, revolvers or pistols with a                                                                  and designated as EAR99.
                                                                                                        trigger mechanisms; magazines and
                                           caliber greater than .50 inches (12.7 mm) but                magazine extension tubes; ‘‘complete                Technical Note: Shot pistols or shotguns
                                           less than or equal to .72 inches (18.0 mm).                  breech mechanisms;’’ except equipment             that have had the shoulder stock removed
                                              c. The following types of ‘‘parts’’ and                   used exclusively to treat or tranquilize          and a pistol grip attached are controlled by
                                           ‘‘components’’ if ‘‘specially designed’’ for a               animals, and except arms designed                 ECCN 0A502. Slug guns are also controlled
                                           commodity controlled by paragraph .a or .b                   solely for signal, flare, or saluting use.        under ECCN 0A502.
                                           of this entry, or USML Category I (unless                                                                      0A503 Discharge type arms; non-lethal or
                                           listed in USML Category I(g) or (h)): Barrels,          License Requirements
                                                                                                                                                               less-lethal grenades and projectiles, and
                                           cylinders, barrel extensions, mounting blocks           Reason for Control: RS, CC, FC, UN, AT, NS                  ‘‘specially designed’’ ‘‘parts’’ and
                                           (trunnions), bolts, bolt carriers, operating                                                                        ‘‘components’’ of those projectiles; and
                                           rods, gas pistons, trigger housings, triggers,                                           Country chart              devices to administer electric shock, for
                                           hammers, sears, disconnectors, pistol grips                    Control(s)             (see Supp. No. 1 to           example, stun guns, shock batons, shock
                                           that contain fire control ‘‘parts’’ or                                                     part 738)                shields, electric cattle prods,
                                           ‘‘components’’ (e.g., triggers, hammers, sears,                                                                     immobilization guns and projectiles;
                                           disconnectors) and buttstocks that contain              NS applies to shot-          NS Column 1
                                                                                                                                                               except equipment used exclusively to
                                           fire control ‘‘parts’’ or ‘‘components.’’                 guns with a barrel
                                                                                                                                                               treat or tranquilize animals, and except
                                              d. Detachable magazines with a capacity of             length less than 18
                                                                                                                                                               arms designed solely for signal, flare, or
                                           greater than 16 rounds ‘‘specially designed’’             inches (45.72 cm).
                                                                                                                                                               saluting use; and ‘‘specially designed’’
                                           for a commodity controlled by paragraph .a              RS applies to shot-          RS Column 1
                                                                                                                                                               ‘‘parts’’ and ‘‘components,’’ n.e.s.
                                           or .b of this entry.                                      guns with a barrel
                                              Note 2 to paragraph 0A501.d: Magazines                 length less than 18                                  License Requirements
                                           with a capacity of 16 rounds or less are                  inches (45.72 cm).                                   Reason for Control: CC, UN
                                           controlled under 0A501.x.                               FC applies to entire         FC Column 1
                                                                                                     entry.                                                                            Country chart
                                              e. Receivers (frames) and ‘‘complete breech          CC applies to shot-          CC Column 1
                                           mechanisms,’’ including castings, forgings                                                                             Control(s)        (see Supp. No. 1 to
                                                                                                     guns with a barrel                                                                  part 738)
                                           stampings, or machined items thereof,                     length less than 24
                                           ‘‘specially designed’’ for a commodity                    in. (60.96 cm) and                                   CC applies to entire     A license is required
                                           controlled by paragraph .a or .b of this entry.           shotgun ‘‘compo-                                      entry.                    for ALL destina-
                                              f. through w. [Reserved]                               nents’’ controlled by                                                           tions, except Can-
                                              x. ‘‘Parts’’ and ‘‘components’’ that are               this entry regard-                                                              ada, regardless of
                                           ‘‘specially designed’’ for a commodity                    less of end user.                                                               end use. Accord-
                                           classified under paragraphs .a through .c of            CC applies to shot-          CC Column 2                                          ingly, a column
                                           this entry or the USML and not elsewhere                  guns with a barrel                                                              specific to this con-
                                           specified on the USML or CCL.                             length greater than                                                             trol does not ap-
                                              y. Specific ‘‘parts,’’ ‘‘components,’’                 or equal to 24 in.                                                              pear on the Com-
                                           ‘‘accessories’’ and ‘‘attachments’’ ‘‘specially           (60.96 cm), regard-                                                             merce Country
                                           designed’’ for a commodity subject to control             less of end user.                                                               Chart. (See part
                                           in this ECCN or common to a defense article             CC applies to shot-          CC Column 3                                          742 of the EAR for
                                           in USML Category I and not elsewhere                      guns with a barrel                                                              additional informa-
                                           specified in the USML or CCL as follows, and              length greater than                                                             tion)
                                           ‘‘parts,’’ ‘‘components,’’ ‘‘accessories,’’ and           or equal to 24 in..                                  UN applies to entire     See § 746.1(b) of the
                                           ‘‘attachments’’ ‘‘specially designed’’ therefor.        (60.96 cm) if for sale                                  entry.                    EAR for UN con-
                                              y.1. Stocks or grips, that do not contain any          or resale to police                                                             trols
                                           fire control ‘‘parts’’ or ‘‘components’’ (e.g.,           or law enforcement.
                                           triggers, hammers, sears, disconnectors);’’             UN applies to entire         See § 746.1(b) of the     List Based License Exceptions (See Part 740
                                              y.2. Scope mounts or accessory rails;                  entry.                       EAR for UN con-         for a Description of All License Exceptions)
                                              y.3. Iron sights;                                                                   trols                   LVS: N/A
                                              y.4. Sling swivels;                                  AT applies to shot-          AT Column 1               GBS: N/A
                                              y.5. Butt plates or recoil pads;                       guns with a barrel                                   CIV: N/A
                                              y.6. Bayonets; and                                     length less than 18
                                              y.7. Firearms manufactured from 1890 to                inches (45.72 cm).                                   List of Items Controlled
                                           1898 and reproductions thereof.
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                                                                                                                                                          Related Controls: Law enforcement restraint
                                              Technical Note 1 to 0A501: The controls              List Based License Exceptions (See Part 740              devices that administer an electric shock
                                           on ‘‘parts’’ and ‘‘components’’ in ECCN                 for a Description of All License Exceptions)             are controlled under ECCN 0A982.
                                           0A501 include those ‘‘parts’’ and                       LVS: $500 for 0A502 shotgun ‘‘parts’’ and                Electronic devices that monitor and report
                                           ‘‘components’’ that are common to firearms                ‘‘components,’’ consisting of complete                 a person’s location to enforce restrictions
                                           described in ECCN 0A501 and to those                      trigger mechanisms; magazines and                      on movement for law enforcement or penal
                                           firearms ‘‘subject to the ITAR.’’                         magazine extension tubes.                              reasons are controlled under ECCN 3A981.



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                                           Related Definitions: N/A                                riflescopes controlled under 0A504.i,                     with a hardened tip or core and
                                           Items: The list of items controlled is                  paragraph (a)(1) of the definition of                     ammunition with an explosive projectile
                                              contained in the ECCN heading.                       ‘‘specially designed’’ in § 772.1 of the EAR is           are ‘‘subject to the ITAR.’’ (2) Percussion
                                           0A504 Optical sighting devices for firearms             what is used to determine whether the                     caps, and lead balls and bullets, for use
                                                (including shotguns controlled by                  riflescope is ‘‘specially designed.’’                     with muzzle-loading firearms are EAR99
                                                0A502); and ‘‘components’’ as follows              0A505 Ammunition as follows (see List of                  items.
                                                (see List of Items Controlled).                         Items Controlled).                                Related Definitions: N/A
                                                                                                                                                          Items:
                                           License Requirements                                    License Requirements                                      a. Ammunition for firearms controlled by
                                           Reason for Control: FC, RS, CC, UN                      Reason for Control: NS, RS, CC, FC, UN, AT             ECCN 0A501 or USML Category I and not
                                                                                                                                                          enumerated in paragraph .b, .c, or .d of this
                                                                           Country chart                                            Country chart         entry or in USML Category III.
                                                  Control(s)            (see Supp. No. 1 to               Control(s)             (see Supp. No. 1 to         b. Buckshot (No. 4 .24’’ diameter and
                                                                             part 738)                                                part 738)           larger) shotgun shells.
                                                                                                                                                             c. Shotgun shells (including less than
                                           RS applies to para-        RS Column 1                  NS applies to                NS Column 1               lethal rounds) that do not contain buckshot;
                                             graph .i.                                               0A505.a and .x.                                      and ‘‘specially designed’’ ‘‘parts’’ and
                                           FC applies to para-        FC Column 1                  RS applies to                RS Column 1               ‘‘components’’ of shotgun shells.
                                             graphs .a, .b, .c, .d,                                  0A505.a and .x.
                                             .e, .g, and .i of this                                CC applies to                CC Column 1                  Note 1 to 0A505.c: Shotgun shells that
                                             entry.                                                  0A505.b.                                             contain only chemical irritants are controlled
                                           CC applies to entire       CC Column 1                  FC applies to entire         FC Column 1               under ECCN 1A984.
                                             entry.                                                  entry except                                            d. Blank ammunition for firearms
                                           UN applies to entire       See § 746.1(b) of the          0A505.d.                                             controlled by ECCN 0A501 and not
                                             entry.                     EAR for UN con-            UN applies to entire         See § 746.1 of the        enumerated in USML Category III.
                                                                        trols                        entry.                       EAR for UN con-            e. through w. [Reserved]
                                                                                                                                  trols                      x. ‘‘Parts’’ and ‘‘components’’ that are
                                           List Based License Exceptions (See Part 740
                                                                                                   AT applies to                AT Column 1               ‘‘specially designed’’ for a commodity subject
                                           for a Description of All License Exceptions)
                                                                                                     0A505.a, .d, and .x.                                 to control in this ECCN or a defense article
                                           LVS: $500 for 0A504.g.                                  AT applies to 0A505.c        A license is required     in USML Category III and not elsewhere
                                           GBS: N/A                                                                               for items controlled    specified on the USML, the CCL or paragraph
                                           CIV: N/A                                                                               by paragraph .c of      .d of this entry.
                                           List of Items Controlled                                                               this entry to North        Note 2 to 0A505.x: The controls on ‘‘parts’’
                                                                                                                                  Korea for anti-ter-     and ‘‘components’’ in this entry include
                                           Related Controls: (1) See USML Category                                                rorism reasons.         Berdan and boxer primers, metallic cartridge
                                              XII(c) for sighting devices using second                                            The Commerce            cases, and standard metallic projectiles such
                                              generation image intensifier tubes having                                           Country Chart is        as full metal jacket, lead core, and copper
                                              luminous sensitivity greater than 350 mA/                                           not designed to de-     projectiles.
                                              lm, or third generation or higher image                                             termine AT licens-
                                              intensifier tubes, that are ‘‘subject to the                                        ing requirements          Note 3 to 0A505.x: The controls on ‘‘parts’’
                                              ITAR.’’ (2) See USML Category XII(b) for                                            for this entry. See     and ‘‘components’’ in this entry include
                                              laser aiming or laser illumination systems                                          § 742.19 of the         those ‘‘parts’’ and ‘‘components’’ that are
                                              ‘‘subject to the ITAR.’’ (3) Section 744.9 of                                       EAR for additional      common to ammunition and ordnance
                                              the EAR imposes a license requirement on                                            information.            described in this entry and to those
                                              certain commodities described in 0A504 if                                                                   enumerated in USML Category III.
                                              being exported, reexported, or transferred           List Based License Exceptions (See Part 740
                                                                                                   for a Description of All License Exceptions)              Note 4 to 0A505: Lead shot smaller than
                                              (in-country) for use by a military end-user
                                                                                                                                                          No. 4 Buckshot, empty and unprimed
                                              or for incorporation into an item controlled         LVS: $500 for items in 0A505.x, except                 shotgun shells, shotgun wads, smokeless
                                              by ECCN 0A919.                                         $3,000 for items in 0A505.x that,                    gunpowder, ‘Dummy rounds’ and blank
                                           Related Definitions: N/A                                  immediately prior to March 9, 2020, were             rounds (unless linked or belted), not
                                           Items:                                                    classified under 0A018.b. (i.e., ‘‘Specially         incorporating a lethal or non-lethal
                                              a. Telescopic sights.                                  designed’’ components and parts for                  projectile(s) are designated EAR99. A
                                              b. Holographic sights.                                 ammunition, except cartridge cases,                  ‘dummy round or drill round’ is a round that
                                              c. Reflex or ‘‘red dot’’ sights.                       powder bags, bullets, jackets, cores, shells,        is completely inert, i.e., contains no primer,
                                              d. Reticle sights.                                     projectiles, boosters, fuses and                     propellant, or explosive charge. It is typically
                                              e. Other sighting devices that contain                 components, primers, and other detonating            used to check weapon function and for crew
                                           optical elements.                                         devices and ammunition belting and                   training.
                                              f. Laser aiming devices or laser                       linking machines (all of which are ‘‘subject
                                           illuminators ‘‘specially designed’’ for use on            to the ITAR’’). (See 22 CFR parts 120                ■ 43. In Supplement No. 1 to part 774,
                                           firearms, and having an operational                       through 130))                                        Category 0, add, between entries for
                                           wavelength exceeding 400 nm but not                     GBS: N/A
                                           exceeding 710 nm.
                                                                                                                                                          ECCNs 0A521 and 0A604, an entry for
                                                                                                   CIV: N/A
                                                                                                                                                          ECCN 0A602 to read as follows:
                                              Note 1 to 0A504.f: 0A504.f does not control          Special Conditions for STA
                                           laser boresighting devices that must be                                                                        0A602 Guns and Armament as follows (see
                                           placed in the bore or chamber to provide a              STA: Paragraph (c)(2) of License Exception                List of Items Controlled).
                                           reference for aligning the firearms sights.               STA (§ 740.20(c)(2) of the EAR) may not be
                                                                                                     used for any item in 0A505.                          License Requirements
                                              g. Lenses, other optical elements and
                                                                                                                                                          Reason for Control: NS, RS, UN, AT
                                           adjustment mechanisms for articles in                   List of Items Controlled
                                           paragraphs .a, .b, .c, .d, .e, or .i.                   Related Controls: (1) Ammunition for modern
                                              h. [Reserved]                                                                                                                            Country chart
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                                                                                                     heavy weapons such as howitzers, artillery,                  Control(s)        (see Supp. No. 1 to
                                              i. Riflescopes that were not ‘‘subject to the          cannon, mortars and recoilless rifles as                                            part 738)
                                           EAR’’ as of March 8, 2020 and are ‘‘specially             well as inherently military ammunition
                                           designed’’ for use in firearms that are                   types such as ammunition preassembled                NS applies to entire     NS Column 1
                                           ‘‘subject to the ITAR.’’                                  into links or belts, caseless ammunition,             entry.
                                              Note 2 to paragraph i: For purpose of the              tracer ammunition, ammunition with a                 RS applies to entire     RS Column 1
                                           application of ‘‘specially designed’’ for the             depleted uranium projectile or a projectile           entry.



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                                                                           Country chart           helmets that, immediately prior to July 1,                                            Country chart
                                                  Control(s)            (see Supp. No. 1 to        2014, were classified under 0A988.                             Control(s)          (see Supp. No. 1 to
                                                                             part 738)                                                                                                     part 738)
                                                                                                   ■ 46. In Supplement No. 1 to part 774,
                                           UN applies to entire       See § 746.1 of the           Category 0, add, before the entry for                  NS applies to para-        NS Column 1
                                            entry.                      EAR for UN con-            ECCN 0B521, entries for ECCNs 0B501                     graphs .a and .x.
                                                                        trols                      and 0B505 to read as follows:                          RS applies to para-        RS Column 1
                                           AT applies to entire       AT Column 1                                                                          graphs .a and .x.
                                             entry.                                                0B501 Test, inspection, and production                 UN applies to entire       See § 746.1 of the
                                                                                                      ‘‘equipment’’ and related commodities                entry.                      EAR for UN con-
                                           List Based License Exceptions (See Part 740                for the ‘‘development’’ or ‘‘production’’
                                           for a Description of All License Exceptions)                                                                                                trols
                                                                                                      of commodities enumerated or                        AT applies to para-        AT Column 1
                                           LVS: $500                                                  otherwise described in ECCN 0A501 or                  graphs .a, .d, and
                                           GBS: N/A                                                   USML Category I as follows (see List of               .x.
                                           CIV: N/A                                                   Items Controlled).                                  AT applies to para-        A license is required
                                           Special Conditions for STA                              License Requirements                                     graph .c.                  for export or reex-
                                           STA: Paragraph (c)(2) of License Exception                                                                                                  port of these items
                                                                                                   Reason for Control: NS, RS, UN, AT                                                  to North Korea for
                                             STA (§ 740.20(c)(2) of the EAR) may not be
                                             used for any item in 0A602.                                                                                                               anti-terrorism rea-
                                                                                                                                    Country chart                                      sons
                                           List of Items Controlled                                       Control(s)             (see Supp. No. 1 to
                                                                                                                                      part 738)           List Based License Exceptions (See Part 740
                                           Related Controls: (1) Modern heavy weapons
                                              such as howitzers, artillery, cannon,                                                                       for a Description of All License Exceptions)
                                                                                                   NS applies to entire         NS Column 1
                                              mortars, and recoilless rifles are ‘‘subject to                                                             LVS: $3000
                                                                                                    entry except equip-
                                              the ITAR.’’ (2) See ECCN 0A919 for                                                                          GBS: N/A
                                                                                                    ment for ECCN
                                              foreign-made ‘‘military commodities’’ that                                                                  CIV: N/A
                                                                                                    0A501.y.
                                              incorporate more than a de minimis
                                              amount of U.S.-origin ‘‘600 series’’ items.          RS applies to entire         RS Column 1               Special Conditions for STA
                                              (3) See ECCN 0A606 for engines that are               entry except equip-
                                                                                                    ment for ECCN                                         STA: Paragraph (c)(2) of License Exception
                                              ‘‘specially designed’’ for a self-propelled
                                                                                                    0A501.y.                                                STA (§ 740.20(c)(2) of the EAR) may not be
                                              gun or howitzer subject to control under
                                              paragraph .a of this ECCN or USML                    UN applies to entire         See § 746.1 of the          used for any item in 0B505.
                                              Category VII.                                         entry.                        EAR for UN con-
                                                                                                                                                          List of Items Controlled
                                           Related Definitions: N/A                                                               trols
                                           Items:                                                  AT applies to entire         AT Column 1               Related Controls: N/A
                                              a. Guns and armament manufactured                      entry.                                               Related Definitions: N/A
                                           between 1890 and 1919.                                                                                         Items:
                                                                                                   List Based License Exceptions (See Part 740
                                              b. Military flame throwers with an effective                                                                   a. Production equipment (including
                                                                                                   for a Description of All License Exceptions)
                                           range less than 20 meters.                                                                                     tooling, templates, jigs, mandrels, molds,
                                              c. through w. [Reserved]                             LVS: $3000                                             dies, fixtures, alignment mechanisms, and
                                              x. ‘‘Parts’’ and ‘‘components’’ that are             GBS: N/A                                               test equipment), not enumerated in USML
                                           ‘‘specially designed’’ for a commodity subject          CIV: N/A                                               Category III that are ‘‘specially designed’’ for
                                           to control in paragraphs .a or .b of this ECCN
                                                                                                   Special Conditions for STA                             the ‘‘production’’ of commodities controlled
                                           or a defense article in USML Category II and
                                           not elsewhere specified on the USML or the              STA: Paragraph (c)(2) of License Exception             by ECCN 0A505.a or .x or USML Category III.
                                           CCL.                                                      STA (§ 740.20(c)(2) of the EAR) may not be              b. Equipment ‘‘specially designed’’ for the
                                              Note 1 to 0A602.x: Engines that are                    used to ship any item in this entry.                 ‘‘production’’ of commodities in ECCN
                                           ‘‘specially designed’’ for a self-propelled gun                                                                0A505.b.
                                                                                                   List of Items Controlled                                  c. Equipment ‘‘specially designed’’ for the
                                           or howitzer subject to control under
                                           paragraph .a of this ECCN or a defense article          Related Controls: N/A                                  ‘‘production’’ of commodities in ECCN
                                           in USML Category VII are controlled under               Related Definitions: N/A                               0A505.c.
                                           ECCN 0A606.x.                                           Items:                                                    d. Equipment ‘‘specially designed’’ for the
                                              Note 2 to 0A602: ‘‘Parts,’’ ‘‘components,’’             a. Small arms chambering machines.                  ‘‘production’’ of commodities in ECCN
                                           ‘‘accessories,’’ and ‘‘attachments’’ specified             b. Small arms deep hole drilling machines           0A505.d.
                                           in USML subcategory II(j) are subject to the            and drills therefor.                                      e. through .w [Reserved]
                                           controls of that paragraph.                                c. Small arms rifling machines.                        x. ‘‘Parts’’ and ‘‘components’’ ‘‘specially
                                                                                                      d. Small arms spill boring machines.                designed’’ for a commodity subject to control
                                             Note 3 to 0A602: Black powder guns and                   e. Production equipment (including dies,
                                           armament manufactured in or prior to 1890                                                                      in paragraph .a of this entry.
                                                                                                   fixtures, and other tooling) ‘‘specially
                                           and replicas thereof designed for use with              designed’’ for the ‘‘production’’ of the items
                                           black powder propellants are designated                                                                        ■ 47. In Supplement No. 1 to part 774,
                                                                                                   controlled in 0A501.a through .x. or USML              Category 0, add, between entries for
                                           EAR99.
                                                                                                   Category I.                                            ECCNs 0B521 and 0B604, an entry for
                                           Supplement No. 1 to Part 774—                           0B505 Test, inspection, and production                 ECCN 0B602 to read as follows:
                                           [Amended]                                                     ‘‘equipment’’ and related commodities
                                                                                                         ‘‘specially designed’’ for the                   0B602 Test, inspection, and production
                                           ■ 44. In Supplement No. 1 to part 774,                        ‘‘development’’ or ‘‘production’’ of                ‘‘equipment’’ and related commodities
                                           Category 0, remove ECCNs 0A918,                               commodities enumerated or otherwise                 ‘‘specially designed’’ for the
                                           0A984, 0A985, 0A986, and 0A987.                               described in ECCN 0A505 or USML                     ‘‘development’’ or ‘‘production’’ of
                                                                                                         Category III, except equipment for the              commodities enumerated or otherwise
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                                           ■ 45. In Supplement No. 1 to part 774,
                                           Category 0, revise ECCN 0A988 to read                         hand loading of cartridges and shotgun              described in ECCN 0A602 or USML
                                                                                                         shells, as follows (see List of Items               Category II as follows (see List of Items
                                           as follows:
                                                                                                         Controlled).                                        Controlled).
                                           0A988 Conventional military steel helmets.
                                             No items currently are in this ECCN. See              License Requirements                                   License Requirements
                                           ECCN 1A613.y.1 for conventional steel                   Reason for Control: NS, RS, UN, AT                     Reason for Control: NS, RS, UN, AT



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                                                                           Country chart                                            Country chart                                      Country chart
                                                  Control(s)            (see Supp. No. 1 to               Control(s)             (see Supp. No. 1 to              Control(s)        (see Supp. No. 1 to
                                                                             part 738)                                                part 738)                                          part 738)

                                           NS applies to entire       NS Column 1                  NS applies to entire         NS Column 1               AT applies to ‘‘soft-    AT Column 1
                                            entry.                                                  entry except ‘‘soft-                                    ware’’ for commod-
                                           RS applies to entire       RS Column 1                   ware’’ for commod-                                      ities in ECCN
                                            entry.                                                  ities in ECCN                                           0A505.a, .d, or .x
                                           UN applies to entire       See § 746.1 of the            0A501.y or equip-                                       and equipment in
                                            entry.                      EAR for UN con-             ment in ECCN                                            ECCN 0B505.a, .d,
                                                                        trols                       0B501 for commod-                                       or .x.
                                           AT applies to entire       AT Column 1                   ities in ECCN
                                                                                                                                                          List Based License Exceptions (See Part 740
                                             entry.                                                 0A501.y.
                                                                                                                                                          for a Description of All License Exceptions)
                                           List Based License Exceptions (See Part 740             RS applies to entire         RS Column 1
                                                                                                    entry except ‘‘soft-                                  CIV: N/A
                                           for a Description of All License Exceptions)                                                                   TSR: N/A
                                                                                                    ware’’ for commod-
                                           LVS: $3000                                               ities in ECCN                                         Special Conditions for STA
                                           GBS: N/A                                                 0A501.y or equip-
                                           CIV: N/A                                                                                                       STA: Paragraph (c)(2) of License Exception
                                                                                                    ment in ECCN
                                                                                                                                                            STA (§ 740.20(c)(2) of the EAR) may not be
                                           Special Conditions for STA                               0B501 for commod-
                                                                                                                                                            used for any ‘‘software’’ in 0D505.
                                                                                                    ities in ECCN
                                           STA: Paragraph (c)(2) of License Exception               0A501.y.                                              List of Items Controlled
                                             STA (§ 740.20(c)(2) of the EAR) may not be
                                                                                                   UN applies to entire         See § 746.1 of the        Related Controls: ‘‘Software’’ required for
                                             used for any item in 0B602.
                                                                                                    entry.                        EAR for UN con-            and directly related to articles enumerated
                                           List of Items Controlled                                                               trols                      in USML Category III is ‘‘subject to the
                                           Related Controls: N/A                                   AT applies to entire         AT Column 1                  ITAR’’.
                                           Related Definitions: N/A                                  entry.                                               Related Definitions: N/A
                                           Items:                                                                                                         Items: The list of items controlled is
                                                                                                   List Based License Exceptions (See Part 740
                                              a. The following commodities if ‘‘specially                                                                    contained in this ECCN heading.
                                                                                                   for a Description of All License Exceptions)
                                           designed’’ for the ‘‘development’’ or                                                                          ■ 50. In Supplement No. 1 to part 774,
                                           ‘‘production’’ of commodities enumerated in             CIV: N/A
                                                                                                   TSR: N/A                                               Category 0, add, between the entries for
                                           ECCN 0A602.a or USML Category II:
                                              a.1. Gun barrel rifling and broaching
                                                                                                                                                          ECCNs 0D521 and 0D604, an entry for
                                                                                                   Special Conditions for STA                             ECCN 0D602 to read as follows:
                                           machines and tools therefor;
                                              a.2. Gun barrel rifling machines;                    STA: Paragraph (c)(2) of License Exception             0D602 ‘‘Software’’ ‘‘specially designed’’ for
                                              a.3. Gun barrel trepanning machines;                   STA (§ 740.20(c)(2) of the EAR) may not be              the ‘‘development,’’ ‘‘production,’’
                                              a.4. Gun boring and turning machines;                  used for any ‘‘software’’ in 0D501.                     operation or maintenance of
                                              a.5. Gun honing machines of 6 feet (183                                                                        commodities controlled by 0A602 or
                                           cm) stroke or more;                                     List of Items Controlled                                  0B602 as follows (see List of Items
                                              a.6. Gun jump screw lathes;                          Related Controls: ‘‘Software’’ required for               Controlled).
                                              a.7. Gun rifling machines; and                          and directly related to articles enumerated
                                                                                                                                                          License Requirements
                                              a.8. Barrel straightening presses.                      in USML Category I is ‘‘subject to the
                                              b. Jigs and fixtures and other metal-                   ITAR’’.                                             Reason for Control: NS, RS, UN, AT
                                           working implements or accessories of the                Related Definitions: N/A
                                           kinds exclusively designed for use in the                                                                                                   Country chart
                                                                                                   Items: The list of items controlled is                         Control(s)        (see Supp. No. 1 to
                                           manufacture of items in ECCN 0A602 or
                                                                                                      contained in this ECCN heading.                                                    part 738)
                                           USML Category II.
                                              c. Other tooling and equipment, ‘‘specially          0D505 ‘‘Software’’ ‘‘specially designed’’ for
                                           designed’’ for the ‘‘production’’ of items in                the ‘‘development,’’ ‘‘production,’’              NS applies to entire     NS Column 1
                                           ECCN 0A602 or USML Category II.                              operation, or maintenance of                       entry.
                                                                                                                                                          RS applies to entire     RS Column 1
                                              d. Test and evaluation equipment and test                 commodities controlled by 0A505 or
                                                                                                                                                           entry.
                                           models, including diagnostic instrumentation                 0B505.                                            UN applies to entire     See § 746.1 of the
                                           and physical test models, ‘‘specially
                                                                                                   License Requirements                                    entry.                    EAR for UN con-
                                           designed’’ for items in ECCN 0A602 or USML
                                                                                                                                                                                     trols
                                           Category II.                                            Reason for Control: NS, RS, UN, AT                     AT applies to entire     AT Column 1
                                           Supplement No. 1 to Part 774—                                                                                    entry.
                                                                                                                                    Country chart
                                           [Amended]                                                      Control(s)             (see Supp. No. 1 to      List Based License Exceptions (See Part 740
                                                                                                                                      part 738)           for a Description of All License Exceptions)
                                           ■ 48. In Supplement No. 1 to part 774,
                                                                                                                                                          CIV: N/A
                                           Category 0, remove ECCN 0B986.                          NS applies to ‘‘soft-        NS Column 1               TSR: N/A
                                           ■ 49. In Supplement No. 1 to part 774,                   ware’’ for commod-
                                                                                                    ities in ECCN                                         Special Conditions for STA
                                           Category 0, add, between the entries for
                                                                                                    0A505.a and .x and                                    STA: Paragraph (c)(2) of License Exception
                                           ECCNs 0D001 and 0D521, entries for                       equipment in ECCN                                       STA (§ 740.20(c)(2) of the EAR) may not be
                                           ECCNs 0D501 and 0D505 to read as                         0B505.a .and .x.                                        used for any item in 0D602.
                                           follows:                                                RS applies to ‘‘soft-        RS Column 1
                                                                                                    ware’’ for commod-                                    List of Items Controlled
                                           0D501 ‘‘Software’’ ‘‘specially designed’’ for
                                                                                                    ities in ECCN
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                                              the ‘‘development,’’ ‘‘production,’’                                                                        Related Controls: (1) ‘‘Software’’ required for
                                              operation, or maintenance of                          0A505.a and .x and                                      and directly related to articles enumerated
                                              commodities controlled by 0A501 or                    equipment in ECCN                                       in USML Category II is ‘‘subject to the
                                              0B501.                                                0B505.a and .x.                                         ITAR’’. (2) See ECCN 0A919 for foreign-
                                                                                                   UN applies to entire         See § 746.1 of the          made ‘‘military commodities’’ that
                                           License Requirements                                     entry.                        EAR for UN con-           incorporate more than a de minimis
                                           Reason for Control: NS, RS, UN, AT                                                     trols                     amount of U.S.-origin ‘‘600 series’’ items.



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                                           Related Definitions: N/A                                                                 Country chart                                        Country chart
                                           Items: ‘‘Software’’ ‘‘specially designed’’ for                 Control(s)             (see Supp. No. 1 to              Control(s)          (see Supp. No. 1 to
                                              the ‘‘development,’’ ‘‘production,’’                                                    part 738)                                            part 738)
                                              operation, or maintenance of commodities
                                              controlled by ECCN 0A602 and ECCN                    CC applies to entire         CC Column 1               NS applies to ‘‘tech-      NS Column 1
                                              0B602.                                                entry.                                                 nology’’ for ‘‘devel-
                                                                                                   UN applies to entire         See § 746.1(b) of the      opment,’’ ‘‘produc-
                                           Supplement No. 1 to Part 774—                            entry.                        EAR for UN con-          tion,’’ operation, in-
                                           [Amended]                                                                              trols                    stallation, mainte-
                                                                                                                                                           nance, repair, over-
                                                                                                   List Based License Exceptions (See Part 740             haul, or refurbishing
                                           ■ 51. In Supplement No. 1 to part 774,                  for a Description of All License Exceptions)            commodities in
                                           Category 0, remove ECCN 0E018.                                                                                  0A505.a and .x; for
                                                                                                   CIV: N/A
                                           ■ 52. In Supplement No. 1 to part 774,                  TSR: N/A                                                equipment for those
                                           Category 0, add, between the entries for                                                                        commodities in
                                           ECCNs 0E001 and 0E521, entries for                      List of Items Controlled                                0B505; and for
                                                                                                                                                           ‘‘software’’ for that
                                           ECCNs 0E501, 0E502, 0E504, and 0E505                    Related Controls: Technical data required for
                                                                                                                                                           equipment and
                                           to read as follows:                                        and directly related to articles enumerated
                                                                                                                                                           those commodities
                                                                                                      in USML Category I are ‘‘subject to the              in 0D505.
                                           0E501 ‘‘Technology’’ ‘‘required’’ for the
                                                                                                      ITAR’’.                                             RS applies to entire       RS Column 1
                                              ‘‘development,’’ ‘‘production,’’
                                                                                                   Related Definitions: N/A                                entry except ‘‘tech-
                                              operation, installation, maintenance,
                                                                                                   Items: The list of items controlled is                  nology’’ for ‘‘devel-
                                              repair, or overhaul of commodities
                                              controlled by 0A501 or 0B501 as follows                 contained in the ECCN heading.                       opment,’’ ‘‘produc-
                                                                                                   0E504 ‘‘Technology’’ ‘‘required’’ for the               tion,’’ operation, in-
                                              (see List of Items Controlled).
                                                                                                        ‘‘development’’ or ‘‘production’’ of               stallation, mainte-
                                           License Requirements                                                                                            nance, repair, over-
                                                                                                        commodities controlled by 0A504 that
                                                                                                                                                           haul, or refurbishing
                                           Reason for Control: NS, RS, UN, AT                           incorporate a focal plane array or image           commodities in
                                                                                                        intensifier tube.                                  0A505.a and .x; for
                                                                           Country chart                                                                   equipment for those
                                                  Control(s)            (see Supp. No. 1 to        License Requirements
                                                                             part 738)                                                                     commodities in
                                                                                                   Reason for Control: RS, UN, AT                          0B505 and for
                                           NS applies to entire       NS Column 1                                                                          ‘‘software’’ for those
                                                                                                                                    Country chart          commodities and
                                            entry.                                                        Control(s)             (see Supp. No. 1 to
                                           RS applies to entire       RS Column 1                                                                          that equipment in
                                                                                                                                      part 738)            0D505.
                                            entry.
                                                                                                                                                          UN applies to entire       See § 746.1 of the
                                           UN applies to entire       See § 746.1 of the           RS applies to entire         RS Column 1                entry.                      EAR for UN con-
                                            entry.                      EAR for UN con-             entry.                                                                             trols
                                                                        trols                      UN applies to entire         See § 746.1(b) of the     CC applies to ‘‘tech-      CC Column 1
                                           AT applies to entire       AT Column 1                   entry.                        EAR for UN con-           nology’’ for the
                                             entry.                                                                               trols                     ‘‘development’’ or
                                           List Based License Exceptions (See Part 740             AT applies to entire         AT Column 1                 ‘‘production’’ of
                                           for a Description of All License Exceptions)              entry.                                                 commodities in
                                                                                                                                                            0A505.b.
                                           CIV: N/A                                                List Based License Exceptions (See Part 740
                                                                                                                                                          AT applies to ‘‘tech-      AT Column 1
                                           TSR: N/A                                                for a Description of All License Exceptions)             nology’’ for ‘‘devel-
                                           Special Conditions for STA                              CIV: N/A                                                 opment,’’ ‘‘produc-
                                                                                                   TSR: N/A                                                 tion,’’ operation, in-
                                           STA: Paragraph (c)(2) of License Exception                                                                       stallation, mainte-
                                             STA (§ 740.20(c)(2) of the EAR) may not be            List of Items Controlled                                 nance, repair, over-
                                             used for any ‘‘technology’’ in ECCN 0E501.            Related Controls: N/A                                    haul, or refurbishing
                                                                                                   Related Definitions: N/A                                 commodities in
                                           List of Items Controlled
                                                                                                   Items: The list of items controlled is                   0A505.a, .d, and .x.
                                           Related Controls: Technical data required for
                                                                                                      contained in the ECCN heading.                      List Based License Exceptions (See Part 740
                                                 and directly related to articles
                                                 enumerated in USML Category I are                 0E505 ‘‘Technology’’ ‘‘required’’ for the              for a Description of All License Exceptions)
                                                 ‘‘subject to the ITAR.’’                               ‘‘development,’’ ‘‘production,’’                  CIV: N/A
                                           Related Definitions: N/A                                     operation, installation, maintenance,             TSR: N/A
                                           Items:                                                       repair, overhaul, or refurbishing of              Special Conditions for STA
                                              a. ‘‘Technology’’ ‘‘required’’ for the                    commodities controlled by 0A505.
                                                                                                                                                          STA: Paragraph (c)(2) of License Exception
                                           ‘‘development’’ or ‘‘production’’ of                                                                             STA (§ 740.20(c)(2) of the EAR) may not be
                                                                                                   License Requirements
                                           commodities controlled by ECCN 0A501                                                                             used for any ‘‘technology’’ in 0E505.
                                           (other than 0A501.y) or 0B501.                          Reason for Control: NS, RS, UN, CC, AT
                                              b. ‘‘Technology’’ ‘‘required’’ for the                                                                      List of Items Controlled
                                           operation, installation, maintenance, repair,                                                                  Related Controls: Technical data required for
                                           or overhaul of commodities controlled by                                                                          and directly related to articles enumerated
                                           ECCN 0A501 (other than 0A501.y) or 0B501.                                                                         in USML Category III are ‘‘subject to the
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                                           0E502 ‘‘Technology’’ ‘‘required’’ for the                                                                         ITAR’’.
                                                                                                                                                          Related Definitions: N/A
                                                 ‘‘development’’ or ‘‘production’’ of
                                                                                                                                                          Items: The list of items controlled is
                                                 commodities controlled by 0A502.                                                                            contained in this ECCN heading.
                                           License Requirements                                                                                           ■ 53. In Supplement No. 1 to part 774,
                                           Reason for Control: CC, UN                                                                                     Category 0, add, between the entries for


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                                           ECCNs 0E521 and 0E604, an entry for                     List Based License Exceptions (See Part 740                                         Country chart
                                           ECCN 0E602:                                             for a Description of All License Exceptions)                   Control(s)        (see Supp. No. 1 to
                                                                                                   CIV: N/A                                                                              part 738)
                                           0E602 ‘‘Technology’’ ‘‘required’’ for the
                                              ‘‘development,’’ ‘‘production,’’                     TSR: N/A
                                                                                                                                                          NS applies to entire     NS Column 2
                                              operation, installation, maintenance,                List of Items Controlled                                 entry.
                                              repair, overhaul, or refurbishing of                                                                        MT applies to entire     MT Column 1
                                              commodities controlled by 0A602 or                   Related Controls: N/A
                                                                                                   Related Definitions: N/A                                 entry.
                                              0B602, or ‘‘software’’ controlled by                                                                        NP applies to entire     NP Column 1
                                              0D602 as follows (see List of Items                  Items:
                                                                                                      The list of items controlled is contained in          entry, except
                                              Controlled).                                                                                                  2B004.b.3 and
                                                                                                   the ECCN heading.
                                           License Requirements                                                                                             presses with max-
                                                                                                   Supplement No. 1 to Part 774—                            imum working pres-
                                           Reason for Control: NS, RS, UN, AT                                                                               sures below 69
                                                                                                   [Amended]
                                                                                                                                                            MPa.
                                                                           Country chart                                                                  AT applies to entire     AT Column 1
                                                  Control(s)            (see Supp. No. 1 to        ■ 56. In Supplement No. 1 to part 774,
                                                                                                                                                            entry.
                                                                             part 738)             Category 0, remove ECCNs 0E984 and
                                                                                                   0E987.                                                 List Based License Exceptions (See Part 740
                                           NS applies to entire       NS Column 1                                                                         for a Description of All License Exceptions)
                                            entry.                                                 ■ 57. In Supplement No. 1 to part 774,
                                                                                                                                                          LVS: N/A
                                           RS applies to entire       RS Column 1                  Category 1, revise ECCN 1A984 to read                  GBS: N/A
                                            entry.                                                 as follows:                                            CIV: N/A
                                           UN applies to entire       See § 746.1 of the
                                            entry.                      EAR for UN con-            1A984 Chemical agents, including tear gas              List of Items Controlled
                                                                        trols                         formulation containing 1 percent or less
                                                                                                      of orthochlorobenzalmalononitrile (CS),             Related Controls: (1) See ECCN 2D001 for
                                           AT applies to entire       AT Column 1                                                                            software for items controlled under this
                                             entry.                                                   or 1 percent or less of
                                                                                                      chloroacetophenone (CN), except in                     entry. (2) See ECCNs 2E001
                                           List Based License Exceptions (See Part 740                individual containers with a net weight                (‘‘development’’), 2E002 (‘‘production’’),
                                           for a Description of All License Exceptions)               of 20 grams or less; liquid pepper except              and 2E101 (‘‘use’’) for technology for items
                                                                                                                                                             controlled under this entry. (3) For
                                           CIV: N/A                                                   when packaged in individual containers
                                                                                                                                                             ‘‘specially designed’’ dies, molds and
                                           TSR: N/A                                                   with a net weight of 3 ounces (85.05
                                                                                                                                                             tooling, see ECCNs 0B501, 0B602, 0B606,
                                                                                                      grams) or less; smoke bombs; non-
                                           Special Conditions for STA                                                                                        1B003, 9B004, and 9B009. (4) For
                                                                                                      irritant smoke flares, canisters, grenades
                                                                                                                                                             additional controls on dies, molds and
                                           STA: Paragraph (c)(2) of License Exception                 and charges; and other pyrotechnic                     tooling, see ECCNs 1B101.d, 2B104, and
                                             STA (§ 740.20(c)(2) of the EAR) may not be               articles (excluding shotgun shells, unless             2B204. (5) Also see ECCNs 2B117 and
                                             used for any item in 0E602.                              the shotgun shells contain only chemical               2B999.a.
                                                                                                      irritants) having dual military and                 Related Definitions: N/A
                                           List of Items Controlled                                   commercial use, and ‘‘parts’’ and                   Items:
                                           Related Controls: Technical data directly                  ‘‘components’’ ‘‘specially designed’’
                                              related to articles enumerated in USML                  therefor, n.e.s.                                       a. A controlled thermal environment
                                              Category II are ‘‘subject to the ITAR.’’                                                                    within the closed cavity and possessing a
                                                                                                   License Requirements                                   chamber cavity with an inside diameter of
                                           Related Definitions: N/A
                                           Items: ‘‘Technology’’ ‘‘required’’ for the              Reason for Control: CC                                 406 mm or more; and
                                              ‘‘development,’’ ‘‘production,’’ operation,                                                                    b. Having any of the following:
                                                                                                                                    Country chart            b.1. A maximum working pressure
                                              installation, maintenance, repair, or
                                                                                                          Control(s)             (see Supp. No. 1 to      exceeding 207 MPa;
                                              overhaul of commodities controlled by
                                                                                                                                      part 738)              b.2. A controlled thermal environment
                                              ECCN 0A602 or 0B602, or ‘‘software’’
                                                                                                                                                          exceeding 1,773 K (1,500 °C); or
                                              controlled by ECCN 0D602.
                                                                                                   CC applies to entire         CC Column 1                  b.3. A facility for hydrocarbon
                                           Supplement No. 1 to Part 774—                            entry.                                                impregnation and removal of resultant
                                           [Amended]                                                                                                      gaseous degradation products.
                                                                                                   List Based License Exceptions (See Part 740
                                                                                                                                                             Technical Note: The inside chamber
                                                                                                   for a Description of All License Exceptions)
                                           ■ 54. In Supplement No. 1 to part 774,                                                                         dimension is that of the chamber in which
                                           Category 0, remove ECCN 0E918.                          LVS: N/A                                               both the working temperature and the
                                                                                                   GBS: N/A                                               working pressure are achieved and does not
                                           ■ 55. In Supplement No. 1 to part 774,                  CIV: N/A                                               include fixtures. That dimension will be the
                                           Category 0, revise ECCN 0E982 to read                                                                          smaller of either the inside diameter of the
                                                                                                   List of Items Controlled
                                           as follows.                                                                                                    pressure chamber or the inside diameter of
                                                                                                   Related Controls: N/A                                  the insulated furnace chamber, depending on
                                           0E982 ‘‘Technology’’ exclusively for the                Related Definitions: N/A
                                             ‘‘development’’ or ‘‘production’’ of                                                                         which of the two chambers is located inside
                                                                                                   Items:                                                 the other.
                                             equipment controlled by 0A982 or 0A503.                  The list of items controlled is contained in
                                                                                                   the ECCN heading.                                      ■ 59. In Supplement No. 1 to part 774,
                                           License Requirements
                                                                                                                                                          Category 2, revise ECCN 2B018 to read
                                           Reason for Control: CC                                  ■ 58. In Supplement No. 1 to part 774,                 as follows:
                                                                                                   Category 2, revise ECCN 2B004 to read                  2B018 Equipment on the Wassenaar
                                                               Control(s)
                                                                                                   as follows:                                                Arrangement Munitions List.
                                           CC applies to ‘‘technology’’ for items con-             2B004 Hot ‘‘isostatic presses’’ having all of            No commodities currently are controlled
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                                            trolled by 0A982 or 0A503. A license is re-               the characteristics described in the list           by this entry. Commodities formerly
                                            quired for ALL destinations, except Can-                  of items controlled, and ‘‘specially                controlled by paragraphs .a through .d, .m,
                                            ada, regardless of end use. Accordingly, a                designed’’ ‘‘components’’ and                       and .s of this entry are controlled in ECCN
                                            column specific to this control does not ap-              ‘‘accessories’’ therefor.                           0B606. Commodities formerly controlled by
                                            pear on the Commerce Country Chart.                                                                           paragraphs .e through .l of this entry are
                                            (See part 742 of the EAR for additional in-            License Requirements                                   controlled by ECCN 0B602. Commodities
                                            formation.)                                            Reason for Control: NS, MT NP, AT                      formerly controlled by paragraphs .o through



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                                           .r of this entry are controlled by ECCN 0B501.                                           Country chart                                       Country chart
                                           Commodities formerly controlled by                             Control(s)             (see Supp. No. 1 to              Control(s)         (see Supp. No. 1 to
                                           paragraph .n of this entry are controlled in                                               part 738)                                           part 738)
                                           ECCN 0B501 if they are ‘‘specially designed’’
                                           for the ‘‘production’’ of the items controlled          NP applies to ‘‘tech-        NP Column 2               NS applies to ‘‘tech-   NS Column 1
                                                                                                     nology’’ for items                                     nology’’ for equip-
                                           in ECCN 0A501.a through .x or USML
                                                                                                     controlled by                                          ment controlled by
                                           Category I and controlled in ECCN 0B602 if                2A290, 2A291, or                                       2A001, 2B001 to
                                           they are of the kind exclusively designed for             2D290 for NP rea-                                      2B009.
                                           use in the manufacture of items in ECCN                   sons.                                                MT applies to ‘‘tech-   MT Column 1
                                           0A602 or USML Category II.                              CB applies to ‘‘tech-        CB Column 2                 nology’’ for equip-
                                                                                                     nology’’ for equip-                                    ment controlled by
                                           ■ 60. In Supplement No. 1 to part 774,                    ment controlled by                                     2B004, 2B009,
                                           Category 2, revise ECCN 2D018 to read                     2B350 to 2B352,                                        2B104, 2B105,
                                           as follows:                                               valves controlled by                                   2B109, 2B116,
                                                                                                     2A226 having the                                       2B117, or 2B119 to
                                           2D018 ‘‘Software’’ for the ‘‘development,’’               characteristics of                                     2B122 for MT rea-
                                                ‘‘production,’’ or ‘‘use’’ of equipment              those controlled by                                    sons.
                                                controlled by 2B018.                                 2B350.g, and soft-                                   NP applies to ‘‘tech-   NP Column 1
                                             No software is currently controlled under               ware controlled by                                     nology’’ for equip-
                                           this entry. See ECCNs 0D501, 0D602, and                   2D351.                                                 ment controlled by
                                           0D606 for software formerly controlled under            AT applies to entire         AT Column 1                 2A225, 2A226,
                                           this entry.                                               entry.                                                 2B001, 2B004,
                                                                                                                                                            2B006, 2B007,
                                                                                                   Reporting Requirements                                   2B009, 2B104,
                                           ■ 61. In Supplement No. 1 to part 774,
                                           Category 2, revise ECCN 2E001 to read                     See § 743.1 of the EAR for reporting                   2B109, 2B116,
                                                                                                   requirements for exports under License                   2B201, 2B204,
                                           as follows:                                                                                                      2B206, 2B207,
                                                                                                   Exceptions, and Validated End-User
                                           2E001 ‘‘Technology’’ according to the                   authorizations.                                          2B209, 2B225 to
                                              General Technology Note for the                                                                               2B233 for NP rea-
                                                                                                   List Based License Exceptions (See Part 740              sons.
                                              ‘‘development’’ of equipment or
                                                                                                   for a Description of All License Exceptions)           NP applies to ‘‘tech-   NP Column 2
                                              ‘‘software’’ controlled by 2A (except
                                              2A983, 2A984, 2A991, or 2A994), 2B                   CIV: N/A                                                 nology’’ for equip-
                                                                                                   TSR: Yes, except N/A for MT                              ment controlled by
                                              (except 2B991, 2B993, 2B996, 2B997,
                                                                                                                                                            2A290 or 2A291 for
                                              2B998, or 2B999), or 2D (except 2D983,               Special Conditions for STA                               NP reasons.
                                              2D984, 2D991, 2D992, or 2D994).                      STA: License Exception STA may not be                  CB applies to ‘‘tech-   CB Column 2
                                           License Requirements                                      used to ship or transmit ‘‘technology’’                nology’’ for equip-
                                                                                                     according to the General Technology Note               ment Controlled by
                                           Reason for Control: NS, MT, NP, CB, AT                    for the ‘‘development’’ of ‘‘software’’                2B350 to 2B352
                                                                                                     specified in the License Exception STA                 and for valves con-
                                                                           Country chart             paragraph in the License Exception section             trolled by 2A226
                                                  Control(s)            (see Supp. No. 1 to                                                                 having the charac-
                                                                             part 738)               of ECCN 2D001 or for the ‘‘development’’
                                                                                                     of equipment as follows: ECCN 2B001                    teristics of those
                                                                                                     entire entry; or ‘‘Numerically controlled’’            controlled by
                                           NS applies to ‘‘tech-      NS Column 1                                                                           2B350.g.
                                            nology’’ for items                                       or manual machine tools as specified in
                                                                                                     2B003 to any of the destinations listed in           AT applies to entire    AT Column 1
                                            controlled by                                                                                                   entry.
                                            2A001, 2B001 to                                          Country Group A:6 (See Supplement No. 1
                                            2B009, 2D001 or                                          to part 740 of the EAR).                             Reporting Requirements
                                            2D002.                                                 List of Items Controlled                                 See § 743.1 of the EAR for reporting
                                           MT applies to ‘‘tech-      MT Column 1                                                                         requirements for exports under License
                                            nology’’ for items                                     Related Controls: See also 2E101, 2E201, and
                                                                                                                                                          Exceptions, and Validated End-User
                                            controlled by                                             2E301
                                                                                                                                                          authorizations.
                                            2B004, 2B009,                                          Related Definitions: N/A
                                            2B104, 2B105,                                          Items:                                                 List Based License Exceptions (See Part 740
                                            2B109, 2B116,                                             The list of items controlled is contained in        for a Description of All License Exceptions)
                                            2B117, 2B119 to                                        the ECCN heading.                                      CIV: N/A
                                            2B122, 2D001, or                                          Note 1 to 2E001: ECCN 2E001 includes                TSR: Yes, except N/A for MT
                                            2D101 for MT rea-                                      ‘‘technology’’ for the integration of probe
                                            sons.                                                                                                         Special Conditions for STA
                                                                                                   systems into coordinate measurement
                                           NP applies to ‘‘tech-      NP Column 1                  machines specified by 2B006.a.                         STA: License Exception STA may not be
                                            nology’’ for items                                                                                              used to ship or transmit ‘‘technology’’
                                            controlled by                                          ■ 62. In Supplement No. 1 to part 774,                   according to the General Technology Note
                                            2A225, 2A226,                                          Category 2, revise ECCN 2E002 to read                    for the ‘‘production’’ of equipment as
                                            2B001, 2B004,                                                                                                   follows: ECCN 2B001 entire entry; or
                                                                                                   as follows:
                                            2B006, 2B007,                                                                                                   ‘‘Numerically controlled’’ or manual
                                            2B009, 2B104,                                          2E002 ‘‘Technology’’ according to the                    machine tools as specified in 2B003 to any
                                            2B109, 2B116,                                             General Technology Note for the                       of the destinations listed in Country Group
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                                            2B201, 2B204,                                             ‘‘production’’ of equipment controlled                A:6 (See Supplement No. 1 to part 740 of
                                            2B206, 2B207,                                             by 2A (except 2A983, 2A984, 2A991, or                 the EAR).
                                            2B209, 2B225 to                                           2A994), or 2B (except 2B991, 2B993,
                                            2B233, 2D001,                                             2B996, 2B997, 2B998, or 2B999).                     List of Items Controlled
                                            2D002, 2D101,                                                                                                 Related Controls: N/A
                                            2D201, or 2D202                                        License Requirements                                   Related Definitions: N/A
                                            for NP reasons.                                        Reason for Control: NS, MT, NP, CB, AT                 Items:



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                                             The list of items controlled is contained in          List Based License Exceptions (See Part 740               b. to w. [RESERVED]
                                           the ECCN heading.                                       for a Description of All License Exceptions)              x. ‘‘Parts,’’ ‘‘components,’’ ‘‘accessories,’’
                                                                                                   LVS: $1500                                             and ‘‘attachments,’’ including
                                           ■ 63. In Supplement No. 1 to part 774,                  GBS: N/A                                               accelerometers, gyros, angular rate sensors,
                                           Category 7, revise ECCN 7A611 to read                   CIV: N/A                                               gravity meters (gravimeters), and inertial
                                           as follows:                                                                                                    measurement units (IMUs), that are
                                                                                                   Special Conditions for STA
                                           7A611 Military fire control, laser, imaging,                                                                   ‘‘specially designed’’ for defense articles
                                                                                                   STA: Paragraph (c)(2) of License Exception             controlled by USML Category XII or items
                                              and guidance equipment, as follows (see                STA (§ 740.20(c)(2) of the EAR) may not be
                                              List of Items Controlled).                                                                                  controlled by 7A611, and that are NOT:
                                                                                                     used for any item in 7A611.                             1. Enumerated or controlled in the USML
                                           License Requirements                                    List of Items Controlled                               or elsewhere within ECCN 7A611;
                                           Reason for Control: NS, MT, RS, AT, UN                  Related Controls: (1) Military fire control,              2. Described in ECCNs 6A007, 6A107,
                                                                                                      laser, imaging, and guidance equipment              7A001, 7A002, 7A003, 7A101, 7A102, or
                                                                           Country chart              that are enumerated in USML Category XII,           7A103; or
                                                  Control(s)            (see Supp. No. 1 to           and technical data (including software)                3. Elsewhere specified in ECCN 7A611.y or
                                                                             part 738)                directly related thereto, are subject to the        3A611.y.
                                                                                                      ITAR. (2) See Related Controls in ECCNs                y. Specific ‘‘parts,’’ ‘‘components,’’
                                           NS applies to entire       NS Column 1                     0A504, 2A984, 6A002, 6A003, 6A004,                  ‘‘accessories,’’ and ‘‘attachments’’ ‘‘specially
                                             entry except                                             6A005, 6A007, 6A008, 6A107, 7A001,                  designed’’ for a commodity subject to control
                                             7A611.y.                                                 7A002, 7A003, 7A005, 7A101, 7A102, and              in this ECCN or a defense article in Category
                                           MT applies to com-         MT Column 1                     7A103. (3) See ECCN 3A611 and USML                  XII and not elsewhere specified on the USML
                                             modities in 7A611.a                                      Category XI for controls on countermeasure          or in the CCL, as follows, and ‘‘parts,’’
                                             that meet or exceed                                      equipment. (4) See ECCN 0A919 for                   ‘‘components,’’ ‘‘accessories,’’ and
                                             the parameters in                                        foreign-made ‘‘military commodities’’ that
                                             7A103.b or .c.                                                                                               ‘‘attachments’’ ‘‘specially designed’’ therefor:
                                                                                                      incorporate more than a de minimis
                                           RS applies to entire       RS Column 1                     amount of U.S. origin ‘‘600 series’’                   y.1 [RESERVED]
                                             entry except                                             controlled content.                                   Dated: January 10, 2020.
                                             7A611.y.                                              Related Definitions: N/A                               Richard E. Ashooh,
                                           AT applies to entire       AT Column 1                  Items:
                                                                                                                                                          Assistant Secretary for Export
                                             entry.                                                   a. Guidance or navigation systems, not
                                                                                                                                                          Administration.
                                           UN applies to entire       See § 746.1(b) of the        elsewhere specified on the USML, that are
                                             entry except               EAR for UN con-            ‘‘specially designed’’ for a defense article on        [FR Doc. 2020–00573 Filed 1–17–20; 11:15 am]
                                             7A611.y.                   trols                      the USML or for a 600 series item.                     BILLING CODE 3510–33–P
jbell on DSKJLSW7X2PROD with RULES2




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